            Case 20-03779-LT11                    Filed 07/27/20           Entered 07/27/20 12:30:08                 Doc 1        Pg. 1 of 135


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ingenu Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA On-Ramp Wireless, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  113 West G Street, Suite 1686
                                  San Diego, CA 92101
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                      Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       Ingenu.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Ingenu Inc.                                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3342

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Ingenu Inc.                                                                               Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Ingenu Inc.                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of authorized representative of debtor
                                                                                          The debtor requests relief in accordance with the chapter of title 11,
                                                                                          United States Code, specified in this petition.

                                                                                          I have been authorized to file this petition on behalf of the debtor.

                                                                                          I have examined the information in this petition and have a
                                                                                          reasonable belief that the information is true and correct.

                                                                                          I declare under penalty of perjury that the foregoing is true and
                                                                                          correct.

                                 Executed on      July 27, 2020
                                                  MM / DD / YYYY




                             X                                                                        Alvaro Gazzolo
                                 Signature of authorized representative of debtor                     Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Christopher V. Hawkins                                            Date July 27, 2020
                                 Signature of attorney for debtor                                           MM / DD / YYYY

                                 Christopher V. Hawkins 222961
                                 Printed name

                                 Sullivan Hill Rez & Engel, A Professional Law Corporation
                                 Firm name

                                 600 B Street
                                 Suite 1700
                                 San Diego, CA 92101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (619) 233-4100             Email address     hawkins@sullivanhill.com

                                 222961 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
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 Fill in this information to identify the case:

 Debtor name         Ingenu Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

                                                                     X




        Executed on          July 27, 2020
                                                                         Signature of individual signing on behalf of debtor

                                                                         Alvaro Gazzolo
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Ingenu Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                     Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Tower                                                  Trade Claim                                                                                            $533,928.49
 Corporation ATC
 2655 Richmond Ave,
 Staten Island, NY
 10314
 BlueStream                                                      Trade Claim                                                                                            $136,250.54
 Professional
 Services, LLC
 3305 Hwy 60 West
 Faribault, MN 55021
 Crown Castle USA                                                Trade Claim                                                                                          $1,975,304.12
 Inc.
 55 Broad St 2nd
 floor
 New York, NY 10004
 DDH Enterprise, Inc                                             Trade Claim                                                                                            $336,050.05
 2220 Oak Ridge Way
 Vista, CA 92081
 Delaware Secretary                                              Trade Claim            Unliquidated                                                                    $269,897.40
 of State                                                                               Disputed
 820 N. French St.,
 4th Floor
 Wilmington, DE
 19801
 Flex                                                            Trade Claim                                                                                            $993,959.13
 9 W 57th St,
 New York, NY 10019
 Flextronics                                                     Entered Judgment                                                                                     $1,208,400.00
 International USA
 Inc
 6201 AMERICA
 CENTER DRIVE
 San Jose, CA 95002
 Foley & Lardner LLP                                             Trade Claim                                                                                            $178,150.44
 90 Park Avenue
 New York, NY
 10016-1314


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Ingenu Inc.                                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 HiTem, Inc.                                                     Trade Claim                                                                                            $549,315.10
 7420 Carroll Road
 San Diego, CA
 92121
 KBSII Horizon Tech                                              Trade Claim                                                                                            $222,548.41
 Center, LLC
 10343 Meanley Dr
 San Diego, CA
 92131
 LogiSense                                                       Trade Claim                                                                                            $174,876.84
 Corporation
 278 Pinebush Rd
 #101
 Cambridge, Ontario
 N1T1Z6
 MISSION FEDERAL                                                 Trade Claim                                                                                              $96,902.00
 CREDIT UNION
 10325 Meanley Drive
 San Diego, CA
 92131
 OSI Electronics                                                 Trade Claim                                                                                            $142,542.74
 12533 Chadron Ave
 Hawthorne, CA
 90250
 Phoenix Mecano,                                                 Judgment by                                                                                            $157,814.88
 Inc.                                                            Court
 7330 Executive Way
 Frederick, MD 21704
 SBA Network                                                     Trade Claim                                                                                          $1,102,012.38
 Services, LLC
 8051 Congress Ave
 Boca Raton, FL
 33487
 Tower Resource                                                  Trade Claim                                                                                              $99,427.32
 Management, LLC
 16 Chestnut Street
 Ste 400
 Foxboro, MA
 02035-1462
 TTM Technologies                                                Default Judgment                                                                                       $101,536.88
 1665 Scenic Avenue
 Suite 250
 Costa Mesa, CA
 92626
 WellAware Holdings                                              Trade Claim            Unliquidated                                                                    $218,400.00
 Inc.
 3424 Paesanos
 Pkwy #200
 San Antonio, TX
 78231




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Ingenu Inc.                                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 William Schmidt                                                 Employee Wage                                                                                            $75,526.71
 1749 NE Miami Ct                                                Claim
 Unit 211
 Miami, FL 33132
 Witz                                                            Trade Claim                                                                                              $79,943.50
 Communications
 Inc.
 555 Fayetteville St
 #300
 Raleigh, NC 27601




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Ingenu Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,501,022.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,501,022.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       44,571,195.07


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            12,008.75

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,854,870.33


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         55,438,074.15




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name          Ingenu Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of
                                                                                                                                             debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                                  Last 4 digits of account
                                                                                                                  number
                     East West Bank
                     135 N. Los Robles Ave.,
                     Suite 600
            3.1.     Pasadena, CA 91101                                          Checking Account                 6254                                         $22.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                               $22.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                31,000.00   -                                 0.00 = ....                            $31,000.00
                                              face amount                             doubtful or uncollectible accounts


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                     page 1
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 Debtor         Ingenu Inc.                                                                   Case number (If known)
                Name



 12.       Total of Part 3.                                                                                                          $31,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.
                                                                                                      Valuation method used    Current value of
                                                                                                      for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Interest in Indonesian Subsidiary - PT
           15.1.     Ingenu IoT Indonesia                                           99.99         %                                        Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last        Net book value of       Valuation method used    Current value of
                                                      physical inventory      debtor's interest       for current value        debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress
           Parts for 900 Access
           Points
           Access Points are
           valued at $1,200 each.                                                  $1,080,000.00      Recent cost                     $1,080,000.00



 21.       Finished goods, including goods held for resale
           200 Completed Access
           Points                                                                    $240,000.00      Recent cost                       $240,000.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                       $1,320,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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                                                                                   135

 Debtor         Ingenu Inc.                                                                      Case number (If known)
                Name


            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used     Current value of
                                                                                 debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Various - has been in storage since 2016.                                      Unknown                                             Unknown



 40.       Office fixtures
           Various - has been in storage since 2016.                                      Unknown                                             Unknown



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Various - has been in storage since 2016.
           Debtor estimate of value below includes
           furniture, fixtures and equipment.                                           $150,000.00     N/A                                $150,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $150,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


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 Debtor         Ingenu Inc.                                                                   Case number (If known)
                Name


     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            See Patent and Trademark Portfolio Attached.                               Unknown                                             Unknown



 61.        Internet domain names and websites
            www.ingenu.com                                                             Unknown                                             Unknown



 62.        Licenses, franchises, and royalties
            Ingenicas License
            Ingenicas paid 250k to Ingenu                                              Unknown                                             Unknown


            Trilliant License
            Trilliant paid 0 to Ingenu                                                 Unknown                                             Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Sourcecode                                                                 Unknown                                             Unknown


            ASIC - Plans for Manufacturing Chip Sets                                   Unknown                                             Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         Ingenu Inc.                                                                  Case number (If known)
                Name



 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Unused Net Operating Loss                                                          Tax year                                   Unknown



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            Trilliant Networks                                                                                                            Unknown
            Nature of claim                    Breach of Contract
            Amount requested                                             $0.00



            Vula - Non-Payment for 3 years                                                                                                Unknown
            Nature of claim        Breach of Contract
            Amount requested                     $41,000.00


            rpmaNetworks aka MEC Telematik FZ LLC corporation -
            Unpaid licenses                                                                                                               Unknown
            Nature of claim     Breach of Contract
            Amount requested                $8,000,000.00


            Wuxi Jiuzhou Communications Technology Co., Ltd. -
            Non payment                                                                                                                   Unknown
            Nature of claim     Breach of Contract
            Amount requested                 $384,754.33


            RPMA International Corp. - Trigger Escrow without
            cause and non-payment                                                                                                         Unknown
            Nature of claim       Breach of Contract
            Amount requested                        $7,808.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

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 Debtor         Ingenu Inc.                                                                  Case number (If known)
                Name

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




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 Debtor          Ingenu Inc.                                                                                         Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $22.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $31,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,320,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $150,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,501,022.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,501,022.00




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         ŽĐŬĞƚEŽ͘       ŽƵŶƚƌǇ      DĂƚƚĞƌdŝƚůĞ                           ^ƚĂƚƵƐ                 ƉƉůŝĐĂƚŝŽŶ        ƉƉůŝĐĂƚŝŽŶ        WĂƚĞŶƚ          'ƌĂŶƚĂƚĞ   /ŶǀĞŶƚŽƌƐ                        KǁŶĞƌEĂŵĞ                ǆƉŝƌĂƚŝŽŶ
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                                       Dd,K

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       ϯ ϬϵϭϳϮϭͲϬϭϬϱ h^               ^WZ/E'^WZ^WdZhDd       ZĞŐŝƐƚĞƌĞĚ              ϭϮͬϭϴϵϱϯϯ           ϴͬϭϭͬϮϬϬϴ         ϳϱϵϯϰϱϮ           ϵͬϮϮͬϮϬϬϵ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ                /ŶǀĞŶƚŽƌ;ƐͿ               ϴͬϭϭͬϮϬϮϴ



       ϰ ϬϵϭϳϮϭͲϬϭϬϲ h^               d'KDDhE/d/KE^t/d,^^       ZĞŐŝƐƚĞƌĞĚ               ϭϮͬϭϴϵϱϬϱ           ϴͬϭϭͬϮϬϬϴ         ϳϱϮϲϬϭϯ           ϰͬϮϴͬϮϬϬϵ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ                /ŶǀĞŶƚŽƌ;ƐͿ               ϴͬϭϭͬϮϬϮϴ
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       ϱ ϬϵϭϳϮϭͲϬϭϬϴ h^               ZEKDW,^Dh>d/W>^^^z^dD ZĞŐŝƐƚĞƌĞĚ                ϭϮͬϯϰϱϯϳϰ          ϭϮͬϮϵͬϮϬϬϴ         ϳϳϳϯϲϲϰ           ϴͬϭϬͬϮϬϭϬ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ                /ŶǀĞŶƚŽƌ;ƐͿ               ϴͬϭϭͬϮϬϮϴ
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       ϲ ϬϵϭϳϮϭͲϬϭϬϵ h^               ^>KddDKYh/^/d/KE               ZĞŐŝƐƚĞƌĞĚ              ϭϮͬϮϳϲϵϳϭ          ϭϭͬϮϰͬϮϬϬϴ         ϳϴϰϴϮϳϮ           ϭϮͬϳͬϮϬϭϬ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖>ĞǁŝƐE͘     KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϮͬϭϭͬϮϬϮϵ
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     ϭϬ ϬϵϭϳϮϭͲϬϭϭϳ h^                ZEKDW,^Dh>d/W>^^^z^dD ZĞŐŝƐƚĞƌĞĚ                ϭϮͬϰϴϯϳϮϮ           ϲͬϭϮͬϮϬϬϵ         ϳϳϰϮϳϳϱ           ϲͬϮϮͬϮϬϭϬ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ                KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϴͬϭϭͬϮϬϮϴ
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     ϭϮ ϬϵϭϳϮϭͲϬϭϮϯ h^                Dd,KE^z^dD&KZhW>/E<         ZĞŐŝƐƚĞƌĞĚ               ϭϮͬϳϱϱϮϮϵ           ϰͬϲͬϮϬϭϬ          ϴϭϲϬϭϮϮ           ϰͬϭϳͬϮϬϭϮ    <ĞŶŶĞƚŚ͘^ŝŶƐƵĂŶ͖dŚĞŽĚŽƌĞ:͘ KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϵͬϮϵͬϮϬϮϵ
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/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                            WĂŐĞϭŽĨϰ                                                                                                      WĂƚĞŶƚƐͲh^;ŽƌĞͿ
                                                                                                                    /ŶŐĞŶƵ/ŶĐ͘

         ŽĐŬĞƚEŽ͘       ŽƵŶƚƌǇ      DĂƚƚĞƌdŝƚůĞ                           ^ƚĂƚƵƐ                 ƉƉůŝĐĂƚŝŽŶ        ƉƉůŝĐĂƚŝŽŶ        WĂƚĞŶƚ          'ƌĂŶƚĂƚĞ   /ŶǀĞŶƚŽƌƐ                         KǁŶĞƌEĂŵĞ                 ǆƉŝƌĂƚŝŽŶ
                                                                                                      EƵŵďĞƌ               ĂƚĞ              EƵŵďĞƌ                                                                                       ĂƚĞ
     ϭϯ ϬϵϭϳϮϭͲϬϭϮϰ h^                &KZtZZZKZKZZd/KED/       ZĞŐŝƐƚĞƌĞĚ               ϭϮͬϳϳϬϲϯϬ           ϰͬϮϵͬϮϬϭϬ         ϴϵϱϴϰϲϬ           ϮͬϭϳͬϮϬϭϱ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ĂŶŝĞů        KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϯͬϱͬϮϬϯϬ
                                       ^^KEdZK>^z^dD                                                                                                               dŚŽŵĂƐtĞƌŶĞƌ͖<ĞŶŶĞƚŚ͘
                                                                                                                                                                           ^ŝŶƐƵĂŶ
     ϭϰ ϬϵϭϳϮϭͲϬϭϮϴ h^                ,EKsZWZK^^/E'/EDh>d/W>      ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϯϱϰϴϰϲ           ϭͬϮϬͬϮϬϭϮ         ϴϯϮϬϰϯϬ           ϭϭͬϮϳͬϮϬϭϮ   dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ĂŶŝĞů        KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                       ^^WK/EdW>KzDEd^z^dD                                                                                                      dŚŽŵĂƐtĞƌŶĞƌ͖<ĞŶŶĞƚŚ
                                                                                                                                                                           ĂŶƵůůĂƐ^ŝŶƐƵĂŶ
     ϭϱ ϬϵϭϳϮϭͲϬϭϮϵ h^                h^ZdZK^dD,E/^D          ZĞŐŝƐƚĞƌĞĚ              ϭϯͬϮϯϮϰϮϲ           ϵͬϭϰͬϮϬϭϭ         ϴϮϵϬϬϮϯ           ϭϬͬϭϲͬϮϬϭϮ   ZŽďĞƌƚt͘ŽĞƐĞů͖dŚĞŽĚŽƌĞ:͘    KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                                                                                                                                                           DǇĞƌƐ

     ϭϲ ϬϵϭϳϮϭͲϬϭϯϯ h^                &KZtZZZKZKZZd/KED/       ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϰϯϳϱϬϵ           ϰͬϮͬϮϬϭϮ          ϴϱϲϱϮϴϵ           ϭϬͬϮϮͬϮϬϭϯ   dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖DĂƚƚŚĞǁ       KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                       ^^KEdZK>^z^dD                                                                                                               ,ƵŐŚĞƐ͖ZŽďĞƌƚt͘ŽĞƐĞů
                                                                                                                                                                                                                                                                         Case 20-03779-LT11




     ϭϳ ϬϵϭϳϮϭͲϬϭϯϱ h^                ZZKZdd/KE^z^dD                ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϬϯϮϯϵϯ           ϮͬϮϮͬϮϬϭϭ         ϴϬϲϵϰϬϮ           ϭϭͬϮϵͬϮϬϭϭ   dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ĂŶŝĞů        KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                                                                                                                                                           dŚŽŵĂƐtĞƌŶĞƌ

     ϭϴ ϬϵϭϳϮϭͲϬϭϯϲ h^                ^/'E>Yh>/dzD^hZDEd^z^dD     ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϭϭϲϳϲϳ           ϱͬϮϲͬϮϬϭϭ         ϴϭϮϭϭϳϰ           ϮͬϮϭͬϮϬϭϮ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ĂŶŝĞů        KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                                                                                                                                                           dŚŽŵĂƐtĞƌŶĞƌ

     ϭϵ ϬϵϭϳϮϭͲϬϭϯϵ h^                WKtZdd/KE/E^WZ^WdZhD ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϯϲϲϴϰϴ           ϮͬϲͬϮϬϭϮ          ϴϰϬϭϬϱϰ           ϯͬϭϵͬϮϬϭϯ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ĂŶŝĞů        KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                       ^z^dD                                                                                                                              dŚŽŵĂƐtĞƌŶĞƌ͖<ĞŶŶĞƚŚ͘
                                                                                                                                                                           ^ŝŶƐƵĂŶ
                                                                                                                                                                                                                                                                         Filed 07/27/20




     ϮϬ ϬϵϭϳϮϭͲϬϭϰϮ h^                KEdZK>>/E'WKtZ/E^WZ        ZĞŐŝƐƚĞƌĞĚ               ϭϮͬϴϭϲϳϴϯ           ϲͬϭϲͬϮϬϭϬ         ϴϬϰϱϱϵϴ           ϭϬͬϮϱͬϮϬϭϭ   dŚĞŽĚŽƌĞ:͘DǇĞƌƐ                 KEͲZDWt/Z>^^͕         ϴͬϭϭͬϮϬϮϴ
                                       ^WdZhD^z^dD                                                                                                                                                       /E͘

     Ϯϭ ϬϵϭϳϮϭͲϬϭϱϲ h^                ^zE,ZKE/^z^dDKE&/'hZd/KE     ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϯϱϱϴϲϰ           ϭͬϮϯͬϮϬϭϮ         ϴϲϭϭϯϵϵ           ϭϮͬϭϳͬϮϬϭϯ   dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ZŽďĞƌƚt͘     /ŶǀĞŶƚŽƌ;ƐͿ                ϴͬϭϭͬϮϬϮϴ
                                                                                                                                                                           ŽĞƐĞů͖DĂƚƚŚĞǁ,ƵŐŚĞƐ
                                                                                                                                                                                                                                                              135




     ϮϮ ϬϵϭϳϮϭͲϬϭϱϴ h^                ZEKDKZd,K'KE>&ZYhEz          ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϰϬϲϴϴϴ           ϮͬϮϴͬϮϬϭϮ         ϴϮϱϰϰϵϴ           ϴͬϮϴͬϮϬϭϮ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖^ŽƵƌĂǀĞǇ     KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϮͬϮϴͬϮϬϯϮ
                                       /s/^/KEDh>d/W>y/E'


     Ϯϯ ϬϵϭϳϮϭͲϬϭϱϵ h^                ZEKDd/D/E'K&&^ddZD/Ed/KE    ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϱϳϮϵϬϵ           ϴͬϭϯͬϮϬϭϮ         ϴϯϲϯϲϵϵ           ϭͬϮϵͬϮϬϭϯ    <ĞŶŶĞƚŚ͘^ŝŶƐƵĂŶ͖dŚĞŽĚŽƌĞ:͘ KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘      ϯͬϮϬͬϮϬϮϵ
                                                                                                                                                                           DǇĞƌƐ͖>ĞǁŝƐE͘ŽŚĞŶ͖DĂƚƚŚĞǁ
                                                                                                                                                                           ,ƵŐŚĞƐ͖ĂŶŝĞůdŚŽŵĂƐtĞƌŶĞƌ͖
                                                                                                                                                                           ZŽďĞƌƚt͘ŽĞƐĞů͖WĂƚƌŝĐŬD͘
                                                                                                                                                                           ^ŝŶŐůĞƌ


     Ϯϰ ϬϵϭϳϮϭͲϬϭϲϲ h^                ,EKsZWZK^^/E'/EDh>d/W>      ZĞŐŝƐƚĞƌĞĚ               ϭϯͬϬϮϳϲϱϰ           ϮͬϭϱͬϮϬϭϭ         ϴϬϯϲϭϳϴ           ϭϬͬϭϭͬϮϬϭϭ   dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ZŽďĞƌƚt͘     KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                       ^^WK/EdW>KzDEd^z^dD                                                                                                      ŽĞƐĞů͖DĂƚƚŚĞǁ,ƵŐŚĞƐ
                                                                                                                                                                                                                                                             Entered 07/27/20 12:30:08




     Ϯϱ ϬϵϭϳϮϭͲϬϭϳϱ h^                >dZ/DKE/dKZ/E'^z^dDh^/E' ZĞŐŝƐƚĞƌĞĚ                 ϭϯͬϵϭϲϮϲϯ           ϲͬϭϮͬϮϬϭϯ         ϴϴϯϭϬϳϮ            ϵͬϵͬϮϬϭϰ    <ĞŶŶĞƚŚĂŶƵůůĂƐ^ŝŶƐƵĂŶ͖        KŶͲZĂŵƉdĞĐŚŶŽůŽŐŝĞƐ͕     ϴͬϭϭͬϮϬϮϴ
                                       ZEKDW,^Dh>d/W>^^^z^dD                                                                                                 dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖>ĞǁŝƐE͘      /ŶĐ͘
                                                                                                                                                                           ŽŚĞŶ͖ĂŶŝĞůdŚŽŵĂƐtĞƌŶĞƌ͖
                                                                                                                                                                                                                                                                         Doc 1




                                                                                                                                                                           DĂƚƚŚĞǁ,ƵŐŚĞƐ͖ZŽďĞƌƚt͘
                                                                                                                                                                           ŽĞƐĞů͖WĂƚƌŝĐŬD͘^ŝŶŐůĞƌ

     Ϯϲ ϬϵϭϳϮϭͲϬϭϳϲ h^                >/',dDKE/dKZ/E'^z^dDh^/E'    ZĞŐŝƐƚĞƌĞĚ                 ϭϯͬϰϱϴϰϱϭ           ϰͬϮϳͬϮϬϭϮ         ϴϰϳϳϴϯϬ            ϳͬϮͬϮϬϭϯ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ĂŶŝĞů         KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϴͬϭϭͬϮϬϮϴ
                                       ZEKDW,^Dh>d/W>^^^z^dD                                                                                                 dŚŽŵĂƐtĞƌŶĞƌ͖<ĞŶŶĞƚŚ
                                                                                                                                                                           ĂŶƵůůĂƐ^ŝŶƐƵĂŶ͖:ĂƐŽŶZŽŶĂůĚ
                                                                                                                                                                                                                                                                         Pg. 19 of




                                                                                                                                                                           tŝůƐŽŶ͖^ŚĂǁŶ>ŽƵŝƐZĞƵůĂŶĚ͖
                                                                                                                                                                           WĂƚƌŝĐŬD͘^ŝŶŐůĞƌ͖DŝĐŚĂĞů:ĂƐŽŶ
                                                                                                                                                                           ,ƵŽǀŝůĂ

                                                                                                                    /ŶŐĞŶƵ/ŶĐ͘
                                                                                           ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                            WĂŐĞϮŽĨϰ                                                                                                        WĂƚĞŶƚƐͲh^;ŽƌĞͿ
                                                                                                                     /ŶŐĞŶƵ/ŶĐ͘

         ŽĐŬĞƚEŽ͘       ŽƵŶƚƌǇ      DĂƚƚĞƌdŝƚůĞ                            ^ƚĂƚƵƐ                 ƉƉůŝĐĂƚŝŽŶ        ƉƉůŝĐĂƚŝŽŶ        WĂƚĞŶƚ          'ƌĂŶƚĂƚĞ   /ŶǀĞŶƚŽƌƐ                       KǁŶĞƌEĂŵĞ                 ǆƉŝƌĂƚŝŽŶ
                                                                                                       EƵŵďĞƌ               ĂƚĞ              EƵŵďĞƌ                                                                                     ĂƚĞ
     Ϯϳ ϬϵϭϳϮϭͲϬϮϭϯ h^                Z^^/D^hZDEdD,E/^D/Ed,  ZĞŐŝƐƚĞƌĞĚ                  ϭϯͬϰϳϭϬϬϬ           ϱͬϭϰͬϮϬϭϮ         ϴϱϮϬϳϮϭ           ϴͬϮϳͬϮϬϭϯ    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖ZŽďĞƌƚt͘    KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϴͬϭϭͬϮϬϮϴ
                                       WZ^EK&Wh>^:DDZ^                                                                                                           ŽĞƐĞů
     Ϯϴ ϬϵϭϳϮϭͲϬϮϯϬ h^                tdZDKE/dKZ/E'^z^dDh^/E'    ZĞŐŝƐƚĞƌĞĚ                  ϭϯͬϵϯϳϵϵϬ           ϳͬϵͬϮϬϭϯ          ϴϴϯϭϬϲϵ           ϵͬϵͬϮϬϭϰ     <ĞŶŶĞƚŚ͘^ŝŶƐƵĂŶ͖dŚĞŽĚŽƌĞ:͘ KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϴͬϭϭͬϮϬϮϴ
                                       ZEKDW,^Dh>d/W>^^^z^dD                                                                                                  DǇĞƌƐ͖>ĞǁŝƐE͘ŽŚĞŶ͖ĂŶŝĞů
                                                                                                                                                                            dŚŽŵĂƐtĞƌŶĞƌ͖DĂƚƚŚĞǁ
                                                                                                                                                                            ,ƵŐŚĞƐ͖ZŽďĞƌƚt͘ŽĞƐĞů͖
                                                                                                                                                                            WĂƚƌŝĐŬD͘^ŝŶŐůĞƌ

     Ϯϵ ϬϵϭϳϮϭͲϬϮϯϭ h^                '^DKE/dKZ/E'^z^dDh^/E'      ZĞŐŝƐƚĞƌĞĚ                  ϭϯͬϵϯϲϵϴϰ           ϳͬϴͬϮϬϭϯ          ϴϴϯϭϬϲϴ           ϵͬϵͬϮϬϭϰ     <ĞŶŶĞƚŚ͘^ŝŶƐƵĂŶ͖dŚĞŽĚŽƌĞ:͘ KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϴͬϭϭͬϮϬϮϴ
                                       ZEKDW,^Dh>d/W>^^^z^dD                                                                                                  DǇĞƌƐ͖>ĞǁŝƐE͘ŽŚĞŶ͖ĂŶŝĞů
                                                                                                                                                                            dŚŽŵĂƐtĞƌŶĞƌ͖DĂƚƚŚĞǁ
                                                                                                                                                                                                                                                                        Case 20-03779-LT11




                                                                                                                                                                            ,ƵŐŚĞƐ͖ZŽďĞƌƚt͘ŽĞƐĞů͖
                                                                                                                                                                            WĂƚƌŝĐŬD͘^ŝŶŐůĞƌ

     ϯϬ ϬϵϭϳϮϭͲϬϮϯϮ h^                &h>d/Zh/d/E/dKZ^z^dDh^/E' ZĞŐŝƐƚĞƌĞĚ              ϭϯͬϵϯϴϵϲϯ           ϳͬϭϬͬϮϬϭϯ         ϴϴϮϰϱϮϰ           ϵͬϮͬϮϬϭϰ     <ĞŶŶĞƚŚĂŶƵůůĂƐ^ŝŶƐƵĂŶ͖      KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘     ϴͬϭϭͬϮϬϮϴ
                                       ZEKDW,^Dh>d/W>^^^z^dD                                                                                                  dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖>ĞǁŝƐE͘
                                                                                                                                                                            ŽŚĞŶ͖ĂŶŝĞůdŚŽŵĂƐtĞƌŶĞƌ͖
                                                                                                                                                                            DĂƚƚŚĞǁ,ƵŐŚĞƐ͖ZŽďĞƌƚt͘
                                                                                                                                                                            ŽĞƐĞů͖WĂƚƌŝĐŬD͘^ŝŶŐůĞƌ
                                                                                                                                                                                                                                                                        Filed 07/27/20




     ϯϭ ϬϵϭϳϮϭͲϬϮϯϯ h^                >/',dDKE/dKZ/E'^z^dDt/d,           ZĞŐŝƐƚĞƌĞĚ              ϭϯͬϵϯϴϵϬϯ           ϳͬϭϬͬϮϬϭϯ         ϴϴϯϳϱϱϱ           ϵͬϭϲͬϮϬϭϰ    <ĞŶŶĞƚŚĂŶƵůůĂƐ^ŝŶƐƵĂŶ͖      KEͲZDWt/Z>^^͕         ϴͬϭϭͬϮϬϮϴ
                                       EdEE/sZ^/dz                                                                                                                    dŚĞŽĚŽƌĞ:͘DǇĞƌƐ͖>ĞǁŝƐE͘    /E͘
                                                                                                                                                                            ŽŚĞŶ͖ĂŶŝĞůdŚŽŵĂƐtĞƌŶĞƌ͖
                                                                                                                                                                            DĂƚƚŚĞǁ,ƵŐŚĞƐ͖ZŽďĞƌƚt͘
                                                                                                                                                                            ŽĞƐĞů͖WĂƚƌŝĐŬD͘^ŝŶŐůĞƌ
                                                                                                                                                                                                                                                             135




     ϯϮ ϬϵϭϳϮϭͲϬϮϯϴ h^                ^DZddZE^&KZDZh^/E'ZEKD       ZĞŐŝƐƚĞƌĞĚ              ϭϯͬϵϯϱϯϲϰ           ϳͬϯͬϮϬϭϯ          ϴϴϭϳϴϰϱ           ϴͬϮϲͬϮϬϭϰ    <ĞŶŶĞƚŚ͘^ŝŶƐƵĂŶ͖dŚĞŽĚŽƌĞ:͘ KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϴͬϭϭͬϮϬϮϴ
                                       W,^Dh>d/W>^^^z^dD                                                                                                         DǇĞƌƐ͖>ĞǁŝƐE͘ŽŚĞŶ͖ĂŶŝĞů
                                                                                                                                                                            dŚŽŵĂƐtĞƌŶĞƌ͖DĂƚƚŚĞǁ
                                                                                                                                                                            ,ƵŐŚĞƐ͖ZŽďĞƌƚt͘ŽĞƐĞů͖
                                                                                                                                                                            WĂƚƌŝĐŬD͘^ŝŶŐůĞƌ

     ϯϯ ϬϵϭϳϮϭͲϬϮϰϮ h^                KtE>/E<KDDhE/d/KEt/d,            ZĞŐŝƐƚĞƌĞĚ              ϭϯͬϳϰϱϱϲϳ           ϭͬϭϴͬϮϬϭϯ         ϴϵϵϱϰϬϰ           ϯͬϯϭͬϮϬϭϱ    <ĞŶŶĞƚŚ͘^ŝŶƐƵĂŶ͖dŚĞŽĚŽƌĞ:͘ KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϯͬϮϬͬϮϬϮϵ
                                       Dh>d/W><EKt>'DEd^                                                                                                            DǇĞƌƐ͖>ĞǁŝƐE͘ŽŚĞŶ͖DĂƚƚŚĞǁ
                                                                                                                                                                            ,ƵŐŚĞƐ͖ĂŶŝĞůdŚŽŵĂƐtĞƌŶĞƌ͖
                                                                                                                                                                            ZŽďĞƌƚt͘ŽĞƐĞů͖WĂƚƌŝĐŬD͘
                                                                                                                                                                            ^ŝŶŐůĞƌ
                                                                                                                                                                                                                                                            Entered 07/27/20 12:30:08




     ϯϰ ϬϵϭϳϮϭͲϬϮϰϰ h^                KD/EhE/Yh'K>K              ZĞŐŝƐƚĞƌĞĚ              ϭϰͬϲϳϮϱϵϰ           ϯͬϯϬͬϮϬϭϱ         ϵϮϵϰϵϯϬ           ϯͬϮϮͬϮϬϭϲ    <ĞŶŶĞƚŚ͘^ŝŶƐƵĂŶ͖dŚĞŽĚŽƌĞ:͘ KŶͲZĂŵƉtŝƌĞůĞƐƐ͕/ŶĐ͘    ϯͬϮϬͬϮϬϮϵ
                                       dZE^D/^^/KE^                                                                                                                        DǇĞƌƐ͖>ĞǁŝƐE͘ŽŚĞŶ͖DĂƚƚŚĞǁ
                                                                                                                                                                            ,ƵŐŚĞƐ͖ĂŶŝĞůdŚŽŵĂƐtĞƌŶĞƌ͖
                                                                                                                                                                                                                                                                        Doc 1




                                                                                                                                                                            ZŽďĞƌƚt͘ŽĞƐĞů͖WĂƚƌŝĐŬD͘
                                                                                                                                                                            ^ŝŶŐůĞƌ

     ϯϱ ϬϵϭϳϮϭͲϬϰϱϮ h^                h>^z^dD^^t/d,/&&ZEd      WĞŶĚŝŶŐͲ              ϭϱͬϯϳϬϯϯϲ           ϭϮͬϲͬϮϬϭϲ              Ͳ                Ͳ        dŚĞŽĚŽƌĞDǇĞƌƐ͖ĂŶŝĞůtĞƌŶĞƌ͖ /ŶǀĞŶƚŽƌƐ;ƐͿ                    Ͳ
                                       &ZDZd^                             ƉƉůŝĐĂƚŝŽŶ&ŝůĞĚ                                                                           ĞŶŶŝƐƐƉĞǇ
                                                                                                                                                                                                                                                                        Pg. 20 of




     ϯϲ ϬϵϭϳϮϭͲϬϰϱϯ h^                ^zE,ZKE/^^WK/Ed              WĞŶĚŝŶŐͲ              ϭϱͬϯϳϬϰϲϵ           ϭϮͬϲͬϮϬϭϲ              Ͳ                Ͳ        ĂŶŝĞůtĞƌŶĞƌ͖dŚĞŽĚŽƌĞDǇĞƌƐ   /ŶŐĞŶƵ/ŶĐ͘                     Ͳ
                                       dZE^D/^^/KE^t/d,ZEKDd/D/E'        ƉƉůŝĐĂƚŝŽŶ&ŝůĞĚ


                                                                                                                     /ŶŐĞŶƵ/ŶĐ͘
                                                                                            ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                             WĂŐĞϯŽĨϰ                                                                                                      WĂƚĞŶƚƐͲh^;ŽƌĞͿ
                                                                                                                 /ŶŐĞŶƵ/ŶĐ͘

         ŽĐŬĞƚEŽ͘       ŽƵŶƚƌǇ      DĂƚƚĞƌdŝƚůĞ                        ^ƚĂƚƵƐ                 ƉƉůŝĐĂƚŝŽŶ        ƉƉůŝĐĂƚŝŽŶ        WĂƚĞŶƚ          'ƌĂŶƚĂƚĞ   /ŶǀĞŶƚŽƌƐ                      KǁŶĞƌEĂŵĞ      ǆƉŝƌĂƚŝŽŶ
                                                                                                   EƵŵďĞƌ               ĂƚĞ              EƵŵďĞƌ                                                                         ĂƚĞ
     ϯϳ ϬϵϭϳϮϭͲϬϰϱϰ h^                ^z^dD^EDd,K^&KZEdtKZ<^   WĞŶĚŝŶŐͲ              ϭϱͬϰϵϬϰϵϴ           ϰͬϭϴͬϮϬϭϳ              Ͳ                Ͳ        DĂƚƚŚĞǁ,ƵŐŚĞƐ͖dŚĞŽĚŽƌĞ      /ŶŐĞŶƵ/ŶĐ͘          Ͳ
                                       hZ/E'Dh>d/ͲZ'/KE>ZKD/E'K&   ƉƉůŝĐĂƚŝŽŶ&ŝůĞĚ                                                                           DǇĞƌƐ͖ĂŶŝĞůtĞƌŶĞƌ͖ůĂŝŶ
                                       DK/>^                                                                                                                         ŚĂƌůĞƐ͖ǀŝŶĂƐŚ:ĂŝŶ
     ϯϴ ϬϵϭϳϮϭͲϬϰϱϱ h^                Dh>d/ͲZ'/KE>WZKs/^/KE/E'         WĞŶĚŝŶŐͲ              ϭϱͬϯϲϵϵϯϲ           ϭϮͬϲͬϮϬϭϲ              Ͳ                Ͳ        DĂƚƚŚĞǁ,ƵŐŚĞƐ͖dŚĞŽĚŽƌĞ      /ŶǀĞŶƚŽƌƐ;ƐͿ         Ͳ
                                                                           ƉƉůŝĐĂƚŝŽŶ&ŝůĞĚ                                                                           DǇĞƌƐ͖ĂŶŝĞůtĞƌŶĞƌ͖ůĂŝŶ
                                                                                                                                                                        ŚĂƌůĞƐ͖ǀŝŶĂƐŚ:ĂŝŶ
     ϯϵ ϬϵϭϳϮϭͲϬϰϱϲ h^                ^z^dD^EDd,K^&KZ^ZsZͲ     WĞŶĚŝŶŐͲ              ϭϱͬϰϵϬϱϭϬ           ϰͬϭϴͬϮϬϭϳ              Ͳ                Ͳ        DĂƚƚŚĞǁ,ƵŐŚĞƐ͖dŚĞŽĚŽƌĞ      /ŶŐĞŶƵ/ŶĐ͘          Ͳ
                                       ^Dh>d/ͲZ'/KE>ZKD/E'K&    ƉƉůŝĐĂƚŝŽŶ&ŝůĞĚ                                                                           DǇĞƌƐ͖ĂŶŝĞůtĞƌŶĞƌ͖ůĂŝŶ
                                       DK/>^                                                                                                                          ŚĂƌůĞƐ͖ǀŝŶĂƐŚ:ĂŝŶ
                                                                                                                                                                                                                                                        Case 20-03779-LT11
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                                                                                                                 /ŶŐĞŶƵ/ŶĐ͘
                                                                                        ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                         WĂŐĞϰŽĨϰ                                                                                          WĂƚĞŶƚƐͲh^;ŽƌĞͿ
                                                                                                                  /ŶŐĞŶƵ/ŶĐ͘




    ŽĐŬĞƚEŽ͘          ŽƵŶƚƌǇ            DĂƚƚĞƌdŝƚůĞ                                    ^ƚĂƚƵƐ                   ƉƉůŝĐĂƚŝŽŶEƵŵďĞƌ         ƉƉůŝĐĂƚŝŽŶ     WĂƚͬ͘ZĞŐ͘EŽ͘    'ƌĂŶƚͬZĞŐŝƐƚƌĂƚŝŽŶ    EĂƚŝŽŶĂů   KǁŶĞƌEĂŵĞ       ǆƉŝƌĂƚŝŽŶ
                                                                                                                                                 ĂƚĞ                                  ĂƚĞ              ĂƚĞ                          ĂƚĞ
    ϬϵϭϳϮϭͲϬϭϰϯ         ƵƐƚƌĂůŝĂ          ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                   ϮϬϬϵϮϮϱϴϴϰ                 ϯͬϭϭͬϮϬϬϵ        ϮϬϬϵϮϮϱϴϴϰ           ϳͬϯϭͬϮϬϭϰ          ϵͬϴͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                              tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϳ         ƵƐƚƌĂůŝĂ          zED/EZ'zKEdZK>                      ZĞŐŝƐƚĞƌĞĚ                   ϮϬϭϬϮϯϱϬϬϮ                 ϯͬϭϳͬϮϬϭϬ        ϮϬϭϬϮϯϱϬϬϮ          ϭϬͬϮϮͬϮϬϭϱ         ϭϬͬϭϮͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                    tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϴ         ƵƐƚƌĂůŝĂ          KtE>/E<KDDhE/d/KE                          ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϬϮϮϲϱϴϰ                 ϯͬϭϴͬϮϬϭϬ        ϮϬϭϬϮϮϲϱϴϰ           ϵͬϯͬϮϬϭϱ          ϭϬͬϭϳͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                    tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϭϴ         ƵƐƚƌĂůŝĂ          &KZtZZZKZKZZd/KED/^^          ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϭϮϰϴϱϳϲ                 ϰͬϮϳͬϮϬϭϭ        ϮϬϭϭϮϰϴϱϳϲ           ϴͬϮϬͬϮϬϭϱ         ϭϭͬϳͬϮϬϭϮ     KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                           KEdZK>^z^dD                                                                                                                                                           tŝƌĞůĞƐƐ͕/ŶĐ͘
                                                                                                                                                                                                                                                                Case 20-03779-LT11




    ϬϵϭϳϮϭͲϬϭϰϰ         ƌĂǌŝů             ZEKDW,^Dh>d/W>^^KDDhE/d/KE     WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ W/ϬϵϬϵϮϴϭͲϭ                    ϯͬϭϭͬϮϬϬϵ                                               ϵͬϭϲͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                     &ŝůĞĚ                                                                                                                   tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϵ         ƌĂǌŝů             KtE>/E<KDDhE/d/KE                          WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ    W/ϭϬϬϵϳϴϮͲϭ                    ϯͬϭϴͬϮϬϭϬ                                               ϵͬϭϵͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                    tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϯ         ƌĂǌŝů             zED/EZ'zKEdZK>                          WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ        W/ϭϬϭϰϭϴϭͲϮ                ϯͬϭϳͬϮϬϭϬ                                               ϭϬͬϳͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                    tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϭϵ         ƌĂǌŝů             &KZtZZZKZKZZd/KED/^^          WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ        ϭϭϮϬϭϮϬϮϳϳϰϲϰ              ϰͬϮϳͬϮϬϭϭ                                               ϭϬͬϮϵͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                           KEdZK>^z^dD                                                                                                                                                           tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϰϱ         ĂŶĂĚĂ             ZEKDW,^Dh>d/W>^^KDDhE/d/KE     WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ Ϯϳϭϴϰϯϯ                        ϯͬϭϭͬϮϬϬϵ                                               ϵͬϭϯͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                                                                                                                                                                                                                                                Filed 07/27/20




                                           /EdZ&^z^dDEDd,K                     &ŝůĞĚ                                                                                                                   tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϲϮ         ĂŶĂĚĂ             ZEKDW,^Dh>d/W>^^^z^dDt/d,       ZĞŐŝƐƚĞƌĞĚ           ϮϳϭϴϳϮϭ                        ϯͬϭϭͬϮϬϬϵ          ϮϳϭϴϳϮϭ            ϲͬϭϵͬϮϬϭϮ         ϵͬϭϲͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           D^,/E'                                                                                                                                                                  tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϭ        ĂŶĂĚĂ              ZEKDW,^Dh>d/W>^^^z^dDt/d,   WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ         ϮϳϰϴϲϮϲ                    ϭϮͬϮϴͬϮϬϬϵ                                              ϲͬϮϵͬϮϬϭϭ     KŶͲZĂŵƉ        ϭϮͬϮϴͬϮϬϮϵ
                                                                                                                                                                                                                                                     135




                                           D^,/E'                                     &ŝůĞĚ                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϬ        ĂŶĂĚĂ              KtE>/E<KDDhE/d/KE                      WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ         ϮϳϱϲϬϬϭ                    ϯͬϭϴͬϮϬϭϬ                                               ϵͬϭϲͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                       &ŝůĞĚ                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϰ        ĂŶĂĚĂ              zED/EZ'zKEdZK>                      WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ         Ϯϳϱϳϵϰϴ                    ϯͬϭϳͬϮϬϭϬ                                               ϭϬͬϲͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                       &ŝůĞĚ                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϬ         ĂŶĂĚĂ             &KZtZZZKZKZZd/KED/^^      WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ         Ϯϳϵϳϲϴϳ                    ϰͬϮϳͬϮϬϭϭ                                               ϭϬͬϮϲͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                           KEdZK>^z^dD                              &ŝůĞĚ                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϰϲ         ŚŝŶĂ              ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                   ϮϬϬϵϴϬϭϭϳϴϰϰ͘ϭ             ϯͬϭϭͬϮϬϬϵ      >ϮϬϬϵϴϬϭϭϳϴϰϰ͘ϭ       ϱͬϮϬͬϮϬϭϱ         ϭϭͬϭϳͬϮϬϭϬ    KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                              tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϮ         ŚŝŶĂ              ZEKDW,^Dh>d/W>^^^z^dDt/d,   ZĞŐŝƐƚĞƌĞĚ                   ϮϬϬϵϴϬϭϱϳϱϰϬ͘ϴ             ϭϮͬϮϴͬϮϬϬϵ >ϮϬϬϵϴϬϭϱϳϱϰϬ͘ϴ           ϮͬϰͬϮϬϭϲ          ϴͬϮϲͬϮϬϭϭ     KŶͲZĂŵƉ        ϭϮͬϮϴͬϮϬϮϵ
                                           D^,/E'                                                                                                                                                                  tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϭ         ŚŝŶĂ              KtE>/E<KDDhE/d/KE                      WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ            ϮϬϭϬϴϬϬϮϭϴϳϬ͘ϳ             ϯͬϭϴͬϮϬϭϬ                                               ϭϭͬϭϴͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                                                    Entered 07/27/20 12:30:08




                                                                                                                                                                                                                    tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϱ         ŚŝŶĂ              ZEKDW,^Dh>d/W>^^KDhE/d/KE      ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϬϴϬϬϮϮϲϯϯ͘Ϯ             ϯͬϭϳͬϮϬϭϬ      >ϮϬϭϬϴϬϬϮϮϲϯϯ͘Ϯ       ϰͬϮϮͬϮϬϭϱ         ϭϭͬϮϯͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                           /EdZ&^z^dD^ED,dK^                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϭ         ŚŝŶĂ              &KZtZZZKZKZZd/KED/^^          ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϭϴϬϬϮϴϳϮϬ͘ϯ             ϰͬϮϳͬϮϬϭϭ      >ϮϬϭϭϴϬϬϮϴϳϮϬ͘ϯ       ϴͬϯͬϮϬϭϲ          ϭϮͬϭϭͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                                                                                                                                                                                                                                                Doc 1




                                           KEdZK>^z^dD                                                                                                                                                           tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϰϳ        ƵƌŽƉĞĂŶ           ZEKDW,^Dh>d/W>^^KDDhE/d/KE     ZĞŐŝƐƚĞƌĞĚͬW           ϬϵϳϮϭϴϬϱ͘ϭ                 ϯͬϭϭͬϮϬϬϵ          ϮϮϱϱϰϱϭ           ϭϭͬϭϵͬϮϬϭϰ         ϵͬϮϴͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                       WĂƚĞŶƚKĨĨŝĐĞ       /EdZ&^z^dDEDd,K                     'ƌĂŶƚĞĚ                                                                                                                  tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϯ        ƵƌŽƉĞĂŶ           ZEKDW,^Dh>d/W>^^^z^dDt/d,       WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ        ϬϵϴϯϳϬϴϭ͘Ϭ                 ϭϮͬϮϴͬϮϬϬϵ                                               ϳͬϴͬϮϬϭϭ     KŶͲZĂŵƉ        ϭϮͬϮϴͬϮϬϮϵ
                       WĂƚĞŶƚKĨĨŝĐĞ       D^,/E'                                                                                                                                                                  tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϮ        ƵƌŽƉĞĂŶ           KtE>/E<KDDhE/d/KE                          WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ        ϭϬϳϱϰϭϭϮ͘Ϭ                 ϯͬϭϴͬϮϬϭϬ                                               ϭϬͬϭϳͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                                                                Pg. 22 of




                       WĂƚĞŶƚKĨĨŝĐĞ                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘



                                                                                                                   /ŶŐĞŶƵ/ŶĐ͘
                                                                                         ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                           WĂŐĞϭŽĨϰ                                                                                                        WĂƚĞŶƚƐͲ/ŶƚΖů
                                                                                                                  /ŶŐĞŶƵ/ŶĐ͘


    ŽĐŬĞƚEŽ͘          ŽƵŶƚƌǇ            DĂƚƚĞƌdŝƚůĞ                                    ^ƚĂƚƵƐ                   ƉƉůŝĐĂƚŝŽŶEƵŵďĞƌ         ƉƉůŝĐĂƚŝŽŶ    WĂƚͬ͘ZĞŐ͘EŽ͘   'ƌĂŶƚͬZĞŐŝƐƚƌĂƚŝŽŶ    EĂƚŝŽŶĂů   KǁŶĞƌEĂŵĞ       ǆƉŝƌĂƚŝŽŶ
                                                                                                                                                 ĂƚĞ                                ĂƚĞ              ĂƚĞ                          ĂƚĞ
    ϬϵϭϳϮϭͲϬϭϴϲ         ƵƌŽƉĞĂŶ          zED/EZ'zKEdZK>                          WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ        ϭϬϳϲϮϬϳϱ͘ϵ                 ϯͬϭϳͬϮϬϭϬ                                             ϭϬͬϮϬͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                        WĂƚĞŶƚKĨĨŝĐĞ                                                                                                                                                                             tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϮ         ƵƌŽƉĞĂŶ          &KZtZZZKZKZZd/KED/^^          WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ        ϭϭϳϳϳϵϱϯ͘ϴ                 ϰͬϮϳͬϮϬϭϭ                                             ϭϭͬϮϭͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                        WĂƚĞŶƚKĨĨŝĐĞ      KEdZK>^z^dD                                                                                                                                                         tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϰϳ         &ƌĂŶĐĞ             ZEKDW,^Dh>d/W>^^KDDhE/d/KE     ZĞŐŝƐƚĞƌĞĚ               ϬϵϳϮϭϴϬϱ͘ϭ                 ϯͬϭϭͬϮϬϬϵ         ϮϮϱϱϰϱϭ          ϭϭͬϭϵͬϮϬϭϰ         ϯͬϭϭͬϮϬϬϵ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϰϱ         'ĞƌŵĂŶǇ            ZEKDW,^Dh>d/W>^^KDDhE/d/KE     ZĞŐŝƐƚĞƌĞĚ               ϬϵϳϮϭϴϬϱ͘ϭ                 ϯͬϭϭͬϮϬϬϵ      ϲϬϮϬϬϵϬϮϳϴϰϱ͘Ϯ      ϭϭͬϭϵͬϮϬϭϰ         ϯͬϭϭͬϮϬϬϵ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϬ         ,ŽŶŐ<ŽŶŐ          ZEKDW,^Dh>d/W>^^KDDhE/d/KE     ZĞŐŝƐƚĞƌĞĚ               ϭϭϭϬϱϱϭϬ͘ϳ                  ϲͬϭͬϮϬϭϭ        ,<ϭϭϱϭϲϯϳ          ϭϬͬϮͬϮϬϭϱ          ϲͬϭͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϯϵ         ,ŽŶŐ<ŽŶŐ          ZEKDW,^Dh>d/W>^^KDDhE/d/KE    ZĞŐŝƐƚĞƌĞĚ               ϭϮϭϭϬϵϵϴ͘ϳ                 ϯͬϭϳͬϮϬϭϬ         ϭϭϳϬϯϲϬ           ϯͬϭϭͬϮϬϭϲ         ϭϭͬϭͬϮϬϭϮ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                                                              Case 20-03779-LT11




                                           /EdZ&^z^dD^EDd,K^                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϰϭ         ,ŽŶŐ<ŽŶŐ          KtE>/E<KDDhE/d/KE                      WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ ϭϮϭϭϮϯϯϬ͘Ϭ                         ϯͬϭϴͬϮϬϭϬ                                             ϭϭͬϮϵͬϮϬϭϮ    KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                       &ŝůĞĚ                                                                                                                     tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϰϴ         /ŶĚŝĂ              ZEKDW,^Dh>d/W>^^KDDhE/d/KE WĞŶĚŝŶŐͬWƵďůŝƐŚĞĚ    ϯϯϵϬͬ<K>EWͬϮϬϭϬ                    ϯͬϭϭͬϮϬϬϵ                                             ϵͬϭϰͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϳ        /ŶĚŝĂ               zED/EZ'zKEdZK>                      WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ ϰϭϲϱͬ<K>EWͬϮϬϭϭ                    ϯͬϭϳͬϮϬϭϬ                                             ϭϬͬϭϬͬϮϬϭϭ    KŶͲZĂŵƉ
                                                                                       &ŝůĞĚ                                                                                                                     tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϰ        /ŶĚŝĂ               KtE>/E<KDDhE/d/KE                      WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ ϰϮϰϱͬ<K>EWͬϮϬϭϭ                    ϯͬϭϴͬϮϬϭϬ                                             ϭϬͬϭϰͬϮϬϭϭ    KŶͲZĂŵƉ
                                                                                                                                                                                                                                                              Filed 07/27/20




                                                                                       &ŝůĞĚ                                                                                                                     tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϯ        /ŶĚŝĂ               &KZtZZZKZKZZd/KED/^^      WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ ϯϰϳϯͬ<K>EWͬϮϬϭϮ                    ϰͬϮϳͬϮϬϭϭ                                             ϭϭͬϵͬϮϬϭϮ     KŶͲZĂŵƉ
                                           KEdZK>^z^dD                              &ŝůĞĚ                                                                                                                     tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϰϴ        /ƚĂůǇ               ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ           ϬϵϳϮϭϴϬϱ͘ϭ                         ϯͬϭϭͬϮϬϬϵ         ϮϮϱϱϰϱϭ          ϭϭͬϭϵͬϮϬϭϰ         ϯͬϭϭͬϮϬϬϵ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                                                                                                                                                                                                                                   135




                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϰϵ        :ĂƉĂŶ               ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ           ϮϬϭϭͲϱϬϬϴϲϴ                        ϯͬϭϭͬϮϬϬϵ         ϱϰϰϮϳϬϲ          ϭϮͬϮϳͬϮϬϭϯ         ϵͬϭϱͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϳϰ        :ĂƉĂŶ               ZEKDW,^Dh>d/W>^^^z^dDt/d,   ZĞŐŝƐƚĞƌĞĚ           ϮϬϭϭͲϱϰϰϱϲϮ                        ϭϮͬϮϴͬϮϬϬϵ        ϱϱϴϭϯϯϲ           ϳͬϭϴͬϮϬϭϰ         ϲͬϮϵͬϮϬϭϭ     KŶͲZĂŵƉ        ϭϮͬϮϴͬϮϬϮϵ
                                           D^,/E'                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϴ         :ĂƉĂŶ              zED/EZ'zKEdZK>                      ZĞŐŝƐƚĞƌĞĚ           ϮϬϭϮͲϱϬϰϲϴϲ                        ϯͬϭϳͬϮϬϭϬ         ϱϳϮϴϰϲϳ           ϰͬϭϬͬϮϬϭϱ         ϭϬͬϳͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                  tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϱ         :ĂƉĂŶ              KtE>/E<KDDhE/d/KE                          ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϮͲϱϬϬϵϲϱ                ϯͬϭϴͬϮϬϭϬ         ϱϳϴϰϬϬϬ           ϳͬϯϭͬϮϬϭϱ         ϵͬϭϲͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                  tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϭϱ         :ĂƉĂŶ              ZEKDW,^Dh>d/W>^^KDDhE/d/KE     ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϮͲϬϱϰϰϲϵ                ϯͬϭϭͬϮϬϬϵ         ϱϰϴϬϯϭϲ           ϮͬϮϭͬϮϬϭϰ         ϯͬϭϮͬϮϬϭϮ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϭϲ         :ĂƉĂŶ              ZEKDW,^Dh>d/W>^^KDDhE/d/KE     ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϮͲϬϱϰϰϳϬ                ϯͬϭϭͬϮϬϬϵ         ϱϱϮϬϵϴϳ           ϰͬϭϭͬϮϬϭϰ         ϯͬϭϮͬϮϬϭϮ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                                                                                                                                                                                                                                  Entered 07/27/20 12:30:08




                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϭϳ         :ĂƉĂŶ              ZEKDW,^Dh>d/W>^^KDDhE/d/KE     ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϮͲϬϱϰϰϳϭ                ϯͬϭϭͬϮϬϬϵ         ϱϰϴϬϯϭϳ           ϮͬϮϭͬϮϬϭϰ         ϯͬϭϮͬϮϬϭϮ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                            tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϰ         :ĂƉĂŶ              &KZtZZZKZKZZd/KED/^^          ZĞŐŝƐƚĞƌĞĚ               ϮϬϭϯͲϱϬϴϮϬϲ                ϰͬϮϳͬϮϬϭϭ         ϱϵϮϮϲϰϳ           ϰͬϮϮͬϮϬϭϲ         ϭϬͬϮϲͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                                                                                                                                                                                                                                              Doc 1




                                           KEdZK>^z^dD                                                                                                                                                         tŝƌĞůĞƐƐ͕/ŶĐ͘
                                                                                                                                                                                                                                                              Pg. 23 of




                                                                                                                   /ŶŐĞŶƵ/ŶĐ͘
                                                                                         ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                           WĂŐĞϮŽĨϰ                                                                                                      WĂƚĞŶƚƐͲ/ŶƚΖů
                                                                                                                 /ŶŐĞŶƵ/ŶĐ͘


    ŽĐŬĞƚEŽ͘          ŽƵŶƚƌǇ            DĂƚƚĞƌdŝƚůĞ                                     ^ƚĂƚƵƐ                 ƉƉůŝĐĂƚŝŽŶEƵŵďĞƌ         ƉƉůŝĐĂƚŝŽŶ   WĂƚͬ͘ZĞŐ͘EŽ͘   'ƌĂŶƚͬZĞŐŝƐƚƌĂƚŝŽŶ    EĂƚŝŽŶĂů   KǁŶĞƌEĂŵĞ       ǆƉŝƌĂƚŝŽŶ
                                                                                                                                                ĂƚĞ                               ĂƚĞ              ĂƚĞ                          ĂƚĞ
    ϬϵϭϳϮϭͲϬϭϱϭ         DĞǆŝĐŽ             ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                  DyͬĂͬϮϬϭϬͬϬϭϬϭϭϯ           ϯͬϭϭͬϮϬϬϵ        ϯϬϰϬϰϴ            ϭϬͬϰͬϮϬϭϮ         ϵͬϭϰͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϬ         DĞǆŝĐŽ             zED/EZ'zKEdZK>                      ZĞŐŝƐƚĞƌĞĚ                  DyͬĂͬϮϬϭϭͬϬϭϬϱϳϮ           ϯͬϭϳͬϮϬϭϬ        ϯϬϴϱϮϵ            ϰͬϱͬϮϬϭϯ          ϭϬͬϲͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϳ         DĞǆŝĐŽ             KtE>/E<KDDhE/d/KE                           ZĞŐŝƐƚĞƌĞĚ             DyͬĂͬϮϬϭϭͬϬϬϵϳϲϴ           ϯͬϭϴͬϮϬϭϬ        ϯϭϭϱϬϳ            ϳͬϭϴͬϮϬϭϯ         ϵͬϭϱͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϬϯ         DĞǆŝĐŽ             ZEKDW,^Dh>d/W>^^KDDhE/d/KE      ZĞŐŝƐƚĞƌĞĚ             DyͬĂͬϮϬϭϭͬϬϭϯϬϬϬ           ϯͬϭϭͬϮϬϬϵ        ϯϬϮϲϰϵ            ϴͬϮϯͬϮϬϭϮ         ϭϮͬϱͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϭϮ         DĞǆŝĐŽ             ZEKDW,^Dh>d/W>^^KDDhE/d/KE      ZĞŐŝƐƚĞƌĞĚ             DyͬĂͬϮϬϭϭͬϬϭϯϬϬϮ           ϯͬϭϭͬϮϬϬϵ        ϯϬϰϲϵϵ           ϭϬͬϯϬͬϮϬϭϮ         ϭϮͬϱͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϭϰ         DĞǆŝĐŽ             hW>/E<dZE^D/ddZ/EZEKDW,^Dh>d/W>   ZĞŐŝƐƚĞƌĞĚ             DyͬĂͬϮϬϭϮͬϬϬϯϱϮϴ           ϯͬϭϭͬϮϬϬϵ        ϯϬϮϲϱϭ            ϴͬϮϯͬϮϬϭϮ         ϯͬϮϯͬϮϬϭϮ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                                                                                                                                                                                                                                            Case 20-03779-LT11




                                           ^^KDDhE/d/KE^z^dDͲZWD                                                                                                                                  tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϲ         DĞǆŝĐŽ             &KZtZZZKZKZZd/KED/^^           ZĞŐŝƐƚĞƌĞĚ             DyͬĂͬϮϬϭϮͬϬϭϮϱϰϯ           ϰͬϮϳͬϮϬϭϭ        ϯϮϬϳϵϰ            ϲͬϰͬϮϬϭϰ          ϭϬͬϮϲͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                           KEdZK>^z^dD                                                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϱϮ        EĞǁĞĂůĂŶĚ         ZEKDW,^Dh>d/W>^^KDDhE/d/KE      ZĞŐŝƐƚĞƌĞĚ             ϱϴϴϰϲϱ                     ϯͬϭϭͬϮϬϬϵ        ϱϴϴϰϲϱ            ϭϮͬϯͬϮϬϭϯ         ϭϬͬϴͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϭ        EĞǁĞĂůĂŶĚ         zED/EZ'zKEdZK>                           ZĞŐŝƐƚĞƌĞĚ             ϱϵϲϬϯϬ                     ϯͬϭϳͬϮϬϭϬ        ϱϵϲϬϯϬ            ϱͬϭͬϮϬϭϰ          ϭϬͬϭϮͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϴ        EĞǁĞĂůĂŶĚ         KtE>/E<KDDhE/d/KE                           ZĞŐŝƐƚĞƌĞĚ             ϱϵϱϳϲϭ                     ϯͬϭϴͬϮϬϭϬ        ϱϵϱϳϲϭ            ϱͬϭͬϮϬϭϰ          ϭϬͬϭϰͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                                                            Filed 07/27/20




                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϳ        EĞǁĞĂůĂŶĚ         &KZtZZZKZKZZd/KED/^^      ZĞŐŝƐƚĞƌĞĚ                  ϲϬϯϰϳϰ                     ϰͬϮϳͬϮϬϭϭ        ϲϬϯϰϳϰ            ϯͬϯͬϮϬϭϱ          ϭϭͬϴͬϮϬϭϮ     KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                           KEdZK>^z^dD                                                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϱϯ        ZƵƐƐŝĂŶ            ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                  ϮϬϭϬϭϯϵϰϮϰ                 ϯͬϭϭͬϮϬϬϵ        ϮϱϬϴϱϵϳ           ϮͬϮϳͬϮϬϭϰ         ϵͬϮϳͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                                                                                                                                                                                                                                 135




                       &ĞĚĞƌĂƚŝŽŶ          /EdZ&^z^dDEDd,K                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϮ        ZƵƐƐŝĂŶ            zED/EZ'zKEdZK>                      ZĞŐŝƐƚĞƌĞĚ                  ϮϬϭϭϭϰϱϬϮϴ                 ϯͬϭϳͬϮϬϭϬ        ϮϱϯϰϬϭϵ          ϭϭͬϮϳͬϮϬϭϰ         ϭϭͬϳͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                       &ĞĚĞƌĂƚŝŽŶ                                                                                                                                                                               tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϵ        ZƵƐƐŝĂŶ            KtE>/E<KDDhE/d/KE                           ZĞŐŝƐƚĞƌĞĚ             ϮϬϭϭϭϰϮϯϯϭ                 ϯͬϭϴͬϮϬϭϬ        ϮϱϮϰϲϴϴ           ϴͬϭϬͬϮϬϭϰ         ϭϬͬϭϵͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                       &ĞĚĞƌĂƚŝŽŶ                                                                                                                                                                               tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϴ        ZƵƐƐŝĂŶ            &KZtZZZKZKZZd/KED/^^      ZĞŐŝƐƚĞƌĞĚ                  ϮϬϭϮϭϱϭϬϬϰ                 ϰͬϮϳͬϮϬϭϭ        ϮϱϴϬϴϬϳ           ϰͬϭϬͬϮϬϭϲ         ϭϭͬϮϴͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                       &ĞĚĞƌĂƚŝŽŶ          KEdZK>^z^dD                                                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϱϰ        ^ŝŶŐĂƉŽƌĞ           ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                  ϮϬϭϬϬϲϲϯϴͲϵ                ϯͬϭϭͬϮϬϬϵ        ϭϲϰϳϲϭ            ϱͬϯϭͬϮϬϭϭ         ϵͬϭϰͬϮϬϭϬ     KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϯ         ^ŝŶŐĂƉŽƌĞ          zED/EZ'zKEdZK>                      ZĞŐŝƐƚĞƌĞĚ                  ϮϬϭϭϬϳϮϵϰͲϵ                ϯͬϭϳͬϮϬϭϬ        ϭϳϱϭϬϬ            ϱͬϮϭͬϮϬϭϰ         ϲͬϭϬͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϬϬ         ^ŝŶŐĂƉŽƌĞ          KtE>/E<KDDhE/d/KE                           ZĞŐŝƐƚĞƌĞĚ             ϮϬϭϭϬϲϳϰϵͲϯ                ϯͬϭϴͬϮϬϭϬ      ϮϬϭϭϬϲϳϰϵϯ          ϲͬϮͬϮϬϭϰ          ϵͬϭϵͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                                                Entered 07/27/20 12:30:08




                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϵ         ^ŝŶŐĂƉŽƌĞ          &KZtZZZKZKZZd/KED/^^      ZĞŐŝƐƚĞƌĞĚ                  ϮϬϭϮϬϳϵϴϭͲϬ                ϰͬϮϳͬϮϬϭϭ        ϭϴϱϬϳϱ            ϰͬϭϭͬϮϬϭϳ         ϭϬͬϮϵͬϮϬϭϮ    KŶͲZĂŵƉ        ϰͬϮϳͬϮϬϯϭ
                                           KEdZK>^z^dD                                                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϱϬ         ^ŽƵƚŚ<ŽƌĞĂ        ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                  ϭϬͲϮϬϭϬͲϳϬϮϯϭϲϲ            ϯͬϭϭͬϮϬϬϵ      ϭϬͲϭϲϴϯϯϬϰ         ϭϭͬϯϬͬϮϬϭϲ         ϭϬͬϭϱͬϮϬϭϬ    KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                                                                                                                                                                                                                                            Doc 1




                                           /EdZ&^z^dDEDd,K                                                                                                                                          tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϴϵ         ^ŽƵƚŚ<ŽƌĞĂ        zED/EZ'zKEdZK>                      ZĞŐŝƐƚĞƌĞĚ                  ϭϬͲϮϬϭϭͲϳϬϮϲϱϰϮ            ϯͬϭϳͬϮϬϭϬ      ϭϬͲϭϲϲϴϴϵϲ         ϭϬͬϭϴͬϮϬϭϲ         ϭϭͬϳͬϮϬϭϭ     KŶͲZĂŵƉ        ϯͬϭϳͬϮϬϯϬ
                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϭϵϲ        ^ŽƵƚŚ<ŽƌĞĂ         KtE>/E<KDDhE/d/KE                           ZĞŐŝƐƚĞƌĞĚ             ϭϬͲϮϬϭϭͲϳϬϮϰϳϬϭ            ϯͬϭϴͬϮϬϭϬ      ϭϬͲϭϲϴϵϰϭϭ         ϭϮͬϭϵͬϮϬϭϲ         ϭϬͬϭϵͬϮϬϭϭ    KŶͲZĂŵƉ        ϯͬϭϴͬϮϬϯϬ
                                                                                                                                                                                                                tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲϬϮϮϱ        ^ŽƵƚŚ<ŽƌĞĂ         &KZtZZZKZKZZd/KED/^^           WĞŶĚŝŶŐͬƉƉůŝĐĂƚŝŽŶ ϭϬͲϮϬϭϮͲϳϬϯϬϵϭϵ              ϰͬϮϳͬϮϬϭϭ                                            ϭϭͬϮϲͬϮϬϭϮ    KŶͲZĂŵƉ
                                                                                                                                                                                                                                                            Pg. 24 of




                                           KEdZK>^z^dD                                   &ŝůĞĚ                                                                                                              tŝƌĞůĞƐƐ͕/ŶĐ͘



                                                                                                                  /ŶŐĞŶƵ/ŶĐ͘
                                                                                        ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                          WĂŐĞϯŽĨϰ                                                                                                     WĂƚĞŶƚƐͲ/ŶƚΖů
                                                                                                               /ŶŐĞŶƵ/ŶĐ͘


    ŽĐŬĞƚEŽ͘          ŽƵŶƚƌǇ            DĂƚƚĞƌdŝƚůĞ                                 ^ƚĂƚƵƐ                   ƉƉůŝĐĂƚŝŽŶEƵŵďĞƌ         ƉƉůŝĐĂƚŝŽŶ   WĂƚͬ͘ZĞŐ͘EŽ͘   'ƌĂŶƚͬZĞŐŝƐƚƌĂƚŝŽŶ   EĂƚŝŽŶĂů   KǁŶĞƌEĂŵĞ       ǆƉŝƌĂƚŝŽŶ
                                                                                                                                              ĂƚĞ                               ĂƚĞ             ĂƚĞ                          ĂƚĞ
    ϬϵϭϳϮϭͲϬϮϰϲ         ^ƉĂŝŶ              ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                ϬϵϳϮϭϴϬϱ͘ϭ                 ϯͬϭϭͬϮϬϬϵ        ϮϮϱϱϰϱϭ          ϭϭͬϭϵͬϮϬϭϰ         ϯͬϭϭͬϮϬϬϵ    KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
                                           /EdZ&^z^dDEDd,K                                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
    ϬϵϭϳϮϭͲ             hŶŝƚĞĚ            ZEKDW,^Dh>d/W>^^KDDhE/d/KE ZĞŐŝƐƚĞƌĞĚ                ϬϵϳϮϭϴϬϱ͘ϭ                 ϯͬϭϭͬϮϬϬϵ        ϮϮϱϱϰϱϭ          ϭϭͬϭϵͬϮϬϭϰ         ϯͬϭϭͬϮϬϬϵ    KŶͲZĂŵƉ        ϯͬϭϭͬϮϬϮϵ
    Ϭϭϰϳͬ'             <ŝŶŐĚŽŵ            /EdZ&^z^dDEDd,K                                                                                                                                       tŝƌĞůĞƐƐ͕/ŶĐ͘
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                                                                                                                /ŶŐĞŶƵ/ŶĐ͘
                                                                                      ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                                                        WĂŐĞϰŽĨϰ                                                                                                    WĂƚĞŶƚƐͲ/ŶƚΖů
                                                                                   /ŶŐĞŶƵ/ŶĐ͘

   'RFNHW1R      &RXQWU\             0DWWHU7LWOH               6WDWXV                         $SSOLFDWLRQ1XPEHU $SSOLFDWLRQ    5HJ1R   5HJLVWUDWLRQ   2ZQHU1DPH
                                                                                                                    'DWH                       'DWH
        86$                 8/75$/,1.352&(66,1*      5HJLVWHUHG                                                 ,QJHQX,QF
        86$                 530$                       5HJLVWHUHG                                                   ,QJHQX,QF
        86$                 ,1*(18                     5HJLVWHUHG                                                ,QJHQX,QF
        86$                 ,17(//(&7                  5HJLVWHUHG                                                  ,QJHQX,QF
        86$                 0$&+,1(1(7:25.           3HQGLQJ                                                                    ,QJHQX,QF
        $UJHQWLQD           ,1*(18                     3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        $UJHQWLQD           ,1*(18                     3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        $UJHQWLQD           ,1*(18                     3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
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        $UJHQWLQD           0$&+,1(1(7:25.            3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        $UJHQWLQD           0$&+,1(1(7:25.            3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        $UJHQWLQD           0$&+,1(1(7:25.           3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        $UJHQWLQD           530$                       3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        $XVWUDOLD           ,1*(18                     5HJLVWHUHG                                                   ,QJHQX,QF
        $XVWUDOLD           530$                       3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
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        %UD]LO              ,1*(18                    3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        %UD]LO              ,1*(18                     3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        %UD]LO              ,1*(18                    3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
                                                                                                                                                                                135




        %UD]LO              0$&+,1(1(7:25.           3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        %UD]LO              0$&+,1(1(7:25.            3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        %UD]LO              0$&+,1(1(7:25.           3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        %UD]LO              530$                       3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        &DQDGD              ,1*(18                     3HQGLQJ$SSOLFDWLRQ)LOHG                                                  ,QJHQX,QF
        &DQDGD              0$&+,1(1(7:25.            3HQGLQJ$SSOLFDWLRQ)LOHG                                                  ,QJHQX,QF
        &DQDGD              530$                       3HQGLQJ$SSOLFDWLRQ)LOHG                                                  ,QJHQX,QF
        &KLOH               ,1*(18                     3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
                                                                                                                                                                               Entered 07/27/20 12:30:08




        &KLOH               0$&+,1(1(7:25.           3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        &KLOH               530$                       3HQGLQJ3XEOLVKHG                                                            ,QJHQX,QF
        &KLQD               ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG     1$                                                 ,QJHQX,QF
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        &KLQD               ,1*(18                     3HQGLQJ$SSOLFDWLRQ)LOHG     1$                                                 ,QJHQX,QF
        &KLQD               ,1*(18                     3HQGLQJ$SSOLFDWLRQ)LOHG     1$                                                 ,QJHQX,QF
        &KLQD               530$                      3HQGLQJ$SSOLFDWLRQ)LOHG     1$                                                 ,QJHQX,QF
        &KLQD               0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG     1$                                                 ,QJHQX,QF
                                                                                                                                                                                           Pg. 26 of




        &KLQD               0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG     1$                                                 ,QJHQX,QF

                                                                                    /ŶŐĞŶƵ/ŶĐ͘
                                                           ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                            WĂŐĞϭŽĨϰ                                                                       dƌĂĚĞŵĂƌŬƐ
                                                                                  /ŶŐĞŶƵ/ŶĐ͘
   'RFNHW1R      &RXQWU\             0DWWHU7LWOH              6WDWXV                         $SSOLFDWLRQ1XPEHU $SSOLFDWLRQ    5HJ1R    5HJLVWUDWLRQ   2ZQHU1DPH
                                                                                                                   'DWH                        'DWH
        &KLQD               0$&+,1(1(7:25.          3HQGLQJ$SSOLFDWLRQ)LOHG     1$                                                  ,QJHQX,QF
        (J\SW               ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
        (J\SW               ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
        (J\SW               ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
        (J\SW               0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
        (J\SW               0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
        (J\SW               0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
        (J\SW               530$                      3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
                                                                                                                                                                                           Case 20-03779-LT11




        (XURSHDQ8QLRQ      ,1*(18                    5HJLVWHUHG                                                ,QJHQX,QF
        (XURSHDQ8QLRQ      530$                      5HJLVWHUHG                                                ,QJHQX,QF
        +RQJ.RQJ           ,1*(18                    3HQGLQJ3XEOLVKHG                                                           ,QJHQX,QF
        +RQJ.RQJ           0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                  ,QJHQX,QF
        +RQJ.RQJ           530$                      3HQGLQJ$SSOLFDWLRQ)LOHG                                                  ,QJHQX,QF
        ,FHODQG             ,1*(18                   5HJLVWHUHG                     9                  9          ,QJHQX,QF
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        ,FHODQG             530$                      5HJLVWHUHG                     9                  9          ,QJHQX,QF
        ,QGLD               ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
        ,QGLD               0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
                                                                                                                                                                                135




        ,QGLD               530$                      3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
        ,QGRQHVLD           ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG     '                                        ,QJHQX,QF
        ,QGRQHVLD           0$&+,1(1(7:25.          3HQGLQJ$SSOLFDWLRQ)LOHG     '                                        ,QJHQX,QF
        ,QGRQHVLD           530$                      3HQGLQJ$SSOLFDWLRQ)LOHG     '                                        ,QJHQX,QF
        -DSDQ               ,1*(18                    3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        -DSDQ               0$&+,1(1(7:25.          3HQGLQJ3XEOLVKHG                                                          ,QJHQX,QF
        -DSDQ               530$                      5HJLVWHUHG                                                  ,QJHQX,QF
        0DOD\VLD            ,1*(18                   3HQGLQJ$SSOLFDWLRQ)LOHG                                                 ,QJHQX,QF
                                                                                                                                                                               Entered 07/27/20 12:30:08




        0DOD\VLD            ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                 ,QJHQX,QF
        0DOD\VLD            ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                 ,QJHQX,QF
        0DOD\VLD            530$                      3HQGLQJ$SSOLFDWLRQ)LOHG                                                 ,QJHQX,QF
                                                                                                                                                                                           Doc 1




        0H[LFR              ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
        0H[LFR              ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
        0H[LFR              ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
        0H[LFR              0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF
                                                                                                                                                                                           Pg. 27 of




        0H[LFR              0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                   ,QJHQX,QF


                                                                                   /ŶŐĞŶƵ/ŶĐ͘
                                                          ŽŶĨŝĚĞŶƚŝĂůĂŶĚWƌŽƉƌŝĞƚĂƌǇ/ŶĨŽƌŵĂƚŝŽŶͲEŽƚĨŽƌŝƐƚƌŝďƵƚŝŽŶ
/ŶŐĞŶƵ/ŶĐͺ/WWŽƌƚĨŽůŝŽĂƐŽĨϬϱϮϰϮϬϭϳĨƐ                                           WĂŐĞϮŽĨϰ                                                                        dƌĂĚĞŵĂƌŬƐ
                                                                                  /ŶŐĞŶƵ/ŶĐ͘
   'RFNHW1R      &RXQWU\             0DWWHU7LWOH              6WDWXV                         $SSOLFDWLRQ1XPEHU $SSOLFDWLRQ    5HJ1R       5HJLVWUDWLRQ   2ZQHU1DPH
                                                                                                                   'DWH                           'DWH
        0H[LFR              0$&+,1(1(7:25.           3HQGLQJ$SSOLFDWLRQ)LOHG                                                      ,QJHQX,QF
        0H[LFR              530$                      3HQGLQJ$SSOLFDWLRQ)LOHG                                                      ,QJHQX,QF
        0RURFFR             ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                        ,QJHQX,QF
        0RURFFR             0$&+,1(1(7:25.           3HQGLQJ3XEOLVKHG                                                                 ,QJHQX,QF
        0RURFFR             530$                      5HJLVWHUHG                                                         ,QJHQX,QF
        1HZ=HDODQG         ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                       ,QJHQX,QF
        1HZ=HDODQG         530$                      3HQGLQJ$SSOLFDWLRQ)LOHG                                                       ,QJHQX,QF
        1RUZD\              ,1*(18                    3HQGLQJ$SSOLFDWLRQ)LOHG                                                     ,QJHQX,QF
                                                                                                                                                                                              Case 20-03779-LT11




        1RUZD\              530$                      5HJLVWHUHG                                                       ,QJHQX,QF
        3HUX                ,1*(18                    3HQGLQJ3XEOLVKHG                                                                 ,QJHQX,QF
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             Case 20-03779-LT11                          Filed 07/27/20               Entered 07/27/20 12:30:08                  Doc 1          Pg. 30 of
                                                                                       135
 Fill in this information to identify the case:

 Debtor name         Ingenu Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1   California EDD                                 Describe debtor's property that is subject to a lien                  $157,858.18                       $0.00
       Creditor's Name                                All Assets
       Bankruptcy Unit, MIC 92E
       P.O. Box 826880
       Sacramento, CA 94280
       Creditor's mailing address                     Describe the lien
                                                      Employment Taxes
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       Various                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.2   Frank Castaneda                                Describe debtor's property that is subject to a lien                    $18,838.71                      $0.00
       Creditor's Name                                Real Property
       4006 Via Serra
       Oceanside, CA 92057
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Lien - Labor Code
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 20-03779-LT11                          Filed 07/27/20               Entered 07/27/20 12:30:08                   Doc 1      Pg. 31 of
                                                                                       135
 Debtor       Ingenu Inc.                                                                              Case number (if known)
              Name



 2.3   Grid Partners III A LP                         Describe debtor's property that is subject to a lien                $17,853,654.92          Unknown
       Creditor's Name                                All Assets
       345 N. Maple Drive, Suite
       277
       Beverly Hills, CA 90210
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
       Babak@thirdwaveventures.                       Is the creditor an insider or related party?
       com                                                No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.4   Hafiz Hameed                                   Describe debtor's property that is subject to a lien                      $28,364.94              $0.00
       Creditor's Name                                Real Property
       15885 Paseo Del Sur
       San Diego, CA 92127
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Lien - Labor Code
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


       Internal Revenue Service
 2.5                                                                                                                            $56,006.40              $0.00
       (IRS)                                          Describe debtor's property that is subject to a lien
       Creditor's Name                                All Assets
       Insolvency Operations Unit
       P.O. Box 7346
       Philadelphia, PA 19101
       Creditor's mailing address                     Describe the lien
                                                      Taxes
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       Various                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
             Case 20-03779-LT11                          Filed 07/27/20               Entered 07/27/20 12:30:08                   Doc 1      Pg. 32 of
                                                                                       135
 Debtor       Ingenu Inc.                                                                              Case number (if known)
              Name

           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.6   JBJK INVESTMENTS, LP                           Describe debtor's property that is subject to a lien                  $3,764,426.71         Unknown
       Creditor's Name                                All Assets
       1298 PROSPECT STREET,
       STE 1D
       La Jolla, CA 92037
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
       jon@newbsn.com                                     No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       06/01/2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.7   John and Barbara Gilbert                       Describe debtor's property that is subject to a lien                  $1,151,780.82         Unknown
       Creditor's Name                                All Assets
       1298 PROSPECT STREET,
       STE 1D
       La Jolla, CA 92037
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
       jon@newbsn.com                                     No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       07/25/2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.8   Lakefront Associates, LLC                      Describe debtor's property that is subject to a lien                      $86,366.69        Unknown
       Creditor's Name                                All Assets
       c/o Wallin & Russel
       26000 Town Centre Dr. 130
       Foothill Ranch, CA 92610
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement - Assigned from Silicon
                                                      Valley Bank
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
             Case 20-03779-LT11                          Filed 07/27/20               Entered 07/27/20 12:30:08                   Doc 1      Pg. 33 of
                                                                                       135
 Debtor       Ingenu Inc.                                                                              Case number (if known)
              Name

       09/23/2011                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.9   LFT Capital LLC                                Describe debtor's property that is subject to a lien                  $2,297,758.90         Unknown
       Creditor's Name                                All Assets
       2245 SAN DIEGO AVENUE,
       #125
       San Diego, CA 92110
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
       mlynn@cri2000.com                                  No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       06/01/2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.1
 0     NDJR Grid Partners II, LLC                     Describe debtor's property that is subject to a lien                $16,243,041.14          Unknown
       Creditor's Name                                All Assets
       460 Park Avenue, Ste 1501
       New York, NY 10022
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
       brian.rossing@ndcapgroup                       Is the creditor an insider or related party?
       .com                                               No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       06/28/17                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.1   San Diego County Tax
 1     Collector                                      Describe debtor's property that is subject to a lien                      $78,553.96              $0.00
       Creditor's Name                                All Assets
       San Diego County Admin.
       Center
       1600 Pacific Hwy, Room
       162
       San Diego, CA 92101

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 7
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                                                                                       135
 Debtor       Ingenu Inc.                                                                              Case number (if known)
              Name

       Creditor's mailing address                     Describe the lien
                                                      Taxes
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       Various                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.1
 2     Serrano, Lisa D                                Describe debtor's property that is subject to a lien                      $10,207.23              $0.00
       Creditor's Name                                Real Property
       12596 Fairbrook Rd
       San Diego, CA 92131
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Lien - Labor Code
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.1
 3     Snezana Stjepovic                              Describe debtor's property that is subject to a lien                      $35,542.79              $0.00
       Creditor's Name                                Real Property
       8064 Hemp Hill Drive
       San Diego, CA 92126
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Lien - Labor Code
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5 of 7
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             Case 20-03779-LT11                          Filed 07/27/20               Entered 07/27/20 12:30:08                   Doc 1      Pg. 35 of
                                                                                       135
 Debtor       Ingenu Inc.                                                                              Case number (if known)
              Name

 2.1
 4     Travis Hornung                                 Describe debtor's property that is subject to a lien                      $21,291.28              $0.00
       Creditor's Name                                Real Property
       807 Cornish Dr
       Encinitas, CA 92024
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Lien - Labor Code
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.1   TRILLIANT NETWORKS
 5     (CANADA)                                       Describe debtor's property that is subject to a lien                  $2,732,349.32         Unknown
       Creditor's Name                                All Assets
       401 HARRISON OAKS
       BLVD
       Cary, NC 27513
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       03/20/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


 2.1
 6     William Simpson                                Describe debtor's property that is subject to a lien                      $35,153.08              $0.00
       Creditor's Name                                Real Property
       5915 Seacrest View Road
       SAN DIEGO, CA 92121
       Creditor's mailing address                     Describe the lien
                                                      Certificate of Lien - Labor Code
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 7
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             Case 20-03779-LT11                          Filed 07/27/20        Entered 07/27/20 12:30:08                       Doc 1         Pg. 36 of
                                                                                135
 Debtor       Ingenu Inc.                                                                       Case number (if known)
              Name

           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See attached.


                                                                                                                         $44,571,195.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   07

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Division of Labor                                                                                     All labor lien claimants.
        7575 Metropolitan Drive
        Ste. 210
        San Diego, CA 92108

 Name and address                                                                                  On which line in Part 1 did         Last 4 digits of
                                                                                                   you enter the related creditor?     account number for
                                                                                                                                       this entity
 Mr. Andrew C. White                                                                               2.15
 Chairman and CEO
 Trilliant Networks (Canada), Inc.
 20 Floral Parkway
 Concord, ON L4K 4R1
 Canada




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 7 of 7
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                                                                          SecuredCreditors


Name                       Address                     City            State      Zip           Amount            LienType                        Date

SnezanaStjepovic           8064HempHillDrive         SanDiego        CA               92126        $35,542.79 CertificateofLienͲLaborCode   12/21/2018

FrankCastaneda             4006ViaSerra               Oceanside        CA               92057        $18,838.71 CertificateofLienͲLaborCode     3/1/2019

TravisHornung              807CornishDr               Encinitas        CA               92024        $21,291.28 CertificateofLienͲLaborCode     3/6/2019

WilliamSimpson             5915SeacrestViewRoad      SANDIEGO        CA               92121        $35,153.08 CertificateofLienͲLaborCode    3/19/2019
                                                                                                                                                                               Case 20-03779-LT11




HafizHameed                15885PaseoDelSur          SanDiego        CA               92127        $28,364.94 CertificateofLienͲLaborCode     8/6/2019

Serrano,LisaD            12596FairbrookRd           SanDiego       CA               92131        $10,207.23 CertificateofLienͲLaborCode   11/27/2019
SanDiegoCountyTax
Collector                   1600PacificHighway         SanDiego       CA               92101             $42.69 CertificateofTaxLien          12/19/2017
SanDiegoCountyTax
                                                                                                                                                                               Filed 07/27/20




Collector                   1600PacificHighway         SanDiego       CA               92101        $36,557.67 CertificateofTaxLien           10/23/2018
SanDiegoCountyTax
Collector                   1600PacificHighway         SanDiego       CA               92101            $127.50 CertificateofTaxLien          10/29/2018
                                                                                                                                                                    135




SanDiegoCountyTax
Collector                   1600PacificHighway         SanDiego       CA               92101            $378.68 CertificateofTaxLien          10/29/2018
SanDiegoCountyTax
Collector                   1600PacificHighway         SanDiego       CA               92101        $40,933.95 CertificateofTaxLien           11/12/2019
SanDiegoCountyTax
Collector                   1600PacificHighway         SanDiego       CA               92101            $129.27 CertificateofTaxLien          11/14/2019
SanDiegoCountyTax
Collector                   1600PacificHighway         SanDiego       CA               92101            $384.20 CertificateofTaxLien          11/14/2019
                            c/oWallin&RussellLLP
                                                                                                                                                                   Entered 07/27/20 12:30:08




LakefrontAssociates       26000TowneCentreDrive,
LLC                        Suite130                    FoothillRanch   CA               92610        $86,366.69 SecurityAgreement                  9/23/2011
                            1298PROSPECTSTREET,STE
JBJK(4thlien):           1D                           LaJolla         CA               92037      $3,764,426.71 SecurityAgreement                  6/1/2017
                                                                                                                                                                               Doc 1




                            2245SANDIEGOAVENUE,
LFT(4thlien):            #125                         SanDiego       CA               92110      $2,297,758.90 SecurityAgreement                  6/1/2017
NDJR(2ndlien)Grid
PartnersII:               460ParkAvenue,Ste1501    NewYork        NY               10022    $16,243,041.14 SecurityAgreement                  6/28/2017
                                                                                                                                                                               Pg. 37 of




GridPartnersIIIA(3rd   345N.MapleDrive,Suite
lien):                     277                          BeverlyHills    CA               90210     $17,853,654.92 SecurityAgreement                 6/29/2017
                                                                       SecuredCreditors


Name                     Address                      City          State      Zip           Amount            LienType           Date
JohnS.Gilbertor
BarbaraGilbert(4th     1298PROSPECTSTREET,STE
lien):                   1D                         LaJolla          CA               92037      $1,151,780.82 SecurityAgreement    7/25/2017
Trilliant(5thlien):    401HarrisonOaksBlvd.    Cary             NC               27513      $2,732,349.32 SecurityAgreement    3/20/2018

StateofCaliforniaEDD   POBox826880                 Sacramento    CA               84280        $123,927.73 StateTaxLien      12/12/2019
InternalRevenue         InsolvencyOperationsUnit
Service(IRS)             P.O.Box7346                 Philadelphia   PA               19101         $56,006.40 TaxLien               6/1/2018
                                                                                                  $44,537,264.62
                                                                                                                                                               Case 20-03779-LT11
                                                                                                                                                               Filed 07/27/20
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                                                                                                                                                   Entered 07/27/20 12:30:08
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             Case 20-03779-LT11                          Filed 07/27/20                  Entered 07/27/20 12:30:08                Doc 1          Pg. 39 of
                                                                                          135
 Fill in this information to identify the case:

 Debtor name         Ingenu Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,964.91         $1,964.91
           Bexar County Tax Collector                                Check all that apply.
           Vista Verde Plaza Building                                 Contingent
           233 N. Pecos La Trinidad                                   Unliquidated
           San Antonio, TX 78207                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $303.53         $303.53
           Bureau Revenue & Tax                                      Check all that apply.
           1233 Westbank Expressway                                   Contingent
           Harvey, LA 70058                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 39
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             Case 20-03779-LT11                          Filed 07/27/20                  Entered 07/27/20 12:30:08                     Doc 1   Pg. 40 of
                                                                                          135
 Debtor       Ingenu Inc.                                                                                     Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $562.00     $562.00
          CA Dep. of Tax & Fee Admin                                 Check all that apply.
          450 N St                                                    Contingent
          Sacramento, CA 95814                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $173.29     $173.29
          City of Union City                                         Check all that apply.
          Property Tax Division                                       Contingent
          3715 Palisades Avenue                                       Unliquidated
          Union City, NJ 07087                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $315.31     $315.31
          Collin County Tax Collector                                Check all that apply.
          2300 Bloomdale Rd., Suite 2324                              Contingent
          McKinney, TX 75071                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $1,476.53    $1,476.53
          Dallas County Tax Collector                                Check all that apply.
          1201 Elm Street, Suite 2600                                 Contingent
          Dallas, TX 75270                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 39
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                                                                                          135
 Debtor       Ingenu Inc.                                                                                     Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $28.23    $28.23
          Dekalb County Tax Commissioner                             Check all that apply.
          4380 Memorial Dr #100                                       Contingent
          Decatur, GA 30032                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $590.61       $590.61
          DENTON CTY TAX ASSESSOR                                    Check all that apply.
          400 N Valley Pkwy #1044                                     Contingent
          Lewisville, TX 75067                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $445.99       $445.99
          Fulton County Tax Commissioner                             Check all that apply.
          141 Pryor St SW #1085                                       Contingent
          Atlanta, GA 30303                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $668.09       $668.09
          Galveston County Tax Collector                             Check all that apply.
          722 Moody Avenue (21st Street)                              Contingent
          Galveston, TX 77550                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 39
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                                                                                          135
 Debtor       Ingenu Inc.                                                                                     Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $1,056.80      $1,056.80
          Harris County Tax Collector                                Check all that apply.
          1001 Preston St.                                            Contingent
          Houston, TX 77002                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $16.00    $16.00
          Hendersonville Property Tax                                Check all that apply.
          Henderson County Tax Collector                              Contingent
          200 N. Grove St.                                            Unliquidated
          Hendersonville, NC 28792                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $73.82    $73.82
          Marion County Tax Collector                                Check all that apply.
          503 SE 25th Ave                                             Contingent
          Ocala, FL 34471                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $278.08       $278.08
          Montgomery County                                          Check all that apply.
          Tax Collector                                               Contingent
          400 N. SAN JACINTO                                          Unliquidated
          CONROE, TX 77301-2823                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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                                                                                          135
 Debtor        Ingenu Inc.                                                                                    Case number (if known)
               Name

 2.15       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $210.28        $210.28
            PASADENA ISD                                             Check all that apply.
            TAX ASSESSOR/COLLECTOR                                    Contingent
            2223 Strawberry Rd                                        Unliquidated
            Pasadena, TX 77502                                        Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.16       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $2,241.02         $2,241.02
            Tarrant County Tax Collector                             Check all that apply.
            100 E. Weatherford Street                                 Contingent
            Fort Worth, TX 76196                                      Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,368.58         $1,368.58
            Travis County Tax Office                                 Check all that apply.
            5501 Airport Blvd                                         Contingent
            Austin, TX 78751-1410                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $235.68        $235.68
            Wilson County Tax Office                                 Check all that apply.
            113 Nash St E # 100                                       Contingent
            Wilson, NC 27893                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 39
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                                                                                   135
 Debtor       Ingenu Inc.                                                                             Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,736.68
          Aaron Pullman                                                       Contingent
          14904 Amso St                                                       Unliquidated
          Poway, CA 92064                                                     Disputed
          Date(s) debt was incurred      5/25/2018                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,490.00
          Accruent                                                            Contingent
          11500 Alterra Parkway, Suite 110                                    Unliquidated
          Austin, TX 78758                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,000.00
          Aether Wind Technologies, Inc.                                      Contingent
          306 Tait McKenzie St                                                Unliquidated
          Almonte, Ontario K0A 1A0                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $236.00
          Air802                                                              Contingent
          1981 D Wiesbrook Drive                                              Unliquidated
          Oswego, IL 60543                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $196.34
          ALDINE I.S.D.                                                       Contingent
          2520 W.W. Thorne Blvd.                                              Unliquidated
          Houston, TX 77073                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,999.00
          Allied Business Intelligence, Inc. (ABI)                            Contingent
          69 Hamilton Ave,                                                    Unliquidated
          Oyster Bay, NY 11771                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,775.00
          Altium Inc                                                          Contingent
          1 University Ave                                                    Unliquidated
          South Lobby, Suite 2C                                               Disputed
          Westwood, MA 02090
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Ingenu Inc.                                                                             Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $86,690.35
          Alvaro Gazzolo                                                      Contingent
          International Media Con                                             Unliquidated
          1154 Alfonso Ave                                                    Disputed
          Miami, FL 33146
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $192,307.80
          Alvaro Gazzolo                                                      Contingent
          1154 Alfonso Ave                                                    Unliquidated
          Coral Gables, FL 33146                                              Disputed
          Date(s) debt was incurred 8/2/2019
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $533,928.49
          American Tower Corporation ATC                                      Contingent
          2655 Richmond Ave,                                                  Unliquidated
          Staten Island, NY 10314                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,432.39
          Ana Stjepovic                                                       Contingent
          8064 Hemp Hill Drive                                                Unliquidated
          San Diego, CA 92126                                                 Disputed
          Date(s) debt was incurred      5/25/2018                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,553.75
          Andrew Oliveira                                                     Contingent
          9444 Questa Pointe Dr.                                              Unliquidated
          San Diego, CA 92126                                                 Disputed
          Date(s) debt was incurred 6/8/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $364.07
          APS                                                                 Contingent
          400 North 5th Street                                                Unliquidated
          Phoenix, AZ 85004                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,382.59
          Aramark                                                             Contingent
          600 E Luzerne                                                       Unliquidated
          Phildelphia, PA 19124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $151.20
          Arizona Department of Economic Security                             Contingent
          3406 N 51st Ave                                                     Unliquidated
          Phoenix, AZ 85031                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          Arizona Dept. of Revenue                                            Contingent
          1600 W Monroe St                                                    Unliquidated
          Phoenix, AZ 85007                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,833.50
          AT & T Mobility CC                                                  Contingent
          1025 Lenox Park BLVD NE A                                           Unliquidated
          Brookhaven, GA 30319                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,496.54
          AT&T Mobility                                                       Contingent
          208 S. Akard St.                                                    Unliquidated
          Dallas, TX 75202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,240.82
          Avinash Pawar                                                       Contingent
          9952 Kika Court                                                     Unliquidated
          Apt no. 5222                                                        Disputed
          San Diego, CA 92129
                                                                             Basis for the claim:    Employee Wage Claim
          Date(s) debt was incurred      5/25/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,986.34
          Avison Young Arizona, Ltd                                           Contingent
          2720 East Camelback Road                                            Unliquidated
          Suite 150                                                           Disputed
          Phoenix, AZ 85016
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,400.00
          B&T Group Holdings, Inc                                             Contingent
          1717 S Boulder Suite 300                                            Unliquidated
          Tulsa, OK 74119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,139.71
          Babak Cyrus Razi                                                    Contingent
          345 North Maple Drive                                               Unliquidated
          Beverly Hills, CA 90210                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $39,403.00
          BDO USA, LLP                                                        Contingent
          130 E Randolph St                                                   Unliquidated
          Chicago, IL 60601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          BeneTrac                                                            Contingent
          2385 Northside Drive                                                Unliquidated
          Suite #100                                                          Disputed
          San Diego, CA 92108
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $95.18
          Bernalillo County Treasurer                                         Contingent
          1 Civic Plz NW # C2                                                 Unliquidated
          Albuquerque, NM 87102                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $136,250.54
          BlueStream Professional Services, LLC                               Contingent
          3305 Hwy 60 West                                                    Unliquidated
          Faribault, MN 55021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $31.20
          BLUMBERG LAW GROUP LLP                                              Contingent
          137 N Acacia Ave                                                    Unliquidated
          Solana Beach, CA 92075                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $533.43
          Bureau of the Treasury                                              Contingent
          1500 Pennsylvania Avenue, NW                                        Unliquidated
          Washington, DC 20220                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,750.00
          Business Wire, Inc.                                                 Contingent
          40 East 52nd Street, 14th Floor                                     Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $25.00
          California Secretary of State                                       Contingent
          1500 11th Street                                                    Unliquidated
          Attn: Alex Padilla                                                  Disputed
          Sacramento, CA 95814
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,868.03
          Canon                                                               Contingent
          8000 Mississauga Rd                                                 Unliquidated
          Brampton, ON L6Y 5Z7                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,598.21
          CCH Incorporated                                                    Contingent
          2700 Lake Cook Road                                                 Unliquidated
          Riverwoods, IL 60015                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,773.42
          Chaoming Kang                                                       Contingent
          11650 Kismet Road                                                   Unliquidated
          San Diego, CA 92128                                                 Disputed
          Date(s) debt was incurred      8/3/2018                            Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,098.72
          Cintas Corporation No. 2 Cintas Corp/Cin                            Contingent
          6800 Cintas Boulevard                                               Unliquidated
          Cincinnati, OH 45262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $110.13
          City of Concord Collections                                         Contingent
          35 Cabarrus Ave. W                                                  Unliquidated
          Concord, NC 28025                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $48.66
          City of Garland                                                     Contingent
          200 N. Fifth St.                                                    Unliquidated
          Garland, TX 75040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $196.02
          CITY OF GARLAND                                                     Contingent
          COREY WORSHAM RTA                                                   Unliquidated
          217 N Fifth Street                                                  Disputed
          Garland, TX 75046
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $178.34
          City of Lake Worth                                                  Contingent
          7 North Dixie Highway                                               Unliquidated
          Lake Worth Beach, FL 33460                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $76.84
          City of Mesa                                                        Contingent
          20 E. Main Street                                                   Unliquidated
          Mesa, AZ 85201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $71.00
          City of Oceanside                                                   Contingent
          300 N Coast Hwy                                                     Unliquidated
          Oceanside, CA 92054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $171.56
          City of Rock Hill                                                   Contingent
          155 Johnston Street                                                 Unliquidated
          Rock Hill, SC 29730                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $61.00
          City of San Marcos Business Licensing                               Contingent
          1 Civic Center Dr                                                   Unliquidated
          San Marcos, CA 92069                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          City of Scottsdale                                                  Contingent
          3939 N. Drinkwater Blvd.                                            Unliquidated
          Scottsdale, AZ 85251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          Clarion Events Pte. Ltd.                                            Contingent
          69-79 Fulham High Street                                            Unliquidated
          London, England SW6 3JW                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,534.13
          Colleen Cleary                                                      Contingent
          15950 W. Monte Cristo Ave                                           Unliquidated
          Surprise, AZ 85374                                                  Disputed
          Date(s) debt was incurred 8/22/2019
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $306.63
          Columbus City Treasurer                                             Contingent
          910 Dublin Rd                                                       Unliquidated
          Columbus, OH 43215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,325.00
          Compliance International                                            Contingent
          40 Wall St # 1704                                                   Unliquidated
          New York, NY 10005                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,185.14
          Concierge Cleaning Services                                         Contingent
          Parker Tower Building 20                                            Unliquidated
          104-20 Queens Blvd                                                  Disputed
          Forest Hills, NY 11375
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,119.22
          Conductive Containers, Inc.                                         Contingent
          4500 Quebec Ave N                                                   Unliquidated
          New Hope, MN 55428                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,892.73
          Cooley Godward Kronish                                              Contingent
          55 Hudson Yard                                                      Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,316.64
          Cox Communication San Diego                                         Contingent
          5887 Copley Dr                                                      Unliquidated
          San Diego, CA 92111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,858.48
          COX Communications Phoenix                                          Contingent
          6205-B Peachtree Dunwoody Road NE                                   Unliquidated
          Atlanta, GA 30328                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,015.23
          CPA Global Limited                                                  Contingent
          7800 Shoal Creek Blvd #220w,                                        Unliquidated
          Austin, TX 78757                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $111.05
          CPS Energy / City Public Service Board                              Contingent
          146 Navarro                                                         Unliquidated
          San Antonio, TX 78205                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,975,304.12
          Crown Castle USA Inc.                                               Contingent
          55 Broad St 2nd floor                                               Unliquidated
          New York, NY 10004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.00
          CT Corporation                                                      Contingent
          28 Liberty Street                                                   Unliquidated
          New York City, NY 10005                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,027.46
          Cynthia M Jordan                                                    Contingent
          166 Westland St #2                                                  Unliquidated
          Hartford, CT 06120                                                  Disputed
          Date(s) debt was incurred      11/9/2018                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,871.29
          Dan Werner                                                          Contingent
          5871 Torca Ct                                                       Unliquidated
          San Diego, CA 92124                                                 Disputed
          Date(s) debt was incurred      5/11/2018                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,553.31
          David Carpenter                                                     Contingent
          3127 Via Loma Vista                                                 Unliquidated
          Escondido, CA 92029                                                 Disputed
          Date(s) debt was incurred 5/25/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,429.56
          David W Kish                                                        Contingent
          338 Country Club Dr                                                 Unliquidated
          New Orleans, LA 70124                                               Disputed
          Date(s) debt was incurred 11/9/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $336,050.05
          DDH Enterprise, Inc                                                 Contingent
          2220 Oak Ridge Way                                                  Unliquidated
          Vista, CA 92081                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $269,897.40
          Delaware Secretary of State                                         Contingent
          820 N. French St., 4th Floor                                        Unliquidated
          Wilmington, DE 19801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,310.44
          Dell C/O DELL USA L.P.                                              Contingent
          1 Dell Way                                                          Unliquidated
          Round Rock, TX 78664                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,899.00
          Deloitte Tax LLP                                                    Contingent
          30 Rockefeller Plaza                                                Unliquidated
          New York, NY 10112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,173.25
          Dennis Espey                                                        Contingent
          9569 Paseo Montril                                                  Unliquidated
          San Diego, CA 92129                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $497.44
          Digi Key Corp                                                       Contingent
          701 Brooks Avenue                                                   Unliquidated
          South Thief River Falls, MN 56701                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,000.00
          Digital Talent Agents, LLC dba Influence                            Contingent
          750 N San Vincente Blvd                                             Unliquidated
          Ste 950                                                             Disputed
          West Hollywood, CA 90069
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,108.52
          Dominion Virginia Power                                             Contingent
          120 Tredegar Street 6th Floor                                       Unliquidated
          Richmond, VA 23219                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,024.69
          Doug Avant                                                          Contingent
          4080 Kendall #5                                                     Unliquidated
          San Diego, CA 92109                                                 Disputed
          Date(s) debt was incurred      5/21/2018                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,568.00
          Doug Franke                                                         Contingent
          659 Canyon Drive                                                    Unliquidated
          Solana Beach, CA 92075                                              Disputed
          Date(s) debt was incurred 5/25/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,172.70
          Duke Energy                                                         Contingent
          550 South Tryon Street                                              Unliquidated
          Charlotte, NC 28202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $86.23
          El Paso Electric                                                    Contingent
          100 N Stanton St                                                    Unliquidated
          El Paso, TX 79901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          ElectSolve Technology Solutions & Svcs                              Contingent
          4300 Youree Dr, Bldg. 1                                             Unliquidated
          Shreveport, LA 71105                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,187.83
          Employment Development Department                                   Contingent
          PO Box 826880 MIC 83                                                Unliquidated
          Sacramento, CA 94280-0001                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $395.95
          Entergy Louisiana, LLC                                              Contingent
          425 West Capitol Avenue                                             Unliquidated
          Little Rock, AR 72201                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,588.13
          ESMI, Inc.                                                          Contingent
          6731 Cobra Way                                                      Unliquidated
          San Diego, CA 92121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $115.17
          Fabian Tucker                                                       Contingent
          3947 Coleman Avenue                                                 Unliquidated
          San Diego, CA 92154                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,645.02
          Faciliteq AZ LLC                                                    Contingent
          1255 W Rio Salado Pkwy #111                                         Unliquidated
          Tempe, AZ 85281                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $52.60
          FedEx                                                               Contingent
          942 South Shady Grove Road                                          Unliquidated
          Memphis, TN 38120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,259.85
          First Class Vending, Inc.                                           Contingent
          6875 Suva Street                                                    Unliquidated
          Bell Gardens, CA 90201                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $993,959.13
          Flex                                                                Contingent
          9 W 57th St,                                                        Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,208,400.00
          Flextronics International USA Inc                                   Contingent
          6201 AMERICA CENTER DRIVE                                           Unliquidated
          San Jose, CA 95002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Entered Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $178,150.44
          Foley & Lardner LLP                                                 Contingent
          90 Park Avenue                                                      Unliquidated
          New York, NY 10016-1314                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $746.23
          Fort Bend County Tax Assessor                                       Contingent
          1317 Eugene Heimann Circle                                          Unliquidated
          Richmond, TX 77469-3623                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $164.23
          FPL                                                                 Contingent
          700 Universe Boulevard                                              Unliquidated
          Juno Beach, FL 33408                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,332.89
          Frank Castaneda                                                     Contingent
          4006 Via Serra                                                      Unliquidated
          Oceanside, CA 92057                                                 Disputed
          Date(s) debt was incurred 6/22/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,356.75
          Freeman                                                             Contingent
          444 Madison Ave #12                                                 Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $434.60
          Garland TX School District                                          Contingent
          501 S. Jupiter                                                      Unliquidated
          Garland, TX 75042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $360.67
          Georgia Power                                                       Contingent
          241 Ralph McGill Blvd. BIN 10151                                    Unliquidated
          Atlanta, GA 30308                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,273.11
          GetGo Inc. Subsidiary of LogMeIn Inc.                               Contingent
          10 Exchange Place                                                   Unliquidated
          Jersey City, NJ 07302                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,020.00
          GraphiCode Inc.                                                     Contingent
          1924 Bickford Ave. #201                                             Unliquidated
          Snohomish, WA 98290                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $195.20
          Guadalupe County                                                    Contingent
          211 W. Court Street                                                 Unliquidated
          Seguin, TX 78155                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,609.16
          Guadalupe Tapia                                                     Contingent
          13771 Marshall Lane                                                 Unliquidated
          Tustin, CA 92780                                                    Disputed
          Date(s) debt was incurred      6/8/2018                            Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $728.00
          Haulaway Storage Containers, Inc.                                   Contingent
          11292 Western Avenue                                                Unliquidated
          Stanton, CA 90680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $41.30
          HealthEquity                                                        Contingent
          15 W. Scenic Pointe Drive, Ste. 100                                 Unliquidated
          Draper, UT 84020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $549,315.10
          HiTem, Inc.                                                         Contingent
          7420 Carroll Road                                                   Unliquidated
          San Diego, CA 92121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $199.38
          Humble Independent School District Tax C                            Contingent
          20200 Eastway Village Dr                                            Unliquidated
          Humble, TX 77338                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,040.00
          iDeals Solution Group                                               Contingent
          44 Wall St                                                          Unliquidated
          12th Floor,                                                         Disputed
          New York, NY 10005
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $417.00
          iGOE                                                                Contingent
          PO Box 501480                                                       Unliquidated
          San Diego, CA 92150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,152.18
          Imran Hameed                                                        Contingent
          15885 Paseo Del Sur                                                 Unliquidated
          San Diego, CA 92127                                                 Disputed
          Date(s) debt was incurred      6/8/2018                            Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $291.69
          Indeed, Inc                                                         Contingent
          7501 North Capital of Texas Highway, Bui                            Unliquidated
          Austin, TX 78371                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $536.30
          Indianapolis Power & Light Company                                  Contingent
          2102 N Illinois St                                                  Unliquidated
          Indianapolis, IN 46202                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,052.30
          Innovative Metal Products, Inc.                                     Contingent
          2443 Cades Way                                                      Unliquidated
          Suite # 200                                                         Disputed
          Vista, CA 92081
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,637.38
          Insulated Wire, Inc.                                                Contingent
          960 Sylvan Ave #1000,                                               Unliquidated
          Bayport, NY 11705                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $716.60
          Iron Mountain                                                       Contingent
          1 Federal Street                                                    Unliquidated
          Boston, MA 02110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,086.70
          Jianhong Fang                                                       Contingent
          12636 Sarsaparilla St                                               Unliquidated
          San Diego, CA 92129-3735                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,219.07
          Jianhong Fang                                                       Contingent
          12636 Sarsaparilla Street                                           Unliquidated
          San Diego, CA 92129                                                 Disputed
          Date(s) debt was incurred 6/8/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,817.42
          Jignesh Patel                                                       Contingent
          16088 Caminito De Linda                                             Unliquidated
          San Diego, CA 92128                                                 Disputed
          Date(s) debt was incurred 7/6/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,930.00
          Jordan & Company                                                    Contingent
          399 Park Ave                                                        Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,786.28
          Jose M Roqueni                                                      Contingent
          1308 Stanislaus Drive                                               Unliquidated
          Chula Vista, CA 91913                                               Disputed
          Date(s) debt was incurred 8/2/2019
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,535.19
          Joshua T Builta                                                     Contingent
          6033 East Beck Lane                                                 Unliquidated
          Scottsdale, AZ 85254                                                Disputed
          Date(s) debt was incurred      12/21/2018                          Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Kaiser                                                              Contingent
          1 Kaiser Plz                                                        Unliquidated
          Oakland, CA 94612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $222,548.41
          KBSII Horizon Tech Center, LLC                                      Contingent
          10343 Meanley Dr                                                    Unliquidated
          San Diego, CA 92131                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,772.05
          Krishnakumar, Sreelakshmi                                           Contingent
          10146 Baylee Ln                                                     Unliquidated
          San Diego, CA 92127                                                 Disputed
          Date(s) debt was incurred 9/29/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,663.27
          Kumar, Rahul                                                        Contingent
          3875 Florida St.                                                    Unliquidated
          Unit #2                                                             Disputed
          San Diego, CA 92104
                                                                             Basis for the claim:    Employee Wage Claim
          Date(s) debt was incurred      6/8/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.02
          Kupstas, Robert                                                     Contingent
          Yang & Yamazaki Energy & Environment (Y2                            Unliquidated
          473 Via Ortega, Suite 292B                                          Disputed
          Stanford, CA 94305-4020
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,376.00
          Landsberg Orora                                                     Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Claim
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,100.00
          Lark Engineering, Inc.                                              Contingent
          2000 W Corporate Way                                                Unliquidated
          Anaheim, CA 92801                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,037.16
          Larry Gaddes PCAC, CTA William county Ta                            Contingent
          904 South Main Street                                               Unliquidated
          Georgetown, TX 78626                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,875.00
          Latin America Regulatory Compliance Grou                            Contingent
          5200 SW Meadows Rd                                                  Unliquidated
          Suite 150                                                           Disputed
          Lake Oswego, OR 97035
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,236.06
          Level 3 Communications TW Telecom                                   Contingent
          100 CenturyLink Drive                                               Unliquidated
          Monroe, LA 71203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,929.57
          Liberty Test Equipment, Inc.                                        Contingent
          1640 Lead Hill Blvd., Suite 120,                                    Unliquidated
          Roseville, CA 95661                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,324.28
          Lighthorse Technologies, Inc.                                       Contingent
          9511 Ridgehaven Ct # B                                              Unliquidated
          San Diego, CA 92123                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          Lightwave Broadband, LLC                                            Contingent
          27525 Valley Center Rd.                                             Unliquidated
          P.O. Box 3008                                                       Disputed
          Valley Center, CA 92082
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,738.05
          Lisa D Serrano                                                      Contingent
          12596 Fairbrook Rd                                                  Unliquidated
          San Diego, CA 92131                                                 Disputed
          Date(s) debt was incurred      8/2/2019                            Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,055.00
          Litle & Co                                                          Contingent
          100 WASHINGTON AVE S                                                Unliquidated
          STE 1200                                                            Disputed
          MPLS, MN 55401
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $61,805.61
          LKP Global Law LLP                                                  Contingent
          1901 Avenue of the Stars                                            Unliquidated
          Los Angeles, CA 90067                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $174,876.84
          LogiSense Corporation                                               Contingent
          278 Pinebush Rd #101                                                Unliquidated
          Cambridge, Ontario N1T1Z6                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,297.37
          Loren Hiew                                                          Contingent
          12211 Avenida Consentido                                            Unliquidated
          San Diego, CA 92128                                                 Disputed
          Date(s) debt was incurred 5/25/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,067.73
          Manpower Temp Services                                              Contingent
          99 Park Ave 9th floor,                                              Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $118.48
          Marietta                                                            Contingent
          205 Lawrence Street                                                 Unliquidated
          Marietta, GA 30060                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,890.27
          Mark Malopy                                                         Contingent
          547 Nantucket Ct.                                                   Unliquidated
          Encinitas, CA 92024                                                 Disputed
          Date(s) debt was incurred      8/3/2018                            Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,384.15
          Mark Strawn                                                         Contingent
          8241 Hudson Drive                                                   Unliquidated
          San Diego, CA 92119                                                 Disputed
          Date(s) debt was incurred      8/2/2019                            Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,497.05
          Marychello Bockenhauer                                              Contingent
          2676 B St                                                           Unliquidated
          San Diego, CA 92102                                                 Disputed
          Date(s) debt was incurred 5/11/2019
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $238.65
          Matthew Hughes                                                      Contingent
          3622 Jackdaw St                                                     Unliquidated
          San Diego, CA 92103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,587.28
          Matthew Hughes                                                      Contingent
          3622 Jackdaw St                                                     Unliquidated
          San Diego, CA 92103                                                 Disputed
          Date(s) debt was incurred      5/25/2018                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $63,950.00
          Md7, LLC                                                            Contingent
          10590 W Ocean Air Dr                                                Unliquidated
          #300                                                                Disputed
          San Diego, CA 92130
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $227.35
          Memphis Light, Gas and Water Division                               Contingent
          220 South Main Street                                               Unliquidated
          Memphis, TN 38103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,724.24
          MetLife Small Business Center                                       Contingent
          200 Park Ave                                                        Unliquidated
          New York, NY 10166-0188                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,246.71
          Michael Peralta                                                     Contingent
          11776 Avenida Anacapa                                               Unliquidated
          El Cajon, CA 92019                                                  Disputed
          Date(s) debt was incurred 5/25/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,836.36
          Michelle Koenig                                                     Contingent
          17013 Albert Ave                                                    Unliquidated
          San Diego, CA 92127                                                 Disputed
          Date(s) debt was incurred      5/25/2018                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $96,902.00
          MISSION FEDERAL CREDIT UNION                                        Contingent
          10325 Meanley Drive                                                 Unliquidated
          San Diego, CA 92131                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $676.50
          Mobile Mark, Inc.                                                   Contingent
          1140 W Thorndale Ave                                                Unliquidated
          Itasca, IL 60143                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $26.92
          Mouser Electronics, Inc.                                            Contingent
          1165 Allgood Road, Suite 20                                         Unliquidated
          Marietta, GA 30062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,200.00
          Multek Technologies Limited                                         Contingent
          101 Academy Dr.                                                     Unliquidated
          Irvine, CA 92617                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,450.51
          Mutual of Omaha c/o Sandy Schwennesen                               Contingent
          3300 Mutual of Omaha Plaza                                          Unliquidated
          Omaha, NE 68175                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,001.57
          Nancy J Equihua                                                     Contingent
          13771 Marshall Lane                                                 Unliquidated
          Tustin, CA 92780                                                    Disputed
          Date(s) debt was incurred      3/29/2019                           Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $683.16
          Nashville Electric Service                                          Contingent
          1214 Church St                                                      Unliquidated
          Nashville, TN 37246                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,064.00
          Nemko Canada                                                        Contingent
          303 River Rd                                                        Unliquidated
          Ottawa, Ontario K1V 1H2                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,000.00
          Newport Board Group LLC                                             Contingent
          12 Broad Street                                                     Unliquidated
          Redbank, NJ 07701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,766.61
          Nick Gifford                                                        Contingent
          4624 Mississippi Street                                             Unliquidated
          Unit 2                                                              Disputed
          San Diego, CA 92116
                                                                             Basis for the claim:    Employee Wage Claim
          Date(s) debt was incurred 5/25/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $72,294.00
          Nokia Solutions and Networks US, LLC SAC                            Contingent
          240 Line St                                                         Unliquidated
          Easton, PA 18042                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $72.80
          Northcentral Electric Power Association                             Contingent
          4600 Northcentral Way                                               Unliquidated
          Olive Branch, MS 38654                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $174.03
          NV Energy                                                           Contingent
          6226 W. Sahara Ave.                                                 Unliquidated
          Las Vegas, NV 89146                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,100.00
          Octiv Inc.                                                          Contingent
          54 Monument Circle                                                  Unliquidated
          Ste 200                                                             Disputed
          Indianapolis, IN 46204
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $148.30
          Ohio Power Company dba AEP Ohio                                     Contingent
          1 Riverside Plaza                                                   Unliquidated
          Columbus, OH 43215-2372                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,754.50
          Oracle America, Inc                                                 Contingent
          500 Oracle Parkway                                                  Unliquidated
          Redwood Shores, CA 94065                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $79.45
          Orlando Utilities Commission                                        Contingent
          100 W Anderson St                                                   Unliquidated
          Orlando, FL 32801                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $142,542.74
          OSI Electronics                                                     Contingent
          12533 Chadron Ave                                                   Unliquidated
          Hawthorne, CA 90250                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,250.00
          Palomar Communications                                              Contingent
          2230 Micro Pl                                                       Unliquidated
          Escondido, CA 92029                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,508.52
          Parker Chomerics Parker Hannifin Corpora                            Contingent
          135 Bryant Ave                                                      Unliquidated
          Cranford, NJ 07016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,825.12
          Parker Hannifin Corporation                                         Contingent
          6035 PARKLAND BLVD                                                  Unliquidated
          Cleveland, OH 44124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Default Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $170.89
          Pedernales Electric Cooperative, Inc.                               Contingent
          201 S. Avenue F                                                     Unliquidated
          Johnson City, TX 78636                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,496.04
          Philip Peshin                                                       Contingent
          16539 4S Ranch Parkway                                              Unliquidated
          San Diego, CA 92127                                                 Disputed
          Date(s) debt was incurred 5/25/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $157,814.88
          Phoenix Mecano, Inc.                                                Contingent
                                                                              Unliquidated
          7330 Executive Way                                                  Disputed
          Frederick, MD 21704
                                                                             Basis for the claim:    Judgment by Court
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,591.34
          Phong Tran                                                          Contingent
          4232 46th Street                                                    Unliquidated
          Apt. #4                                                             Disputed
          San Diego, CA 92115
                                                                             Basis for the claim:    Employee Wage Claim
          Date(s) debt was incurred      6/8/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $139.37
          Piedmont Electric Membership Cooperative                            Contingent
          Post Office Drawer 1179                                             Unliquidated
          Hillsborough, NC 27278-1179                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $234.57
          Pitney Bowes                                                        Contingent
          3001 Summer St.                                                     Unliquidated
          Stamford, CT 06926                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $430.00
          Pompano Beach Permit Number 16 8062                                 Contingent
          100 W Atlantic Blvd                                                 Unliquidated
          Pompano Beach, FL 33060                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,800.00
          Praetorian Group. Inc.                                              Contingent
          66-85 73rd Place,                                                   Unliquidated
          2nd Floor,                                                          Disputed
          Middle Village, NY 11379
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,320.12
          Pratik Yadav                                                        Contingent
          9952 Kika Ct                                                        Unliquidated
          Apt 5222                                                            Disputed
          San Diego, CA 92129
                                                                             Basis for the claim:    Employee Wage Claim
          Date(s) debt was incurred      5/25/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $610.68
          PRECISION GRAPHIC SYSTEMS                                           Contingent
          9353 Activity Rd                                                    Unliquidated
          San Diego, CA 92126                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,778.00
          Pricewaterhouse Coopers LLP.                                        Contingent
          90 Park Ave,                                                        Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.71
          Principal Financial Group                                           Contingent
          711 High Street                                                     Unliquidated
          Des Moines, IA 50392                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          Promar Designs, Inc.                                                Contingent
          1106 Second Street,                                                 Unliquidated
          Studio 606                                                          Disputed
          Encinitas, CA 92024
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,187.64
          Qi Zhang                                                            Contingent
          8239 Stage Coach Place                                              Unliquidated
          San Diego, CA 92129                                                 Disputed
          Date(s) debt was incurred 6/8/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,161.13
          Quality Systems Integrated Corporation                              Contingent
          6740 Top Gun Street                                                 Unliquidated
          San Diego, CA 92121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,793.60
          Ramsey Electonics, Inc.                                             Contingent
          590 Fishers Station Dr,                                             Unliquidated
          Victor, NY 14564                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $460.00
          Richardson RFPD                                                     Contingent
          1950 S Batavia Ave #100                                             Unliquidated
          Geneva, IL 60134                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,720.34
          Rick Price                                                          Contingent
          1730 Orchard Wood Rd                                                Unliquidated
          Encinitas, CA 92024                                                 Disputed
          Date(s) debt was incurred 5/11/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $157.47
          Riverside County Treasurer                                          Contingent
          38-686 El Cerrito Rd                                                Unliquidated
          Palm Desert, CA 92211                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,240.45
          Rob Boesel                                                          Contingent
          11229 Wheatland Place                                               Unliquidated
          San Diego, CA 92131                                                 Disputed
          Date(s) debt was incurred 6/8/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $148.73
          Rocky Mountain Power                                                Contingent
          1407 W North Temple                                                 Unliquidated
          Salt Lake City, UT 84116                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,000.00
          RTx Technology Co., Ltd.                                            Contingent
          58-18 Hyunduk-ro Anjung-eup                                         Unliquidated
          Pyeongtaek-si                                                       Disputed
          Gyeonggi-do, Korea 17942-0000
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,875.00
          Ryan, LLC
          Three Galleria Tower                                                Contingent
          13155 Noel Road                                                     Unliquidated
          Suite 100                                                           Disputed
          Dallas, TX 75240-5090
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $384.51
          Salt River Project                                                  Contingent
          1500 N. Mill Ave.                                                   Unliquidated
          Tempe, AZ 85281, AZ 85281                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.00
          San Diego Pension Consultants                                       Contingent
          5628 Copley Dr                                                      Unliquidated
          San Diego, CA 92111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,965.39
          Sandra Phan                                                         Contingent
          807 Crestview Court                                                 Unliquidated
          San Marcos, CA 92078                                                Disputed
          Date(s) debt was incurred 8/2/2019
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $184.96
          Santa Fe ISD                                                        Contingent
          4133 Warpath                                                        Unliquidated
          P O Box 370                                                         Disputed
          Santa Fe, TX 77510
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,006.79
          Saul Beniquez                                                       Contingent
          5654 NW 122nd Ave                                                   Unliquidated
          Coral Springs, FL 33076                                             Disputed
          Date(s) debt was incurred 5/11/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,102,012.38
          SBA Network Services, LLC                                           Contingent
          8051 Congress Ave                                                   Unliquidated
          Boca Raton, FL 33487                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,655.00
          Sematext Group, Inc.                                                Contingent
          540 President St                                                    Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $188.65
          Shelby County Trustee                                               Contingent
          157 Poplar Ave #200                                                 Unliquidated
          Memphis, TN 38103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,785.70
          Sheppard Mullin Richter & Hampton LLP                               Contingent
          30 Rockefeller Plaza                                                Unliquidated
          New York, NY 10112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,682.67
          Signa Digital Solutions                                             Contingent
          8525 Camino Santa Fe suite g                                        Unliquidated
          San Diego, CA 92121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,718.40
          Silicon Valley Bank Mastercard                                      Contingent
          3003 Tasman Dr.                                                     Unliquidated
          Santa Clara, CA 95054
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,145.00
          SkyRiver Communications, Inc. Accounts R                            Contingent
          411 E Clinton Ave                                                   Unliquidated
          Athens, TX 75751-3420                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $216.05
          Srikanth Uppala                                                     Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Claim
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,074.00
          SSAE 16 Professionals, LLP                                          Contingent
          750 3rd Avenue                                                      Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,435.79
          Staples Business Advantage Staples Contr                            Contingent
          125 Mushroom Blvd                                                   Unliquidated
          Rochester, NY 14623                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $374.10
          StarTex Power Constellation Newenergy, I                            Contingent
          100 Constellation Way Ste 500                                       Unliquidated
          Baltimore, MD 21202-6302                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,328.47
          Suelyn Manush Wallace                                               Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Claim
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $53.00
          Sumner County Trustee                                               Contingent
          355 Belvedere Dr N # 107                                            Unliquidated
          Gallatin, TN 37066                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,800.00
          Sunil Agrawal
          230 S.W. Mudd                                                       Contingent
          Mail Code 4703                                                      Unliquidated
          Broadway & 120th street                                             Disputed
          New York, NY 10027
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,041.12
          Talley Inc.                                                         Contingent
          160 Jony Dr                                                         Unliquidated
          Carlstadt, NJ 07072                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $81.00
          TECO                                                                Contingent
          1331 Pennsylvania Avenue NW UNIT 510                                Unliquidated
          Washington, DC 20004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,833.03
          Ted Myers                                                           Contingent
          346 Bandera Street                                                  Unliquidated
          La Jolla, CA 92037
                                                                              Disputed
          Date(s) debt was incurred      5/11/2018
                                                                             Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,084.84
          Tessco Technologies, Inc.                                           Contingent
          Global Logistics Center                                             Unliquidated
          11126 McCormick Road                                                Disputed
          Hunt Valley, MD 21031-1494
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $582.38
          The City of East Point Georgia                                      Contingent
          East Point City Hall                                                Unliquidated
          2757 E Point Street                                                 Disputed
          East Point, GA 30344
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,750.00
          The ProSource Group, Inc.                                           Contingent
          27467 St. Andrews Lane                                              Unliquidated
          Valley Center, CA 92082                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 35 of 39
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
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 Debtor       Ingenu Inc.                                                                             Case number (if known)
              Name

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,711.30
          Thoughtclan Technologies Pvt. Ltd.                                  Contingent
          111-113 High St Evesham                                             Unliquidated
          Worcestershire, UK WR11 4XP                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,875.00
          Timesys Corporation                                                 Contingent
          1905 Boulevard of the Allies                                        Unliquidated
          Pittsburgh, PA 15219                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $136.99
          TN Metropolitan Trustee                                             Contingent
          700 2nd Ave S                                                       Unliquidated
          Nashville, TN 37210                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $99,427.32
          Tower Resource Management, LLC                                      Contingent
          16 Chestnut Street                                                  Unliquidated
          Ste 400                                                             Disputed
          Foxboro, MA 02035-1462
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $57.80
          Town of Landis                                                      Contingent
          P.O. Box 8165                                                       Unliquidated
          312 S. Main Street                                                  Disputed
          Landis, NC 28088
                                                                             Basis for the claim:    Trade Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $151.93
          Tri County Electric Cooperative, Inc.                               Contingent
          600 NW Parkway                                                      Unliquidated
          Azle, TX 76020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $101,536.88
          TTM Technologies                                                    Contingent
          1665 Scenic Avenue                                                  Unliquidated
          Suite 250                                                           Disputed
          Costa Mesa, CA 92626
                                                                             Basis for the claim:    Default Judgment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 36 of 39
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 Debtor       Ingenu Inc.                                                                             Case number (if known)
              Name

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          Underwriters Laboratories Inc.                                      Contingent
          1285 Walt Whitman Rd                                                Unliquidated
          Melville, NY 11747                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,831.69
          United Health Care Wells Fargo Lockbox,                             Contingent
          275 7th Avenue                                                      Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,352.71
          United States Treasury                                              Contingent
          1500 Pennsylvania Ave NW                                            Unliquidated
          Washington, DC 20220                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $347.00
          Vectus                                                              Contingent
          2424 Garden of the Gods Road                                        Unliquidated
          Colorado Springs, CO 80919                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,929.62
          Verizon Wireless                                                    Contingent
          57 W 57th St                                                        Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $51,344.93
          Vicky Taylor                                                        Contingent
          6141 Dirac Street                                                   Unliquidated
          San Diego, CA 92122                                                 Disputed
          Date(s) debt was incurred      8/2/2019                            Basis for the claim:    Employee Wage Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $218,400.00
          WellAware Holdings Inc.                                             Contingent
          3424 Paesanos Pkwy #200                                             Unliquidated
          San Antonio, TX 78231
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 37 of 39
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 Debtor       Ingenu Inc.                                                                             Case number (if known)
              Name

 3.225     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $73,231.42
           West End Hotel LLC C/O Marshall Fried                              Contingent
           2555 West End Ave                                                  Unliquidated
           Nashville, TN 37203                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,475.00
           Westpak, Inc.                                                      Contingent
           83 Great Oaks Blvd                                                 Unliquidated
           San Jose, CA 95119                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $45.00
           William County Trustee
           1320 West Main Street                                              Contingent
           Suite 203                                                          Unliquidated
           Attn: Karen Paris - Trustee                                        Disputed
           Franklin, TN 37064
                                                                             Basis for the claim:    Trade Claim
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.228     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $75,526.71
           William Schmidt                                                    Contingent
           1749 NE Miami Ct                                                   Unliquidated
           Unit 211                                                           Disputed
           Miami, FL 33132
                                                                             Basis for the claim:    Employee Wage Claim
           Date(s) debt was incurred     8/2/2019
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.229     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $79,943.50
           Witz Communications Inc.                                           Contingent
           555 Fayetteville St #300                                           Unliquidated
           Raleigh, NC 27601                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $431.38
           Xcel Energy Public Service Company of Co                           Contingent
           800 Nicollet Mall                                                  Unliquidated
           Minneapolis, MN 55402                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $109.86
           York Electric Cooperative, Inc.                                    Contingent
           1385 Alexander Love Hwy                                            Unliquidated
           York, SC 29745                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 38 of 39
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                                                                                   135
 Debtor       Ingenu Inc.                                                                         Case number (if known)
              Name


   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       Phoenix Mecano - Rose Bopla
           7330 Executive Way                                                                    Line      3.165
           Frederick, MD 21704
                                                                                                       Not listed. Explain

 4.2       TTM Technologies aka Viasystem
           4 Old Monson Rd                                                                       Line      3.217
           Stafford Springs, CT 06076
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.        $                    12,008.75
 5b. Total claims from Part 2                                                                        5b.    +   $                10,854,870.33

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.        $                   10,866,879.08




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 39 of 39
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                                                                               135
 Fill in this information to identify the case:

 Debtor name         Ingenu Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules.      There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal               Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Storage Warehouse
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Month to Month
                                                                                       CEVA Freight LLC
             List the contract number of any                                           15350 Vickery Drive
                   government contract                                                 Houston, TX 77032


 2.2.        State what the contract or                   Revenue Share
             lease is for and the nature of               Agreement - Debtor's
             the debtor's interest                        Interest - Royalties -
                                                          Contract expires
                                                          November 7, 2024
                  State the term remaining                4 Years
                                                                                       Rain Cloud Water Mgmt LLC
             List the contract number of any                                           114 Mallard Cove
                   government contract                                                 Bay, AR 72411


 2.3.        State what the contract or                   License agreement -
             lease is for and the nature of               Debtor's Interest -
             the debtor's interest                        Royalties - Contract
                                                          expires January 8, 2039
                  State the term remaining                19 years                     RPMA International, Corp.
                                                                                       PH Prime Tower, Of 12D
             List the contract number of any                                           Costa del Este
                   government contract                                                 Panama City, Panama


 2.4.        State what the contract or                   Data Center
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Month to Month
                                                                                       Scalematrix
             List the contract number of any                                           5775 Kearny Villa Road
                   government contract                                                 San Diego, CA 92123




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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                                                                                  135
 Debtor 1 Ingenu Inc.                                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Storage Facility
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Month to Month
                                                                                       Storage West
             List the contract number of any                                           14254 Poway Road
                   government contract                                                 Poway, CA 92064


 2.6.        State what the contract or                   Data Center
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Month to Month
                                                                                       Streamline
             List the contract number of any                                           22722 29th Drive SE, Suite 100
                   government contract                                                 Bothell, WA 98021


 2.7.        State what the contract or                   Revenue Share
             lease is for and the nature of               Agreement - Debtor's
             the debtor's interest                        Interest - Royalties -
                                                          Contract expires April
                                                          9, 2025
                  State the term remaining                5 years
                                                                                       Upland
             List the contract number of any                                           1660 Highway 100 South, Ste 38
                   government contract                                                 Minneapolis, MN 55416




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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             Case 20-03779-LT11                          Filed 07/27/20      Entered 07/27/20 12:30:08              Doc 1       Pg. 80 of
                                                                              135
 Fill in this information to identify the case:

 Debtor name         Ingenu Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Ingenu Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $12,000.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2019 to 12/31/2019                                                                      Awaiting preparation
                                                                                                   Other of tax returns


       For year before that:                                                                       Operating a business                                  Unknown
       From 1/01/2018 to 12/31/2018                                                                      Awaiting preparation
                                                                                                   Other of tax returns

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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                                                                                    135
 Debtor       Ingenu Inc.                                                                               Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Flextronics International USA                     Civil - Post               San Diego Superior Court                      Pending
               Inc. v Ingenu, Inc.                               Judgment -                 330 W Broadway                                On appeal
               37-2017-00050006-CU-MC-CT                         Judgment Entered           San Diego, CA 92101                           Concluded
               L                                                 01/13/2020

       7.2.    West End Hotel, LLC v.                            Sister State               San Diego Superior Court                      Pending
               Ingenu Inc.                                       Judgment                   330 West Broadway                             On appeal
               37-2020-00010664-CU-EN-CTL                                                   San Diego, CA 92101                           Concluded

       7.3.    TOWER RESOURCE                                    Breach of                  San Diego Superior Court                      Pending
               MANAGEMENT LLC vs                                 Contract/Warranty          330 West Broadway                             On appeal
               INGENU INC                                                                   San Diego, CA 92101                           Concluded
               37-2019-00051702-CU-BC-CTL

       7.4.    Simpson vs INGENU Inc                             Enforcement                San Diego Superior Court                      Pending
               37-2019-00015715-CU-EN-CTL                                                   330 West Broadway                             On appeal
                                                                                            San Diego, CA 92101                           Concluded

       7.5.    Hornung vs INGENU Inc                             Enforcement                San Diego Superior Court                      Pending
               37-2019-00013150-CL-EN-CTL                                                   330 West Broadway                             On appeal
                                                                                            San Diego, CA 92101                           Concluded

       7.6.    Castaneda vs INGENU Inc                           Enforcement                San Diego Superior Court                      Pending
               37-2019-00011744-CL-EN-CTL                                                   330 West Broadway                             On appeal
                                                                                            San Diego, CA 92101                           Concluded




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 Debtor       Ingenu Inc.                                                                               Case number (if known)



               Case title                                        Nature of case            Court or agency's name and             Status of case
               Case number                                                                 address
       7.7.    PARKER HANNIFIN                                   Rule 3.740                San Diego Superior Court                  Pending
               CORPORATION VS. INGENU                            Collections               330 West Broadway                         On appeal
               INC                                                                         San Diego, CA 92101                       Concluded
               37-2018-00021610-CL-CL-CTL

       7.8.    SERRANO VS INGENU INC                             Enforcement               San Diego Superior Court                  Pending
               37-2019-00063377-CU-EN-CTL                                                  330 West Broadway                         On appeal
                                                                                           San Diego, CA 92101                       Concluded

       7.9.    HAMEED VS INGENU INC                              Enforcement               San Diego Superior Court                  Pending
               37-2019-00040716-CU-EN-CTL                                                  330 W Broadway                            On appeal
                                                                                           San Diego, CA 92101                       Concluded

       7.10 Snezana Stjepovic vs. Ingenu                         Enforcement               San Diego Superior Court                  Pending
       .    Inc                                                                            330 West Broadway                         On appeal
               37-2018-00064729-CU-EN-CTL                                                  San Diego, CA 92101                       Concluded

       7.11 Marychello Bockenhauer vs                            Contract - Other          San Diego Superior Court                  Pending
       .    Ingenu Inc                                                                     330 West Broadway                         On appeal
               37-2018-00047936-CU-CO-CTL                                                  San Diego, CA 92101                       Concluded

       7.12 TTM Technologies Inc vs.                             Enforcement               San Diego Superior Court                  Pending
       .    Ingenu Inc                                                                     330 West Broadway                         On appeal
               37-2018-00047698-CU-EN-CTL                                                  San Diego, CA 92101                       Concluded

       7.13 SBA Network Services LLC                             Breach of                 San Diego Superior Court                  Pending
       .    vs Ingenu Inc                                        Contract/Warranty         330 W Broadway                            On appeal
               37-2018-00005713-CU-BC-CTL                                                  San Diego, CA 92101                       Concluded

       7.14 Mission Federal Credit Union                         Unlawful Detainer         San Diego Superior Court                  Pending
       .    vs Ingenu Inc                                        - Commercial              330 W Broadway                            On appeal
               37-2018-00004709-CU-UD-CTL                                                  San Diego, CA 92101                       Concluded

       7.15 Phoenix Mecano Inc vs                                Other Collections         San Diego Superior Court                  Pending
       .    Ingenu Inc                                                                     330 West Broadway                         On appeal
               37-2018-00000143-CU-CL-CTL                                                  San Diego, CA 92101                       Concluded

       7.16 Bluestream Professional                              Breach of                 San Diego Superior Court                  Pending
       .    Services LLC vs Ingenu Inc                           Contract                  330 West Broadway                         On appeal
               37-2017-00042296-CU-BC-CTL                                                  San Diego, CA 92101                       Concluded

       7.17 Witz Communications Inc vs                           Breach of                 San Diego Superior Court                  Pending
       .    Ingenu Inc                                           Contract/Warranty         330 West Broadway                         On appeal
               37-2017-00041272-CU-BC-CTL                                                  San Diego, CA 92101                       Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None


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                Recipient's name and address                     Description of the gifts or contributions                  Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Sullivan Hill Rez & Engel,                                                                                    06.18.20
                 APLC                                                                                                          07.02.20
                 600 B Street                                                                                                  07.06.20
                 Suite 1700                                                                                                    07.23.20
                 San Diego, CA 92101                                 Attorney Fees and Retainer on Deposit                     07.27.20                 $121,754

                 Email or website address
                 hawkins@sullivanhill.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers         Total amount or
                                                                                                                         were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer        Total amount or
                Address                                          payments received or debts paid in exchange                was made                      value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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 Debtor        Ingenu Inc.                                                                              Case number (if known)




           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     10301 Meanley Drive                                                                                       From February 2016 - to 2018
                 San Diego, CA 92131

       14.2.     7310 Miramar Road, Suite 400                                                                              from March 2019 to May 2019
                 San Diego, CA 92126

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Ingenu Retirement Savings Plan                                                             EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


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          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Ceva Freight LLC                                              Babak Razi                           Access points and computer              No
       15350 Vickery Drive                                           Alvaro Gazzolo                       equipment.                              Yes
       Houston, TX 77032

       Storage West                                                  Babak Razi                           Office furniture, fixtures and          No
       14254 Poway Road                                              Alvaro Gazzolo                       equipment.                              Yes
       Units A103, A104 and C107
       Poway, CA 92064

       Scalematrix                                                   Babak Razi                           Data Center - Corporate                 No
       5775 Kearny Villa Road                                        Alvaro Gazzolo                       records, source code,                   Yes
       San Diego, CA 92123                                                                                intellectual property, etc.

       Streamline                                                    Babak Razi                           Data Center - Operating                 No
       22722 29th Drive SE, Suite 100                                Alvaro Gazzolo                       servers (Data Center)                   Yes
       Bothell, WA 98021



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an

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                                                                                    135
 Debtor      Ingenu Inc.                                                                                Case number (if known)



    environmental law?

             No.
             Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

             No.
             Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

            None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    PT Ingenu IoT Indonesia                          Same.                                            EIN:         AHU0002493.AH.01.01.TAHUN
             Soulh Jakarta                                                                                                  2020
                                                                                                               From-To
                                                                                                                            January 2020 - Current


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Steve Peterson                                                                                                             Resigned in 2018
                    2416 W. Roy Rogers Road
                    Phoenix, AZ 85085
       26a.2.       Mitchell Sorkin                                                                                                            April 2020 - Current
                    Raiche Ende Malter & Co., LLP
                    1375 Broadway, 15th Floor
                    New York, NY 10018
       26a.3.       Babak Razi                                                                                                                 July 2017 - July
                    345 N. Maple Drive., Ste. 277                                                                                              2020
                    San Diego, CA 92101
       26a.4.       Vicky Taylor                                                                                                               Unknown
                    6141 Dirac Street
                    San Diego, CA 92122
       26a.5.       Sandra Phan                                                                                                                Unknown
                    807 Crestview Court
                    San Marcos, CA 92078
       26a.6.       Colleen Cleary                                                                                                             Unknown
                    15950 W. Monte Cristo Ave
                    Surprise, AZ 85374

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.
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 Debtor      Ingenu Inc.                                                                                Case number (if known)




                None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Raiche Ende Malter & Co. LLP                                                                                         April 2020 - Current
                    Mitchell Sorkin
                    1375 Broadway, 15th Floor
                    New York, NY 10018

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Kelli Cleary
                    15950 W. Monte Cristo Ave.
                    Surprise, AZ 85374
       26c.2.       Babak Razi
                    324 N. Maple Drive, Ste 277
                    San Diego, CA 92101
       26c.3.       Steve Peterson
                    2416 W. Roy Rogers Road
                    Phoenix, AZ 85085
       26c.4.       Vicky Taylor
                    6141 Dirac Street
                    San Diego, CA 92122
       26c.5.       Raiche Ende Malter & Co. LLP
                    Mitchell Sorkin
                    1375 Broadway, 15th Floor
                    New York, NY 10018

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Alvaro Gazzolo                                 1154 Alfonso Ave                                    Director and Chief Executive          0%
                                                      Coral Gables, FL 33146                              Officer



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


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 Debtor      Ingenu Inc.                                                                                Case number (if known)




            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Babak Cyrus Razi                               345 North Maple Drive                               Interim CEO Director             July 2017 - July
                                                      Beverly Hills, CA 90210                             Controls GP of LPs               2020
                                                                                                          holding preferred
                                                                                                          equity and secured
                                                                                                          debt

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 27, 2020




                                                                        Alvaro Gazzolo
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re      Ingenu Inc.                                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 See attached.



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date July 27, 2020                                                           Signature /s/ Alvaro Gazzolo
                                                                                            Alvaro Gazzolo

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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IV.IngenuInc.ͲEquitySecurityHolders
SectionB



                                                                                  AllStock                                                                Total#ofShares
Date        Owner                                                                                                Series    StockCert     Shares               107,039,565
3/13/2008   JoaquinFernandezͲSilva                                                                               Common            CͲ1      2,500,000
3/13/2008   RobertW.Boesel                                                                                      Common            CͲ2      2,500,000    CͲ        Common
3/13/2008   TheodoreMyers                                                                                        Common            CͲ3      2,500,000    PA        SeriesA
4/12/2010   VijayUjjain                                                                                          Common            CͲ4         18,333    PB        SeriesB
4/19/2010   StevenFriedman                                                                                       Common            CͲ5          5,000    PC        SeriesC
                                                                                                                                                                                           Case 20-03779-LT11




7/20/2011   FredC.Leland                                                                                        Common            CͲ6         19,170    PD        SeriesD
1/14/2012   JohnBryson                                                                                           Common            CͲ7         85,988
1/14/2012   LouiseBryson,trusteeoftheBryson2011IrrevocableTrustFBOJaneTempletonBryson:35Ͳ6939531     Common            CͲ8         21,497
1/14/2012   LouiseBryson,trusteeoftheBryson2011IrrevocableTrustFBOJuliaEastonBryson:35Ͳ6939532       Common            CͲ9         21,497
1/14/2012   LouiseBryson,trusteeoftheBryson2011IrrevocableTrustFBOKathleenLouiseBryson:35Ͳ6939533    Common           CͲ10         21,497
1/14/2012   LouiseBryson,trusteeoftheBryson2011IrrevocableTrustFBORuthRandallBryson:35Ͳ6939534       Common           CͲ11         21,497
1/14/2012   JohnBryson                                                                                           Common            CͲ7        (85,988)
1/28/2012   JeffGray                                                                                             Common           CͲ12        117,118
                                                                                                                                                                                           Filed 07/27/20




2/8/2012    TienNguyen                                                                                           Common           CͲ13         87,719
4/5/2012    DavidE.Weiss                                                                                        Common           CͲ14          8,706
5/22/2012   JonS.Gilbert                                                                                        Common           CͲ15              0
5/22/2012   BlueSkyNetwork,LLC                                                                                 Common           CͲ16         21,875
                                                                                                                                                                                135




5/25/2012   ScottKosch                                                                                           Common           CͲ17         10,938
5/25/2012   DavidJ.Balicki                                                                                      Common           CͲ18          5,000
5/8/2012    GeraldAnderson                                                                                       Common           CͲ19         20,000
5/31/2012   DixonChanDick                                                                                       Common           CͲ20         10,000
7/2/2012    EckartHelmutVoskamp                                                                                 Common           CͲ21        203,750
7/2/2012    EckartHelmutVoskamp                                                                                 Common           CͲ22          8,750
8/31/2012   LeungHonYew                                                                                         Common           CͲ23         34,375
1/2/2013    JonasN.Olsen                                                                                        Common           CͲ24         50,000
2/17/2013   PrasadNarayana                                                                                       Common           CͲ25          5,625
2/17/2013   PrasadNarayana                                                                                       Common           CͲ26          7,083
2/20/2013   MichaelG.Uppenkamp                                                                                  Common           CͲ27          1,062
                                                                                                                                                                               Entered 07/27/20 12:30:08




2/20/2013   MichaelG.Uppenkamp                                                                                  Common           CͲ28         26,250
3/25/2013   MukundaSaddi                                                                                         Common           CͲ29          9,375
3/25/2013   MukundaSaddi                                                                                         Common           CͲ30         35,625
3/25/2013   MukundaSaddi                                                                                         Common           CͲ31         90,000
                                                                                                                                                                                           Doc 1




3/29/2013   SouravRajDey                                                                                        Common           CͲ32          5,937
3/29/2013   SouravRajDey                                                                                        Common           CͲ33          9,166
3/29/2013   SouravRajDey                                                                                        Common           CͲ34         14,583
4/8/2013    RahulTikia                                                                                           Common           CͲ35          1,500
5/6/2013    AmyMcGinnis                                                                                          Common           CͲ36         13,125
8/22/2013   VibhorJulka                                                                                          Common           CͲ37         22,604
                                                                                                                                                                                           Pg. 92 of




8/27/2013   JosephPapa                                                                                           Common           CͲ38          7,142
9/6/2013    ConnorPoske                                                                                          Common           CͲ39          7,646
                                                    AllStock                                 Total#ofShares
10/3/2013    JoshalDaftari                                     Common   CͲ40        3,333
12/16/2013   TongLiu                                           Common   CͲ41        5,468
1/17/2014    ShawnReuland                                      Common   CͲ42        8,958
1/17/2014    ShawnReuland                                      Common   CͲ43        4,687
5/18/2014    SuzanneLueder                                     Common   CͲ44        3,958
5/18/2014    SuzanneLueder                                     Common   CͲ45        2,501
7/10/2014    VenVestCapitalI,L.P.                            Common   CͲ46       50,000
7/10/2014    VenVestCapitalI,L.P.                            Common   CͲ47      250,000
7/10/2014    JoaquinFernandezͲSilva                            Common   CͲ48    2,200,000
7/10/2014    JoaquinFernandezͲSilva                            Common    CͲ1   (2,500,000)
8/6/2014     ToddParker                                        Common   CͲ49       60,000
                                                                                                                              Case 20-03779-LT11




8/6/2014     ToddParker                                        Common   CͲ50       18,750
8/6/2014     ToddParker                                        Common   CͲ51        7,708
8/6/2014     ToddParker                                        Common   CͲ52       11,458
10/7/2014    RajashekharReddyThootkuri                        Common   CͲ53       11,562
10/7/2014    RajashekharReddyThootkuri                        Common   CͲ54        2,500
12/17/2014   MatthewJ.Schnaider                               Common   CͲ55       12,000
11/15/2014   RussellD.Hofer                                   Common   CͲ56        5,833
1/7/2015     TuanNguyen                                        Common   CͲ57       25,000
                                                                                                                              Filed 07/27/20




1/23/2015    MichaelHuovila                                    Common   CͲ58       30,000
1/23/2015    MichaelHuovila                                    Common   CͲ59        5,625
10/22/2015   TaroTakahashi                                     Common   CͲ60        8,125
11/10/2015   EricAngell                                        Common   CͲ61        3,854
                                                                                                                   135




11/10/2015   EricAngell                                        Common   CͲ62        6,146
4/19/2016    BrianKennedy                                      Common   CͲ63      175,000
4/14/2016    MatthewJ.Schnaider                               Common   CͲ64       23,000
4/27/2016    DougRasor                                         Common   CͲ65       75,000
4/27/2016    DougRasor                                         Common   CͲ66       75,000
4/27/2016    DougRasor                                         Common   CͲ67      120,000
4/27/2016    DougRasor                                         Common   CͲ68      470,451
4/15/2016    FarooqAnjum                                       Common   CͲ69       53,750
5/2/2016     KevinHell                                         Common   CͲ70      200,000
5/6/2016     MarkJackson                                       Common   CͲ71       20,625
5/6/2016     DonaldTelage                                      Common   CͲ72      283,488
                                                                                                                  Entered 07/27/20 12:30:08




5/6/2016     DonaldTelage                                      Common   CͲ73      219,298
5/6/2016     DonaldTelage                                      Common   CͲ74      100,000
5/6/2016     DonaldTelage                                      Common   CͲ75      125,000
5/6/2016     DonaldTelage                                      Common   CͲ76      627,270
                                                                                                                              Doc 1




5/27/2016    TheJacksonFamilyTrust,DTD5/5/94               Common   CͲ77       20,625
5/27/2016    MarkJackson                                       Common   CͲ71      (20,625)
6/8/2016     AnduinCapitalManagement,LLC                     Common   CͲ78      100,000
6/8/2016     AnduinCapitalManagement,LLC                     Common   CͲ79        1,935
6/8/2016     AnduinI,LP                                       Common   CͲ80      100,000
6/8/2016     AnduinCapitalManagement,LLC                     Common   CͲ78     (100,000)
                                                                                                                              Pg. 93 of




6/8/2016     AnduinI,LP                                       Common   CͲ81        1,935
6/8/2016     AnduinCapitalManagement,LLC                     Common   CͲ79       (1,935)
                                                                                    AllStock                                   Total#ofShares
4/25/2016    DavidE.Weiss                                                                      Common    CͲ82        8,706
4/25/2016    DavidE.Weiss                                                                      Common    CͲ14       (8,706)
6/1/2016     BradfordS.Wallace                                                                 Common    CͲ83            0
6/1/2016     BradfordS.Wallace                                                                 Common    CͲ84            0
6/1/2016     BradfordS.Wallace&WendyS.Wallace,JointTenantswithRightsofSurvivorship   Common    CͲ85      102,500
6/1/2016     BradfordS.Wallace                                                                 Common    CͲ83            0
6/1/2016     BradfordS.Wallace&WendyS.Wallace,JointTenantswithRightsofSurvivorship   Common    CͲ86       21,667
6/1/2016     BradfordS.Wallace                                                                 Common    CͲ84            0
6/7/2016     KevinHell                                                                          Common    CͲ87    2,775,149
6/7/2016     KevinHell                                                                          Common    CͲ88      306,777
6/7/2016     KevinHell                                                                          Common    CͲ89       59,797
                                                                                                                                                                Case 20-03779-LT11




6/10/2016    ToddA.Parker                                                                      Common    CͲ90       37,500
7/25/2016    DonaldTelage                                                                       Common    CͲ91    1,750,000
7/25/2016    KevinHell                                                                          Common    CͲ88     (306,777)
7/25/2016    KevinHell                                                                          Common    CͲ89      (59,797)
7/25/2016    KevinHell                                                                          Common    CͲ87   (1,383,426)
7/25/2016    KevinHell                                                                          Common    CͲ92    1,391,723
7/25/2016    KevinHell                                                                          Common    CͲ87   (1,391,723)
9/10/2016    JamesSong                                                                          Common    CͲ93       10,000
                                                                                                                                                                Filed 07/27/20




10/6/2016    GaryWang                                                                           Common    CͲ94        4,531
10/17/2016   AnujothiJamunaDinakaran                                                           Common    CͲ95        5,417
10/18/2016   MarkJackson                                                                        Common    CͲ96        6,875
10/26/2016   TheJacksonFamilyTrust,DTD5/5/94                                                Common    CͲ97        6,875
                                                                                                                                                     135




10/26/2016   MarkJackson                                                                        Common    CͲ96       (6,875)
10/28/2016   Onstead                                                                             Common    CͲ98      174,126
11/15/2016   MaryNielsen                                                                        Common    CͲ99       25,000
11/15/2016   MaryNielsen                                                                        Common   CͲ100       15,000
11/15/2016   MaryNielsen                                                                        Common   CͲ101       32,292
11/10/2016   TimO'Leary                                                                         Common   CͲ102        9,375
11/28/2016   OanhChu                                                                            Common   CͲ103        3,125
11/28/2016   VarunSood                                                                          Common   CͲ104        5,833
12/1/2016    MatthewJ.Schnaider                                                                Common   CͲ105        8,250
12/2/2016    KristopherSiman                                                                    Common   CͲ106        2,812
12/9/2016    AvinashJain                                                                        Common   CͲ107       25,000
                                                                                                                                                    Entered 07/27/20 12:30:08




12/9/2016    AvinashJain                                                                        Common   CͲ108       15,000
12/9/2016    AvinashJain                                                                        Common   CͲ109       19,375
12/15/2016   BrianKennedy                                                                       Common   CͲ110       35,000
1/13/2017    JohnC.Horn                                                                        Common   CͲ116    3,000,000
                                                                                                                                                                Doc 1




1/23/2017    AlainNguyen                                                                        Common   CͲ111        4,271
1/24/2017    VenessaSierra                                                                      Common   CͲ115        2,833
2/3/2017     RogerL.Hagen                                                                      Common   CͲ112       17,500
2/3/2017     RogerL.Hagen                                                                      Common   CͲ113        7,500
2/3/2017     RogerL.Hagen                                                                      Common   CͲ114       10,938
3/15/2017    RobertL.Hines,Jr.                                                               Common   CͲ117      250,000
                                                                                                                                                                Pg. 94 of




7/2/2012     EckartHelmutVoskamp                                                               Common    CͲ21     (203,750)
7/2/2012     EckartHelmutVoskamp                                                               Common    CͲ22       (8,750)
                                                                               AllStock                                                              Total#ofShares
6/7/2017    WilliVoelker                                                                                                Common     CͲ118   212,500




1/22/2009   Donald&SusanTelage,asJointTenants                                                                      SeriesA    PAͲ1   450,285
1/22/2009   SusanTelage,TrusteeofDonaldN.TelageTrustF/B/ONicoleM.Telage                                      SeriesA    PAͲ2   137,423
1/22/2009   RobertJ.Morris                                                                                             SeriesA    PAͲ3   140,346
1/22/2009   MichaelA.Willner                                                                                           SeriesA    PAͲ4   359,644
1/22/2009   AFABLLC                                                                                                     SeriesA    PAͲ5   738,120
1/22/2009   AFABIILLC                                                                                                  SeriesA    PAͲ6   605,263
1/22/2009   FredLeland,TrusteeofFCLeland@NFamilyTrust2000                                                     SeriesA    PAͲ7    93,564
                                                                                                                                                                                      Case 20-03779-LT11




1/22/2009   AlarconInvestments,LLC                                                                                     SeriesA    PAͲ8   176,020
1/22/2009   ArthurS.Myers                                                                                              SeriesA    PAͲ9   134,501
1/22/2009   CarlMyers                                                                                                   SeriesA   PAͲ10    90,641
1/22/2009   LarryK.Nicholson                                                                                           SeriesA   PAͲ11    56,138
1/22/2009   ApolloInteractive,Inc.                                                                                     SeriesA   PAͲ12    93,564
1/22/2009   DavidBohline                                                                                                SeriesA   PAͲ13    90,641
1/22/2009   RichardandKellyBalue                                                                                      SeriesA   PAͲ14    46,782
1/22/2009   AnneM.Burdsall                                                                                             SeriesA   PAͲ15    92,295
                                                                                                                                                                                      Filed 07/27/20




1/22/2009   JeanͲPierreandMichelleLoMonaco                                                                            SeriesA   PAͲ16    46,147
1/22/2009   JBJKInvestments,LP                                                                                         SeriesA   PAͲ17   360,028
1/22/2009   BlueSkyNetwork,LLC                                                                                        SeriesA   PAͲ18    90,007
1/22/2009   UplandConsulting,Inc.                                                                                      SeriesA   PAͲ19    92,295
                                                                                                                                                                           135




1/22/2009   JohnThompson,TrusteeofJohn&ConcettaThompsonFamilyTrustDatedJuly10,2000andanyamendmentsther   SeriesA   PAͲ20    46,147
1/22/2009   DavidScottKosch                                                                                            SeriesA   PAͲ21    46,147
1/22/2009   DennisBrady                                                                                                 SeriesA   PAͲ22    46,147
1/22/2009   AllisonWeiss                                                                                                SeriesA   PAͲ23    46,147
1/22/2009   GreercoInvestmentsLLC                                                                                      SeriesA   PAͲ24    69,221
1/22/2009   ArchimedesCapitalLLC                                                                                       SeriesA   PAͲ25    45,003
1/22/2009   MichaelConsalvi                                                                                             SeriesA   PAͲ26    90,007
1/22/2009   GarthandJudyStroble                                                                                       SeriesA   PAͲ27    54,154
1/22/2009   3SInvestments,LLC                                                                                          SeriesA   PAͲ28    45,128
1/22/2009   WillieH.Voelker                                                                                            SeriesA   PAͲ29   268,233
1/22/2009   DannyAshcraft,TrusteeofAshcraftRevocableTrust,dated11/22/1995                                        SeriesA   PAͲ30   180,514
                                                                                                                                                                          Entered 07/27/20 12:30:08




1/22/2009   JohnG.ForesterandJulieA.Forester,CoͲTrusteesofForesterFamilyTrustdatedMay7,1999               SeriesA   PAͲ31    90,257
1/22/2009   JohnG.Forester,TrusteeofSterlingTrustCo.,CustodianFBOJohnForester                                 SeriesA   PAͲ32    90,257
1/22/2009   MitchellLynn,TrusteeofTheLynnFamilyTrust,UDT3/15/85                                                 SeriesA   PAͲ33   175,438
1/22/2009   DavidJ.Balicki                                                                                             SeriesA   PAͲ34    65,789
                                                                                                                                                                                      Doc 1




1/22/2009   HaroldC.Gilkey                                                                                             SeriesA   PAͲ35   109,649
1/22/2009   RichardandKellyBalue                                                                                      SeriesA   PAͲ36    43,859
1/22/2009   MarieWintergerst,TrusteeofMarieWintergerstTrusteUAD10/2/91                                           SeriesA   PAͲ37    87,719
1/22/2009   HerbSilverman                                                                                               SeriesA   PAͲ38    87,719
1/22/2009   SharonFratepietro                                                                                           SeriesA   PAͲ39    65,789
1/22/2009   GaryGoldbergandMarciaRuberg                                                                              SeriesA   PAͲ40    65,789
                                                                                                                                                                                      Pg. 95 of




7/21/2009   Donald&SusanTelage,asJointTenants                                                                      SeriesA   PAͲ41   394,736
7/21/2009   SusanTelage,TrusteeofDonaldN.TelageTrustF/B/ONicoleM.Telage                                      SeriesA   PAͲ42    43,859
                                                                                       AllStock                                                                     Total#ofShares
7/21/2009    AFABIILLC                                                                                                             SeriesA   PAͲ43     377,192
7/21/2009    AlarconInvestments,LLC                                                                                                SeriesA   PAͲ44     107,017
7/21/2009    ArthurS.Myers                                                                                                         SeriesA   PAͲ45      87,719
7/21/2009    CMPolymers,Inc.                                                                                                       SeriesA   PAͲ46      87,719
7/21/2009    CarlMyers                                                                                                              SeriesA   PAͲ47      87,719
7/21/2009    ApolloInteractive,Inc.                                                                                                SeriesA   PAͲ48      87,719
7/21/2009    DavidBohline                                                                                                           SeriesA   PAͲ49      43,859
7/21/2009    F&SInternationalProductsIncͲEmployeeIncentiveRETMTPlanU/A01/01/1998ͲFBOJohnThompson                       SeriesA   PAͲ50      43,859
7/21/2009    F&SInternationalProductsIncͲEmployeeIncentiveRETMTPlanU/A01/01/1998ͲFBOChristopherThompson                SeriesA   PAͲ51      87,719
7/21/2009    DavidScottKosch                                                                                                       SeriesA   PAͲ52      43,859
7/21/2009    HaroldC.Gilkey                                                                                                        SeriesA   PAͲ53      90,350
                                                                                                                                                                                                     Case 20-03779-LT11




7/21/2009    MarieWintergersttrusteeUAD10/2/91byFredWintergerst                                                               SeriesA   PAͲ54      87,719
7/21/2009    HerbSilverman                                                                                                          SeriesA   PAͲ55      43,859
7/21/2009    GaryGoldbergandMarciaRuberg                                                                                         SeriesA   PAͲ56      43,859
7/21/2009    DavidR.Johnson,TrusteeTheDavidR.JohnsonFamilyTrust                                                             SeriesA   PAͲ57      87,719
7/21/2009    RichardLow                                                                                                             SeriesA   PAͲ58      52,631
7/21/2009    SaalFamilyPartners,LP                                                                                                SeriesA   PAͲ59      43,859
7/21/2009    MarkPincus                                                                                                             SeriesA   PAͲ60      43,859
7/21/2009    BrianF.Peterson,TrusteetheBrianF.PetersonDeclarationofTrustUAD02/21/07                                      SeriesA   PAͲ61      87,719
                                                                                                                                                                                                     Filed 07/27/20




7/21/2009    HEDFamilyPartnership                                                                                                  SeriesA   PAͲ62     109,649
7/21/2009    TimothyS.Wada                                                                                                         SeriesA   PAͲ63      92,105
7/21/2009    TesseraGroup,LP                                                                                                       SeriesA   PAͲ64      65,789
7/21/2009    MarkA.Guthrie                                                                                                         SeriesA   PAͲ65      43,859
                                                                                                                                                                                          135




7/21/2009    PacificEquityVentures,L.P.aCaliforniaPartnershipBy:PacVentures,Inc,aCaliforniaCorporation(GeneralPartne   SeriesA   PAͲ66      43,859
7/21/2009    Darakev,LP                                                                                                             SeriesA   PAͲ67     131,578
7/21/2009    HughJones                                                                                                              SeriesA   PAͲ68      35,087
7/21/2009    HerbertFennerty                                                                                                        SeriesA   PAͲ69      43,859
7/21/2009    WechterFamilyLPAarsylInc.,itsGeneralPartner                                                                      SeriesA   PAͲ70     131,578
7/21/2009    ArnoldG.Fischer,TrusteetheArnoldG.andEsterFischerFamilyTrustDTDDecember19,1983                           SeriesA   PAͲ71      87,719
7/21/2009    JeromeJanger,TrusteetheJerome&LindaJangerRevocableTrust                                                        SeriesA   PAͲ72      43,859
8/25/2009    GemtekInvestmentCo.,Ltd.                                                                                             SeriesA   PAͲ73   1,754,385
9/18/2009    AFABIILLC                                                                                                             SeriesA   PAͲ74      26,315
9/18/2009    ChunͲHungLu&LiͲFuChenheldJointTenancy                                                                            SeriesA   PAͲ75      61,403
9/18/2009    DavidJ.Balicki                                                                                                        SeriesA   PAͲ76      65,789
                                                                                                                                                                                         Entered 07/27/20 12:30:08




9/18/2009    TimothyS.Wada                                                                                                         SeriesA   PAͲ77           0
9/18/2009    RichardandKellyBalue                                                                                                 SeriesA   PAͲ78      16,812
9/18/2009    JBJKInvestments,LP                                                                                                    SeriesA   PAͲ79      16,812
9/18/2009    MitchellLynn,TrusteeofTheLynnFamilyTrust,UDT3/15/85                                                            SeriesA   PAͲ80      16,812
                                                                                                                                                                                                     Doc 1




9/18/2009    MichaelConsalvi                                                                                                        SeriesA   PAͲ81      16,812
9/18/2009    RichardLow                                                                                                             SeriesA   PAͲ82      16,812
12/30/2009   CMPolymers,Inc,PSPCathleenMyersTrustee                                                                            SeriesA   PAͲ83      87,719
12/30/2009   CMPolymers,Inc.                                                                                                       SeriesA   PAͲ46     (87,719)
3/10/2010    TesseraGroup,LP                                                                                                       SeriesA   PAͲ84      16,812
3/31/2011    PolycompTrustCompanyCustodianFBOJohnThompsonROTHIRA                                                             SeriesA   PAͲ85      43,859
                                                                                                                                                                                                     Pg. 96 of




3/31/2011    F&SInternationalProductsIncͲEmployeeIncentiveRETMTPlanU/A01/01/1998ͲFBOJohnThompson                       SeriesA   PAͲ50     (43,859)
3/31/2011    PolycompTrustCompanyCustodianFBOChristopherJ.G.ThompsonROTHIRA                                                 SeriesA   PAͲ86      87,719
                                                                                 AllStock                                                              Total#ofShares
3/31/2011    F&SInternationalProductsIncͲEmployeeIncentiveRETMTPlanU/A01/01/1998ͲFBOChristopherThompson   SeriesA    PAͲ51    (87,719)
5/31/2012    JustinWoo                                                                                                 SeriesA    PAͲ87     31,188
5/31/2012    RichardBalue                                                                                              SeriesA    PAͲ88     31,188
5/31/2012    DavidBohline                                                                                              SeriesA    PAͲ89     31,188
5/31/2012    ApolloInteractive,Inc.                                                                                   SeriesA    PAͲ12    (93,564)
7/23/2012    JustinWoo                                                                                                 SeriesA    PAͲ90     29,240
7/23/2012    RichardBalue                                                                                              SeriesA    PAͲ91     29,240
7/23/2012    DavidBohline                                                                                              SeriesA    PAͲ92     29,239
7/23/2012    ApolloInteractive,Inc.                                                                                   SeriesA    PAͲ48    (87,719)
12/14/2012   ClaudiaWintergerst                                                                                        SeriesA    PAͲ93     43,860
12/14/2012   MarieWintergerst,TrusteeofMarieWintergerstTrusteUAD10/2/91                                         SeriesA    PAͲ37    (43,860)
                                                                                                                                                                                        Case 20-03779-LT11




12/14/2012   FrederickE.WintergerstRevocableTrustDatedAugust20,1998                                             SeriesA    PAͲ94     43,859
12/14/2012   MarieWintergerst,TrusteeofMarieWintergerstTrusteUAD10/2/91                                         SeriesA    PAͲ37    (43,859)
8/28/2013    BlueSkyNetwork,LLC                                                                                      SeriesA    PAͲ95    140,187
8/28/2013    MichaelA.Willner                                                                                         SeriesA     PAͲ4   (140,187)
8/28/2013    MichaelA.Willner                                                                                         SeriesA    PAͲ96    219,457
8/28/2013    MichaelA.Willner                                                                                         SeriesA     PAͲ4   (219,457)
9/3/2013     MitchellLynn,TrusteeofTheLynnFamilyTrust,UDT3/15/85                                               SeriesA    PAͲ97    140,187
9/3/2013     MichaelA.Willner                                                                                         SeriesA    PAͲ96   (140,187)
                                                                                                                                                                                        Filed 07/27/20




9/3/2013     MichaelA.Willner                                                                                         SeriesA    PAͲ98     79,270
9/3/2013     MichaelA.Willner                                                                                         SeriesA    PAͲ96    (79,270)
7/8/2014     JBJKInvestments,LP                                                                                       SeriesA    PAͲ99    100,000
7/8/2014     RobertJ.Morris                                                                                           SeriesA     PAͲ3   (100,000)
                                                                                                                                                                             135




7/8/2014     RobertJ.Morris                                                                                           SeriesA   PAͲ100     40,346
7/8/2014     RobertJ.Morris                                                                                           SeriesA     PAͲ3    (40,346)
8/26/2014    JBJKInvestments,L.P.                                                                                     SeriesA   PAͲ101     69,443
8/26/2014    RichardLow                                                                                                SeriesA    PAͲ58    (52,631)
8/26/2014    RichardLow                                                                                                SeriesA    PAͲ82    (16,812)
11/12/2014   LFP,L.P.                                                                                                  SeriesA   PAͲ102     46,729
11/12/2014   MitchellLynn,TrusteeofTheLynnFamilyTrust,UDT3/15/85                                               SeriesA    PAͲ97    (46,729)
11/12/2014   MitchellLynn,TrusteeofTheLynnFamilyTrust,UDT3/15/85                                               SeriesA   PAͲ103     93,458
11/12/2014   MitchellLynn,TrusteeofTheLynnFamilyTrust,UDT3/15/85                                               SeriesA    PAͲ97    (93,458)
11/24/2014   JBJKInvestments,L.P.                                                                                     SeriesA   PAͲ104     49,544
11/28/2014   LFP,L.P.                                                                                                  SeriesA   PAͲ105     29,726
                                                                                                                                                                            Entered 07/27/20 12:30:08




11/28/2014   MichaelA.Willner                                                                                         SeriesA    PAͲ98    (79,270)
3/16/2016    LillianCheung                                                                                             SeriesA   PAͲ106    100,000
3/16/2016    BlueSkyNetwork,LLC                                                                                      SeriesA    PAͲ95   (100,000)
3/16/2016    BlueSkyNetwork,LLC                                                                                      SeriesA   PAͲ107     40,187
                                                                                                                                                                                        Doc 1




3/16/2016    BlueSkyNetwork,LLC                                                                                      SeriesA    PAͲ95    (40,187)
8/31/2016    JonGilbert                                                                                                SeriesA   PAͲ108     90,007
8/31/2016    BlueSkyNetwork,LLC                                                                                      SeriesA    PAͲ18    (90,007)
8/31/2016    LillianCheung                                                                                             SeriesA   PAͲ109     40,187
8/31/2016    BlueSkyNetwork,LLC                                                                                      SeriesA   PAͲ107    (40,187)
8/31/2016    JenniferGilbertMichael                                                                                   SeriesA   PAͲ110     16,000
                                                                                                                                                                                        Pg. 97 of




8/31/2016    KarlyE.Gilbert                                                                                           SeriesA   PAͲ111     16,000
8/31/2016    GilbertFamilyTrust                                                                                       SeriesA   PAͲ112     58,007
                                                                                 AllStock                                                              Total#ofShares
8/31/2016    JonGilbert                                                                                               SeriesA   PAͲ108     (90,007)

5/28/2010    GridPartnersI,LP                                                                                       SeriesB     PBͲ1   2,154,008
5/28/2010    UQIPNewGrowthVentureFundI,UQIPartnersCorporation,GP                                              SeriesB     PBͲ2     429,941
5/28/2010    UniquestCorporation                                                                                      SeriesB     PBͲ3     429,941
5/28/2010    FrederickE.Wintergerst                                                                                  SeriesB     PBͲ4      42,994
5/28/2010    MichaelA.Willner                                                                                        SeriesB     PBͲ5     128,982
5/28/2010    ArchimedesCapitalLLC                                                                                    SeriesB     PBͲ6      21,497
5/28/2010    MarieWintergersttrusteeUAD10/2/91byFredWintergerst                                                 SeriesB     PBͲ7      42,994
5/28/2010    RichardLow                                                                                               SeriesB     PBͲ8           0
5/28/2010    SaalFamilyPartners,LP                                                                                  SeriesB     PBͲ9      21,496
                                                                                                                                                                                        Case 20-03779-LT11




5/28/2010    MarkPincus                                                                                               SeriesB    PBͲ10      42,994
5/28/2010    HEDFamilyPartnership                                                                                    SeriesB    PBͲ11     107,485
6/24/2010    SanDiegoGas&ElectricCompany                                                                          SeriesB    PBͲ12     214,970
12/15/2010   SanDiegoGas&ElectricCompany                                                                          SeriesB    PBͲ13     214,970
11/12/2010   GridPartnersI,LP                                                                                       SeriesB    PBͲ14   3,038,608
11/12/2010   GͲTechnologyInvestmentCo.,Ltd.                                                                         SeriesB    PBͲ15     859,882
11/12/2010   MarkA.Guthrie                                                                                           SeriesB    PBͲ16      42,994
11/12/2010   JohnThompsonRothIRA                                                                                    SeriesB    PBͲ17      42,994
                                                                                                                                                                                        Filed 07/27/20




11/12/2010   ChrisThompsonRothIRA                                                                                   SeriesB    PBͲ18      42,994
2/3/2011     ChenHungWen                                                                                             SeriesB    PBͲ19     644,911
2/3/2011     GridPartnersI,LP                                                                                       SeriesB    PBͲ20     300,958
3/31/2011    PolycompTrustCompanyCustodianFBOJohnThompsonROTHIRA                                               SeriesB    PBͲ21      42,994
                                                                                                                                                                             135




3/31/2011    JohnThompsonRothIRA                                                                                    SeriesB    PBͲ17     (42,994)
3/31/2011    PolycompTrustCompanyCustodianFBOChristopherJ.G.ThompsonROTHIRA                                   SeriesB    PBͲ22      42,994
3/31/2011    ChrisThompsonRothIRA                                                                                   SeriesB    PBͲ18     (42,994)
4/22/2011    Donald&SusanTelage,asJointTenants                                                                   SeriesB    PBͲ23     128,982
4/22/2011    SusanTelage,TrusteeofDonaldN.TelageTrustF/B/ONicoleM.Telage                                   SeriesB    PBͲ24     128,982
4/22/2011    MichaelA.Willner                                                                                        SeriesB    PBͲ25     171,976
4/22/2011    MarieWintergersttrusteeUAD10/2/91byFredWintergerst                                                 SeriesB    PBͲ26      42,994
4/22/2011    F&SInternationalProductsInc.ͲEmployeeIncentiveRetmtPlanU/A01/01/1998FBOChristopherThompson   SeriesB    PBͲ27           0
4/22/2011    SaalFamilyPartners,LP                                                                                  SeriesB    PBͲ28      21,497
4/22/2011    MarkA.Guthrie                                                                                           SeriesB    PBͲ29      42,994
4/22/2011    ArnoldG.Fischer,TrusteetheArnoldG.andEsterFischerFamilyTrustDTDDecember19,1983             SeriesB    PBͲ30     257,964
                                                                                                                                                                            Entered 07/27/20 12:30:08




4/22/2011    FrederickE.Wintergerst                                                                                  SeriesB    PBͲ31      42,994
4/22/2011    ClaudiaWintergerst                                                                                       SeriesB    PBͲ32      42,994
4/22/2011    DavidScottKosch                                                                                         SeriesB    PBͲ33      42,994
4/22/2011    GridPartnersI,LP                                                                                       SeriesB    PBͲ34   8,920,198
                                                                                                                                                                                        Doc 1




12/6/2011    FrederickE.WintergerstRevocableTrustdatedAugust20,1998                                            SeriesB    PBͲ35      85,988
12/6/2011    FrederickE.Wintergerst                                                                                  SeriesB     PBͲ4     (42,994)
12/6/2011    FrederickE.Wintergerst                                                                                  SeriesB    PBͲ31     (42,994)
12/30/2011   GridPartnersI,LP                                                                                       SeriesB    PBͲ36   3,610,215
8/26/2014    JBJKInvestments,L.P.                                                                                    SeriesB    PBͲ37      17,197
11/24/2014   JBJKInvestments,L.P.                                                                                    SeriesB    PBͲ38     188,099
                                                                                                                                                                                        Pg. 98 of




11/24/2014   MichaelA.Willner                                                                                        SeriesB     PBͲ5    (128,982)
11/24/2014   MichaelA.Willner                                                                                        SeriesB    PBͲ25     (59,117)
                                                                       AllStock                                    Total#ofShares
11/28/2014 LFP,L.P.                                                               SeriesB   PBͲ39      112,859
11/28/2014 MichaelA.Willner                                                      SeriesB   PBͲ25     (112,859)
12/30/2015 PolycompTrustCompanyCFBOChristopherJ.G.ThompsonIRA               SeriesB   PBͲ40       42,994

6/11/2012    GridPartnersII,LP                                                  SeriesC    PCͲ1    4,155,550
6/11/2012    EnergyTechnologyVentures,LLC                                       SeriesC    PCͲ2    2,793,647
6/11/2012    MichaelA.Willner                                                    SeriesC    PCͲ3       69,841
6/11/2012    StevenFriedman                                                       SeriesC    PCͲ4       35,000
12/19/2012   SpeedlineInvestmentsLtd.                                            SeriesC    PCͲ5    2,095,235
12/19/2012   GridPartnersII,LP                                                  SeriesC    PCͲ6    1,815,870
6/28/2013    Enbridge(U.S.),Inc.                                                 SeriesC    PCͲ7    6,984,118
                                                                                                                                                    Case 20-03779-LT11




6/28/2013    EnergyTechnologyVentures,LLC                                       SeriesC    PCͲ8    1,222,220
6/28/2013    GridPartnersII,LP                                                  SeriesC    PCͲ9    2,296,552
1/24/2014    Enbridge(U.S.),Inc.                                                 SeriesC   PCͲ10    3,492,059
4/8/2014     GridPartnersII,LP                                                  SeriesC   PCͲ11    2,076,727
11/24/2014   JBJKInvestments,L.P.                                                SeriesC   PCͲ12       43,651
11/28/2014   LFP,L.P.                                                             SeriesC   PCͲ13       26,190
11/28/2014   MichaelA.Willner                                                    SeriesC    PCͲ3      (69,841)
                                                                                                                                                    Filed 07/27/20




7/22/2015    AQORAORW,LLC                                                        SeriesD    PDͲ1    2,000,000
7/22/2015    GridPartnersIII,LP                                                 SeriesD    PDͲ2    1,333,333
9/4/2015     GridPartnersIII,LP                                                 SeriesD    PDͲ3    2,333,333
9/4/2015     AQORAORW,LLC                                                        SeriesD    PDͲ4    1,833,333
                                                                                                                                         135




10/27/2015   AQORAORW,LLC                                                        SeriesD    PDͲ5      666,666
10/27/2015   GridPartnersIII,LP                                                 SeriesD    PDͲ6      700,000
12/28/2015   AQORAORW,LLC                                                        SeriesD    PDͲ7      150,000
1/19/2016    GridPartnersIII,LP                                                 SeriesD    PDͲ8    1,200,000
2/26/2016    GridPartnersIII,LP                                                 SeriesD    PDͲ9            0
3/3/2016     GridPartnersIII,LP                                                 SeriesD   PDͲ10            0
3/4/2016     GridPartnersIII,LP                                                 SeriesD   PDͲ11            0
4/12/2016    AQORAORW,LLC                                                        SeriesD   PDͲ12      200,000
4/19/2016    GridPartnersIII,LP                                                 SeriesD   PDͲ13   14,258,999
4/29/2016    GridPartnersIII,LP                                                 SeriesD   PDͲ14      300,000
4/28/2016    DavidDull                                                            SeriesD   PDͲ15      419,094
                                                                                                                                        Entered 07/27/20 12:30:08




4/28/2016    WolfenRevocableTrustdtd7/22/2002                                  SeriesD   PDͲ16    2,182,683
5/4/2016     GridPartnersIII,LP                                                 SeriesD   PDͲ17      600,000
5/16/2016    AtlanticRealtyGroup,Inc.                                           SeriesD   PDͲ18      147,456
4/30/2016    CharlesLiu                                                           SeriesD   PDͲ19      348,018
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                                                                             135
CSD 1008 [08/21/00]
 Name, Address, Telephone No. & I.D. No.
 Sullivan Hill Rez & Engel, APLC
 Christopher V. Hawkins 222961
 600 B Street
 Suite 1700
 San Diego, CA 92101
 (619) 233-4100


                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
          325 West "F" Street, San Diego, California 92101-6991


 In Re
 Ingenu Inc.
                                                                                           BANKRUPTCY NO.



                                                                              Debtor.

                                                            VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

      New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS: 275

      Conversion filed on               . See instructions on reverse side.
               Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
               Post-petition creditors added. Scannable matrix required.
               There are no post-petition creditors. No matrix required.

      Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
      Equity Security Holders. See instructions on reverse side.
                         Names and addresses are being ADDED.
                         Names and addresses are being DELETED.
                         Names and addresses are being CORRECTED.

PART II (check one):

      The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

      The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
      the filing of a matrix is not required.




 Date:       July 27, 2020
                                                                     Alvaro Gazzolo/Chief Executive Officer
                                                                     Signer/Title




                                                           REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                         Aaron Pullman
                         14904 Amso St
                         Poway, CA 92064



                         Accruent
                         11500 Alterra Parkway, Suite 110
                         Austin, TX 78758



                         Aether Wind Technologies, Inc.
                         306 Tait McKenzie St
                         Almonte, Ontario K0A 1A0



                         Air802
                         1981 D Wiesbrook Drive
                         Oswego, IL 60543



                         ALDINE I.S.D.
                         2520 W.W. Thorne Blvd.
                         Houston, TX 77073



                         Allied Business Intelligence, Inc. (ABI)
                         69 Hamilton Ave,
                         Oyster Bay, NY 11771



                         Altium Inc
                         1 University Ave
                         South Lobby, Suite 2C
                         Westwood, MA 02090



                         Alvaro Gazzolo
                          International Media Con
                         1154 Alfonso Ave
                         Miami, FL 33146



                         Alvaro Gazzolo
                         1154 Alfonso Ave
                         Coral Gables, FL 33146
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                     American Tower Corporation           ATC
                     2655 Richmond Ave,
                     Staten Island, NY 10314



                     Ana Stjepovic
                     8064 Hemp Hill Drive
                     San Diego, CA 92126



                     Andrew Oliveira
                     9444 Questa Pointe Dr.
                     San Diego, CA 92126



                     APS
                     400 North 5th Street
                     Phoenix, AZ 85004



                     Aramark
                     600 E Luzerne
                     Phildelphia, PA 19124



                     Arizona Department of Economic Security
                     3406 N 51st Ave
                     Phoenix, AZ 85031



                     Arizona Dept. of Revenue
                     1600 W Monroe St
                     Phoenix, AZ 85007



                     AT & T Mobility CC
                     1025 Lenox Park BLVD NE A
                     Brookhaven, GA 30319



                     AT&T Mobility
                     208 S. Akard St.
                     Dallas, TX 75202
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                     Avinash Pawar
                     9952 Kika Court
                     Apt no. 5222
                     San Diego, CA 92129



                     Avison Young Arizona, Ltd
                     2720 East Camelback Road
                     Suite 150
                     Phoenix, AZ 85016



                     B&T Group Holdings, Inc
                     1717 S Boulder Suite 300
                     Tulsa, OK 74119



                     Babak Cyrus Razi
                     345 North Maple Drive
                     Beverly Hills, CA 90210



                     BDO USA, LLP
                     130 E Randolph St
                     Chicago, IL 60601



                     BeneTrac
                     2385 Northside Drive
                     Suite #100
                     San Diego, CA 92108



                     Bernalillo County Treasurer
                     1 Civic Plz NW # C2
                     Albuquerque, NM 87102



                     Bexar County Tax Collector
                     Vista Verde Plaza Building
                     233 N. Pecos La Trinidad
                     San Antonio, TX 78207



                     BlueStream Professional Services, LLC
                     3305 Hwy 60 West
                     Faribault, MN 55021
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                     BLUMBERG LAW GROUP LLP
                     137 N Acacia Ave
                     Solana Beach, CA 92075



                     Bureau of the Treasury
                     1500 Pennsylvania Avenue, NW
                     Washington, DC 20220



                     Bureau Revenue & Tax
                     1233 Westbank Expressway
                     Harvey, LA 70058



                     Business Wire, Inc.
                     40 East 52nd Street, 14th Floor
                     New York, NY 10022



                     CA Dep. of Tax & Fee Admin
                     450 N St
                     Sacramento, CA 95814



                     California EDD
                     Bankruptcy Unit, MIC 92E
                     P.O. Box 826880
                     Sacramento, CA 94280



                     California Secretary of State
                     1500 11th Street
                     Attn: Alex Padilla
                     Sacramento, CA 95814



                     Canon
                     8000 Mississauga Rd
                     Brampton, ON L6Y 5Z7



                     CCH Incorporated
                     2700 Lake Cook Road
                     Riverwoods, IL 60015
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                     CEVA Freight LLC
                     15350 Vickery Drive
                     Houston, TX 77032



                     Chaoming Kang
                     11650 Kismet Road
                     San Diego, CA 92128



                     Cintas Corporation No. 2 Cintas Corp/Cin
                     6800 Cintas Boulevard
                     Cincinnati, OH 45262



                     City of Concord Collections
                     35 Cabarrus Ave. W
                     Concord, NC 28025



                     City of Garland
                     200 N. Fifth St.
                     Garland, TX 75040



                     CITY OF GARLAND
                     COREY WORSHAM RTA
                     217 N Fifth Street
                     Garland, TX 75046



                     City of Lake Worth
                     7 North Dixie Highway
                     Lake Worth Beach, FL 33460



                     City of Mesa
                     20 E. Main Street
                     Mesa, AZ 85201



                     City of Oceanside
                     300 N Coast Hwy
                     Oceanside, CA 92054
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                     City of Rock Hill
                     155 Johnston Street
                     Rock Hill, SC 29730



                     City of San Marcos Business Licensing
                     1 Civic Center Dr
                     San Marcos, CA 92069



                     City of Scottsdale
                     3939 N. Drinkwater Blvd.
                     Scottsdale, AZ 85251



                     City of Union City
                     Property Tax Division
                     3715 Palisades Avenue
                     Union City, NJ 07087



                     Clarion Events Pte. Ltd.
                     69-79 Fulham High Street
                     London, England SW6 3JW



                     Colleen Cleary
                     15950 W. Monte Cristo Ave
                     Surprise, AZ 85374



                     Collin County Tax Collector
                     2300 Bloomdale Rd., Suite 2324
                     McKinney, TX 75071



                     Columbus City Treasurer
                     910 Dublin Rd
                     Columbus, OH 43215



                     Compliance International
                     40 Wall St # 1704
                     New York, NY 10005
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                     Concierge Cleaning Services
                     Parker Tower Building 20
                     104-20 Queens Blvd
                     Forest Hills, NY 11375



                     Conductive Containers, Inc.
                     4500 Quebec Ave N
                     New Hope, MN 55428



                     Cooley Godward Kronish
                     55 Hudson Yard
                     New York, NY 10001



                     Cox Communication San Diego
                     5887 Copley Dr
                     San Diego, CA 92111



                     COX Communications Phoenix
                     6205-B Peachtree Dunwoody Road NE
                     Atlanta, GA 30328



                     CPA Global Limited
                     7800 Shoal Creek Blvd #220w,
                     Austin, TX 78757



                     CPS Energy / City Public Service Board
                     146 Navarro
                     San Antonio, TX 78205



                     Crown Castle USA Inc.
                     55 Broad St 2nd floor
                     New York, NY 10004



                     CT Corporation
                     28 Liberty Street
                     New York City, NY 10005
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                     Cynthia M Jordan
                     166 Westland St #2
                     Hartford, CT 06120



                     Dallas County Tax Collector
                     1201 Elm Street, Suite 2600
                     Dallas, TX 75270



                     Dan Werner
                     5871 Torca Ct
                     San Diego, CA 92124



                     David Carpenter
                     3127 Via Loma Vista
                     Escondido, CA 92029



                     David W Kish
                     338 Country Club Dr
                     New Orleans, LA 70124



                     DDH Enterprise, Inc
                     2220 Oak Ridge Way
                     Vista, CA 92081



                     Dekalb County Tax Commissioner
                     4380 Memorial Dr #100
                     Decatur, GA 30032



                     Delaware Secretary of State
                     820 N. French St., 4th Floor
                     Wilmington, DE 19801



                     Dell C/O DELL USA L.P.
                     1 Dell Way
                     Round Rock, TX 78664
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                     Deloitte Tax LLP
                     30 Rockefeller Plaza
                     New York, NY 10112



                     Dennis Espey
                     9569 Paseo Montril
                     San Diego, CA 92129



                     DENTON CTY TAX ASSESSOR
                     400 N Valley Pkwy #1044
                     Lewisville, TX 75067



                     Digi Key Corp
                     701 Brooks Avenue
                     South Thief River Falls, MN 56701



                     Digital Talent Agents, LLC dba Influence
                     750 N San Vincente Blvd
                     Ste 950
                     West Hollywood, CA 90069



                     Division of Labor
                     7575 Metropolitan Drive
                     Ste. 210
                     San Diego, CA 92108



                     Dominion Virginia Power
                     120 Tredegar Street 6th Floor
                     Richmond, VA 23219



                     Doug Avant
                     4080 Kendall #5
                     San Diego, CA 92109



                     Doug Franke
                     659 Canyon Drive
                     Solana Beach, CA 92075
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                     Duke Energy
                     550 South Tryon Street
                     Charlotte, NC 28202



                     El Paso Electric
                     100 N Stanton St
                     El Paso, TX 79901



                     ElectSolve Technology Solutions & Svcs
                     4300 Youree Dr, Bldg. 1
                     Shreveport, LA 71105



                     Employment Development Department
                     PO Box 826880 MIC 83
                     Sacramento, CA 94280-0001



                     Entergy Louisiana, LLC
                     425 West Capitol Avenue
                     Little Rock, AR 72201



                     ESMI, Inc.
                     6731 Cobra Way
                     San Diego, CA 92121



                     Fabian Tucker
                     3947 Coleman Avenue
                     San Diego, CA 92154



                     Faciliteq AZ LLC
                     1255 W Rio Salado Pkwy #111
                     Tempe, AZ 85281



                     FedEx
                     942 South Shady Grove Road
                     Memphis, TN 38120
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                     First Class Vending, Inc.
                     6875 Suva Street
                     Bell Gardens, CA 90201



                     Flex
                     9 W 57th St,
                     New York, NY 10019



                     Flextronics International USA Inc
                     6201 AMERICA CENTER DRIVE
                     San Jose, CA 95002



                     Foley & Lardner LLP
                     90 Park Avenue
                     New York, NY 10016-1314



                     Fort Bend County Tax Assessor
                     1317 Eugene Heimann Circle
                     Richmond, TX 77469-3623



                     FPL
                     700 Universe Boulevard
                     Juno Beach, FL 33408



                     Frank Castaneda
                     4006 Via Serra
                     Oceanside, CA 92057



                     Freeman
                     444 Madison Ave #12
                     New York, NY 10022



                     Fulton County Tax Commissioner
                     141 Pryor St SW #1085
                     Atlanta, GA 30303
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                     Galveston County Tax Collector
                     722 Moody Avenue (21st Street)
                     Galveston, TX 77550



                     Garland TX School District
                     501 S. Jupiter
                     Garland, TX 75042



                     Georgia Power
                     241 Ralph McGill Blvd. BIN 10151
                     Atlanta, GA 30308



                     GetGo Inc. Subsidiary of LogMeIn Inc.
                     10 Exchange Place
                     Jersey City, NJ 07302



                     GraphiCode Inc.
                     1924 Bickford Ave. #201
                     Snohomish, WA 98290



                     Grid Partners III A LP
                     345 N. Maple Drive, Suite 277
                     Beverly Hills, CA 90210



                     Guadalupe County
                     211 W. Court Street
                     Seguin, TX 78155



                     Guadalupe Tapia
                     13771 Marshall Lane
                     Tustin, CA 92780



                     Hafiz Hameed
                     15885 Paseo Del Sur
                     San Diego, CA 92127
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                     Harris County Tax Collector
                     1001 Preston St.
                     Houston, TX 77002



                     Haulaway Storage Containers, Inc.
                     11292 Western Avenue
                     Stanton, CA 90680



                     HealthEquity
                     15 W. Scenic Pointe Drive, Ste. 100
                     Draper, UT 84020



                     Hendersonville Property Tax
                     Henderson County Tax Collector
                     200 N. Grove St.
                     Hendersonville, NC 28792



                     HiTem, Inc.
                     7420 Carroll Road
                     San Diego, CA 92121



                     Humble Independent School District Tax C
                     20200 Eastway Village Dr
                     Humble, TX 77338



                     iDeals Solution Group
                     44 Wall St
                     12th Floor,
                     New York, NY 10005



                     iGOE
                     PO Box 501480
                     San Diego, CA 92150



                     Imran Hameed
                     15885 Paseo Del Sur
                     San Diego, CA 92127
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                     Indeed, Inc
                     7501 North Capital of Texas Highway, Bui
                     Austin, TX 78371



                     Indianapolis Power & Light Company
                     2102 N Illinois St
                     Indianapolis, IN 46202



                     Innovative Metal Products, Inc.
                     2443 Cades Way
                     Suite # 200
                     Vista, CA 92081



                     Insulated Wire, Inc.
                     960 Sylvan Ave #1000,
                     Bayport, NY 11705



                     Internal Revenue Service (IRS)
                     Insolvency Operations Unit
                     P.O. Box 7346
                     Philadelphia, PA 19101



                     Iron Mountain
                     1 Federal Street
                     Boston, MA 02110



                     JBJK INVESTMENTS, LP
                     1298 PROSPECT STREET, STE 1D
                     La Jolla, CA 92037



                     Jianhong Fang
                     12636 Sarsaparilla St
                     San Diego, CA 92129-3735



                     Jianhong Fang
                     12636 Sarsaparilla Street
                     San Diego, CA 92129
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                     Jignesh Patel
                     16088 Caminito De Linda
                     San Diego, CA 92128



                     John and Barbara Gilbert
                     1298 PROSPECT STREET, STE 1D
                     La Jolla, CA 92037



                     John Jeter & Mike Stocker
                     Renesas Electronics America
                     1001 Murphy Ranch Road
                     Milpitas, CA 95035



                     Jordan & Company
                     399 Park Ave
                     New York, NY 10022



                     Jose M Roqueni
                     1308 Stanislaus Drive
                     Chula Vista, CA 91913



                     Joshua T Builta
                     6033 East Beck Lane
                     Scottsdale, AZ 85254



                     Kaiser
                     1 Kaiser Plz
                     Oakland, CA 94612



                     KBSII Horizon Tech Center, LLC
                     10343 Meanley Dr
                     San Diego, CA 92131



                     Krishnakumar, Sreelakshmi
                     10146 Baylee Ln
                     San Diego, CA 92127
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                     Kumar, Rahul
                     3875 Florida St.
                     Unit #2
                     San Diego, CA 92104



                     Kupstas, Robert
                     Yang & Yamazaki Energy & Environment (Y2
                     473 Via Ortega, Suite 292B
                     Stanford, CA 94305-4020



                     Lakefront Associates, LLC
                     c/o Wallin & Russel
                     26000 Town Centre Dr. 130
                     Foothill Ranch, CA 92610



                     Landsberg Orora




                     Lark Engineering, Inc.
                     2000 W Corporate Way
                     Anaheim, CA 92801



                     Larry Gaddes PCAC, CTA William county Ta
                     904 South Main Street
                     Georgetown, TX 78626



                     Latin America Regulatory Compliance Grou
                     5200 SW Meadows Rd
                     Suite 150
                     Lake Oswego, OR 97035



                     Level 3 Communications TW Telecom
                     100 CenturyLink Drive
                     Monroe, LA 71203



                     LFT Capital LLC
                     2245 SAN DIEGO AVENUE, #125
                     San Diego, CA 92110
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                     Liberty Test Equipment, Inc.
                     1640 Lead Hill Blvd., Suite 120,
                     Roseville, CA 95661



                     Lighthorse Technologies, Inc.
                     9511 Ridgehaven Ct # B
                     San Diego, CA 92123



                     Lightwave Broadband, LLC
                     27525 Valley Center Rd.
                     P.O. Box 3008
                     Valley Center, CA 92082



                     Lisa D Serrano
                     12596 Fairbrook Rd
                     San Diego, CA 92131



                     Litle & Co
                     100 WASHINGTON AVE S
                     STE 1200
                     MPLS, MN 55401



                     LKP Global Law LLP
                     1901 Avenue of the Stars
                     Los Angeles, CA 90067



                     LogiSense Corporation
                     278 Pinebush Rd #101
                     Cambridge, Ontario N1T1Z6



                     Loren Hiew
                     12211 Avenida Consentido
                     San Diego, CA 92128



                     Manpower Temp Services
                     99 Park Ave 9th floor,
                     New York, NY 10016
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                     Marietta
                     205 Lawrence Street
                     Marietta, GA 30060



                     Marion County Tax Collector
                     503 SE 25th Ave
                     Ocala, FL 34471



                     Mark Malopy
                     547 Nantucket Ct.
                     Encinitas, CA 92024



                     Mark Strawn
                     8241 Hudson Drive
                     San Diego, CA 92119



                     Marychello Bockenhauer
                     2676 B St
                     San Diego, CA 92102



                     Matthew Hughes
                     3622 Jackdaw St
                     San Diego, CA 92103



                     Md7, LLC
                     10590 W Ocean Air Dr
                     #300
                     San Diego, CA 92130



                     Memphis Light, Gas and Water Division
                     220 South Main Street
                     Memphis, TN 38103



                     MetLife Small Business Center
                     200 Park Ave
                     New York, NY 10166-0188
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                     Michael Peralta
                     11776 Avenida Anacapa
                     El Cajon, CA 92019



                     Michelle Koenig
                     17013 Albert Ave
                     San Diego, CA 92127



                     MISSION FEDERAL CREDIT UNION
                     10325 Meanley Drive
                     San Diego, CA 92131



                     Mobile Mark, Inc.
                     1140 W Thorndale Ave
                     Itasca, IL 60143



                     Montgomery County
                     Tax Collector
                     400 N. SAN JACINTO
                     CONROE, TX 77301-2823



                     Mouser Electronics, Inc.
                     1165 Allgood Road, Suite 20
                     Marietta, GA 30062



                     Mr. Andrew C. White
                     Trilliant Networks (Canada), I
                     20 Floral Parkway
                     Concord, ON L4K 4R1, Canada



                     Multek Technologies Limited
                     101 Academy Dr.
                     Irvine, CA 92617



                     Mutual of Omaha c/o Sandy Schwennesen
                     3300 Mutual of Omaha Plaza
                     Omaha, NE 68175
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                     Nancy J Equihua
                     13771 Marshall Lane
                     Tustin, CA 92780



                     Nashville Electric Service
                     1214 Church St
                     Nashville, TN 37246



                     NDJR Grid Partners II, LLC
                     460 Park Avenue, Ste 1501
                     New York, NY 10022



                     Nemko Canada
                     303 River Rd
                     Ottawa, Ontario K1V 1H2



                     Newport Board Group LLC
                     12 Broad Street
                     Redbank, NJ 07701



                     Nick Gifford
                     4624 Mississippi Street
                     Unit 2
                     San Diego, CA 92116



                     Nokia Solutions and Networks US, LLC SAC
                     240 Line St
                     Easton, PA 18042



                     Northcentral Electric Power Association
                     4600 Northcentral Way
                     Olive Branch, MS 38654



                     NV Energy
                     6226 W. Sahara Ave.
                     Las Vegas, NV 89146
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                     Octiv Inc.
                     54 Monument Circle
                     Ste 200
                     Indianapolis, IN 46204



                     Ohio Power Company dba AEP Ohio
                     1 Riverside Plaza
                     Columbus, OH 43215-2372



                     Oracle America, Inc
                     500 Oracle Parkway
                     Redwood Shores, CA 94065



                     Orlando Utilities Commission
                     100 W Anderson St
                     Orlando, FL 32801



                     OSI Electronics
                     12533 Chadron Ave
                     Hawthorne, CA 90250



                     Palomar Communications
                     2230 Micro Pl
                     Escondido, CA 92029



                     Parker Chomerics Parker Hannifin Corpora
                     135 Bryant Ave
                     Cranford, NJ 07016



                     Parker Hannifin Corporation
                     6035 PARKLAND BLVD
                     Cleveland, OH 44124



                     PASADENA ISD
                      TAX ASSESSOR/COLLECTOR
                     2223 Strawberry Rd
                     Pasadena, TX 77502
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                     Pedernales Electric Cooperative, Inc.
                     201 S. Avenue F
                     Johnson City, TX 78636



                     Philip Peshin
                     16539 4S Ranch Parkway
                     San Diego, CA 92127



                     Phoenix Mecano - Rose Bopla
                     7330 Executive Way
                     Frederick, MD 21704



                     Phoenix Mecano, Inc.
                     7330 Executive Way
                     Frederick, MD 21704



                     Phong Tran
                     4232 46th Street
                     Apt. #4
                     San Diego, CA 92115



                     Piedmont Electric Membership Cooperative
                     Post Office Drawer 1179
                     Hillsborough, NC 27278-1179



                     Pitney Bowes
                     3001 Summer St.
                     Stamford, CT 06926



                     Pompano Beach Permit Number 16 8062
                     100 W Atlantic Blvd
                     Pompano Beach, FL 33060



                     Praetorian Group. Inc.
                     66-85 73rd Place,
                     2nd Floor,
                     Middle Village, NY 11379
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                     Pratik Yadav
                     9952 Kika Ct
                     Apt 5222
                     San Diego, CA 92129



                     PRECISION GRAPHIC SYSTEMS
                     9353 Activity Rd
                     San Diego, CA 92126



                     Pricewaterhouse Coopers LLP.
                     90 Park Ave,
                     New York, NY 10016



                     Principal Financial Group
                     711 High Street
                     Des Moines, IA 50392



                     Promar Designs, Inc.
                     1106 Second Street,
                     Studio 606
                     Encinitas, CA 92024



                     Qi Zhang
                     8239 Stage Coach Place
                     San Diego, CA 92129



                     Quality Systems Integrated Corporation
                     6740 Top Gun Street
                     San Diego, CA 92121



                     Rain Cloud Water Mgmt LLC
                     114 Mallard Cove
                     Bay, AR 72411



                     Ramsey Electonics, Inc.
                     590 Fishers Station Dr,
                     Victor, NY 14564
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                     Richardson RFPD
                     1950 S Batavia Ave #100
                     Geneva, IL 60134



                     Rick Price
                     1730 Orchard Wood Rd
                     Encinitas, CA 92024



                     Riverside County Treasurer
                     38-686 El Cerrito Rd
                     Palm Desert, CA 92211



                     Rob Boesel
                     11229 Wheatland Place
                     San Diego, CA 92131



                     Rocky Mountain Power
                     1407 W North Temple
                     Salt Lake City, UT 84116



                     RPMA International, Corp.
                     PH Prime Tower, Of 12D
                     Costa del Este
                     Panama City, Panama



                     RTx Technology Co., Ltd.
                     58-18 Hyunduk-ro Anjung-eup
                     Pyeongtaek-si
                     Gyeonggi-do, Korea 17942-0000



                     Ryan, LLC
                     Three Galleria Tower
                     13155 Noel Road
                     Suite 100
                     Dallas, TX 75240-5090



                     Salt River Project
                     1500 N. Mill Ave.
                     Tempe, AZ 85281, AZ 85281
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                     San Diego County Tax Collector
                     San Diego County Admin. Center
                     1600 Pacific Hwy, Room 162
                     San Diego, CA 92101



                     San Diego Pension Consultants
                     5628 Copley Dr
                     San Diego, CA 92111



                     Sandra Phan
                     807 Crestview Court
                     San Marcos, CA 92078



                     Santa Fe ISD
                     4133 Warpath
                     P O Box 370
                     Santa Fe, TX 77510



                     Saul Beniquez
                     5654 NW 122nd Ave
                     Coral Springs, FL 33076



                     SBA Network Services, LLC
                     8051 Congress Ave
                     Boca Raton, FL 33487



                     Scalematrix
                     5775 Kearny Villa Road
                     San Diego, CA 92123



                     Sematext Group, Inc.
                     540 President St
                     Brooklyn, NY 11215



                     Serrano, Lisa D
                     12596 Fairbrook Rd
                     San Diego, CA 92131
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                     Shelby County Trustee
                     157 Poplar Ave #200
                     Memphis, TN 38103



                     Sheppard Mullin Richter & Hampton LLP
                     30 Rockefeller Plaza
                     New York, NY 10112



                     Signa Digital Solutions
                     8525 Camino Santa Fe suite g
                     San Diego, CA 92121



                     Silicon Valley Bank Mastercard
                     3003 Tasman Dr.
                     Santa Clara, CA 95054



                     SkyRiver Communications, Inc. Accounts R
                     411 E Clinton Ave
                     Athens, TX 75751-3420



                     Snezana Stjepovic
                     8064 Hemp Hill Drive
                     San Diego, CA 92126



                     Srikanth Uppala




                     SSAE 16 Professionals, LLP
                     750 3rd Avenue
                     New York, NY 10017



                     Staples Business Advantage Staples Contr
                     125 Mushroom Blvd
                     Rochester, NY 14623
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                     StarTex Power Constellation Newenergy, I
                     100 Constellation Way Ste 500
                     Baltimore, MD 21202-6302



                     Storage West
                     14254 Poway Road
                     Poway, CA 92064



                     Streamline
                     22722 29th Drive SE, Suite 100
                     Bothell, WA 98021



                     Suelyn Manush Wallace




                     Sumner County Trustee
                     355 Belvedere Dr N # 107
                     Gallatin, TN 37066



                     Sunil Agrawal
                     230 S.W. Mudd
                     Mail Code 4703
                     Broadway & 120th street
                     New York, NY 10027



                     Talley Inc.
                     160 Jony Dr
                     Carlstadt, NJ 07072



                     Tarrant County Tax Collector
                     100 E. Weatherford Street
                     Fort Worth, TX 76196



                     TECO
                     1331 Pennsylvania Avenue NW UNIT 510
                     Washington, DC 20004
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                     Ted Myers
                     346 Bandera Street
                     La Jolla, CA 92037



                     Tessco Technologies, Inc.
                     Global Logistics Center
                     11126 McCormick Road
                     Hunt Valley, MD 21031-1494



                     The City of East Point Georgia
                     East Point City Hall
                     2757 E Point Street
                     East Point, GA 30344



                     The ProSource Group, Inc.
                     27467 St. Andrews Lane
                     Valley Center, CA 92082



                     Thoughtclan Technologies Pvt. Ltd.
                     111-113 High St Evesham
                     Worcestershire, UK WR11 4XP



                     Timesys Corporation
                     1905 Boulevard of the Allies
                     Pittsburgh, PA 15219



                     TN Metropolitan Trustee
                     700 2nd Ave S
                     Nashville, TN 37210



                     Tower Resource Management, LLC
                     16 Chestnut Street
                     Ste 400
                     Foxboro, MA 02035-1462



                     Town of Landis
                     P.O. Box 8165
                     312 S. Main Street
                     Landis, NC 28088
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                     Travis County Tax Office
                     5501 Airport Blvd
                     Austin, TX 78751-1410



                     Travis Hornung
                     807 Cornish Dr
                     Encinitas, CA 92024



                     Tri County Electric Cooperative, Inc.
                     600 NW Parkway
                     Azle, TX 76020



                     TRILLIANT NETWORKS (CANADA)
                     401 HARRISON OAKS BLVD
                     Cary, NC 27513



                     TTM Technologies
                     1665 Scenic Avenue
                     Suite 250
                     Costa Mesa, CA 92626



                     TTM Technologies aka Viasystem
                     4 Old Monson Rd
                     Stafford Springs, CT 06076



                     Underwriters Laboratories Inc.
                     1285 Walt Whitman Rd
                     Melville, NY 11747



                     United Health Care Wells Fargo Lockbox,
                     275 7th Avenue
                     New York, NY 10001



                     United States Treasury
                     1500 Pennsylvania Ave NW
                     Washington, DC 20220
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                     Upland
                     1660 Highway 100 South, Ste 38
                     Minneapolis, MN 55416



                     Vectus
                     2424 Garden of the Gods Road
                     Colorado Springs, CO 80919



                     Verizon Wireless
                     57 W 57th St
                     New York, NY 10019



                     Vicky Taylor
                     6141 Dirac Street
                     San Diego, CA 92122



                     WellAware Holdings Inc.
                     3424 Paesanos Pkwy #200
                     San Antonio, TX 78231



                     West End Hotel LLC C/O Marshall Fried
                     2555 West End Ave
                     Nashville, TN 37203



                     Westpak, Inc.
                     83 Great Oaks Blvd
                     San Jose, CA 95119



                     William County Trustee
                     1320 West Main Street
                     Suite 203
                     Attn: Karen Paris - Trustee
                     Franklin, TN 37064



                     William Schmidt
                     1749 NE Miami Ct
                     Unit 211
                     Miami, FL 33132
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                     William Simpson
                     5915 Seacrest View Road
                     SAN DIEGO, CA 92121



                     Wilson County Tax Office
                     113 Nash St E # 100
                     Wilson, NC 27893



                     Witz Communications Inc.
                     555 Fayetteville St #300
                     Raleigh, NC 27601



                     Xcel Energy Public Service Company of Co
                     800 Nicollet Mall
                     Minneapolis, MN 55402



                     York Electric Cooperative, Inc.
                     1385 Alexander Love Hwy
                     York, SC 29745
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                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re      Ingenu Inc.                                                                                     Case No.
                                                                                   Debtor(s)                Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ingenu Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 July 27, 2020                                                         /s/ Christopher V. Hawkins
 Date                                                                  Christopher V. Hawkins 222961
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Ingenu Inc.
                                                                       Sullivan Hill Rez & Engel, A Professional Law Corporation
                                                                       600 B Street
                                                                       Suite 1700
                                                                       San Diego, CA 92101
                                                                       (619) 233-4100 Fax:(619) 231-4372
                                                                       hawkins@sullivanhill.com




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                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re      Ingenu Inc.                                                                                     Case No.
                                                                                   Debtor(s)                Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
       I, Alvaro Gazzolo, declare under penalty of perjury that I am the Chief Executive Officer of Ingenu Inc.,
and that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the 27th day of July, 2020 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Alvaro Gazzolo, Chief Executive Officer of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

         Be It Further Resolved, that Alvaro Gazzolo, Chief Executive Officer of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
with such bankruptcy case, and

        Be It Further Resolved, that Alvaro Gazzolo, Chief Executive Officer of this Corporation is authorized and
directed to employ Christopher V. Hawkins 222961, attorney and the law firm of Sullivan Hill Rez & Engel, A
Professional Law Corporation to represent the corporation in such bankruptcy case."




 Date      July 27, 2020                                                        Signed
                                                                                          Alvaro Gazzolo, Chief Executive Officer




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                                Ingenu Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Alvaro Gazzolo, Chief Executive Officer of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Alvaro Gazzolo, Chief Executive Officer of this Corporation is authorized
and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case, and

       Be It Further Resolved, that Alvaro Gazzolo, Chief Executive Officer of this Corporation is authorized
and directed to employ Christopher V. Hawkins 222961, attorney and the law firm of Sullivan Hill Rez &
Engel, A Professional Law Corporation to represent the corporation in such bankruptcy case.




 Date      July 27, 2020                                                          Signed
                                                                                              Alvaro Gazzolo, Director




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